     Case 2:21-cv-04405-RGK-MAR Document 122-3 Filed 08/09/22 Page 1 of 120 Page ID
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   $2 $  $SSOLFDWLRQ IRU D :DUUDQW E\ 7HOHSKRQH RU 2WKHU 5HOLDEOH (OHFWURQLF 0HDQV



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              (Briefly describe the property to be searched or identify the
                              person by name and address)                               &DVH 1R 0-
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   SHQDOW\ RI SHUMXU\ WKDW , KDYH UHDVRQ WR EHOLHYH WKDW RQ WKH IROORZLQJ SHUVRQ RU SURSHUW\ (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   ORFDWHG LQ WKH &HQWUDO 'LVWULFW RI &DOLIRUQLD WKHUH LV QRZ FRQFHDOHG (identify the person or describe the property to be seized)
         See Attachment B
             7KH EDVLV IRU WKH VHDUFK XQGHU )HG 5 &ULP 3  F LV (check one or more)
                        HYLGHQFH RI D FULPH
                        FRQWUDEDQG IUXLWV RI FULPH RU RWKHU LWHPV LOOHJDOO\ SRVVHVVHG
                        SURSHUW\ GHVLJQHG IRU XVH LQWHQGHG IRU XVH RU XVHG LQ FRPPLWWLQJ D FULPH
                        D SHUVRQ WR EH DUUHVWHG RU D SHUVRQ ZKR LV XQODZIXOO\ UHVWUDLQHG
             7KH VHDUFK LV UHODWHG WR D YLRODWLRQ RI
                Code Section                                                                 Offense Description
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         7KH DSSOLFDWLRQ LV EDVHG RQ WKHVH IDFWV
                    See attached Affidavit
                        &RQWLQXHG RQ WKH DWWDFKHG VKHHW
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                            ATTACHMENT A - USPV

 The premises to be searched is:

       The storefront located at 9182 W. OLYMPIC BLVD., BEVERLY
 HILLS, CALIFORNIA, which houses the businesses known as Olympic
 Gold & Jewelry and U.S. Private Vaults in a single retail space
 with only one entrance.      The premises to be searched is a retail
 space in a strip mall located on the south side of Olympic Blvd.
 between S. Palm Drive and S. Oakhurst Drive.         It bears the
 current street number “9182” over the glass entry door on the
 left side of the space, and the former street number “9186”
 towards the right.     Above the premises to be searched on the
 stucco wall is the sign “US PRIVATE VAULTS” in red and blue
 letters.    The front of the premises to be searched is all glass,
 some of it darkly tinted.      The glass windows bear the additional
 signs “OLYMPIC GOLD & JEWELRY” and “US PRIVATE VAULTS.”           The
 premises to be searched is between the stores “Silver Nails” to
 the east and “Mail Service” to the west, and is pictured in the
 attached photographs:




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                                 EXHIBIT B
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   1                             ATTACHMENT B--USPV
   2   I.   ITEMS TO BE SEIZED
   3        1.   The items to be seized are evidence, contraband, fruits, or

   4   instrumentalities of violations of 18 U.S.C. §§ 371, 1343, and 1956;

   5   21 U.S.C. §§ 841, 846; and 31 U.S.C. §§ 5324 and 5331 (money

   6   laundering, distribution of controlled substances, wire fraud,

   7   structuring, and conspiracy to commit the same) (the “SUBJECT

   8   OFFENSES”), namely:

   9             a.   Narcotics and controlled substances, such as cocaine

  10   and THC, and related paraphernalia such as scales, pay-owe sheets,

  11   packaging material such as vape cartridges, and documents referring

  12   or relating to them, such as their manufacture or sale, or

  13   maintaining premises for the same;

  14             b.   Records referring or relating to countersurveillance

  15   of law enforcement, obstructing investigations, warning persons of

  16   law enforcement inquiries or activities such as serving subpoenas or

  17   search warrants, or hiding, altering, or destroying evidence;

  18             c.   Money counters, cash over $10,000, bitcoin and other

  19   digital currency as well as related documents and programs, and

  20   records referring or relating the preceding items or to IRS form

  21   8300, Currency Transaction Reports and other Bank Security Act (BSA)

  22   requirements, currency reporting requirements generally, structuring

  23   transactions to circumvent those requirements, such as instructions

  24   to keep transactions under $10,000 in cash, anti-money laundering

  25   programs and how to evade them, investigations by financial

  26   institutions and the closure or threatened closure of financial

  27   accounts, and, since 2019, records of cash payments and receipts;

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   1             d.   Firearms, ammunition, and related paraphernalia such

   2   as holsters and magazines, and records referring or relating to the
   3   same;
   4             e.   Documents and records referring or relating to actual

   5   or threatened violence, such as those to enforce a criminal debt;

   6             f.   Documents and records referring or relating to the

   7   conversion of cash to financial instruments such as checks and wire
   8   transfers, and vice versa, for a percentage of the dollar value
   9   converted, including such conversions when there is an intermediate
  10   medium such as precious metals, whether real or purported;
  11             g.   Records reflecting or relating to the escheatment of

  12   property to the state of California including the requirement to do

  13   so, returning property to a named designee, the disposition of

  14   contents of abandoned/unpaid safety deposit boxes, and complaints

  15   that items were missing from a safety deposit box;

  16             h.   Records referring or relating to criminals, crimes,

  17   prison, arrests, criminal investigations, criminal charges, and asset

  18   forfeiture;

  19             i.   Biometric scanning equipment and records, and

  20   documents referring or relating to them;

  21             j.   Digital or video security systems, recordings of

  22   forcing open safety deposit boxes and the removal of contents of

  23   boxes for any purpose including abandonment or incapacity of the

  24   customer and documents referring or relating to the same, and, since

  25   2019, surveillance video;

  26             k.   Nests of safety deposit boxes and keys, and documents

  27   and records referring or relating to them since 2019.   This warrant

  28   does not authorize a criminal search or seizure of the contents of
                                                            USAO 000019
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   1   the safety deposit boxes.   In seizing the nests of safety deposit

   2   boxes, agents shall follow their written inventory policies to
   3   protect their agencies and the contents of the boxes.    Also in

   4   accordance with their written policies, agents shall inspect the
   5   contents of the boxes in an effort to identify their owners in order

   6   to notify them so that they can claim their property;
   7             l.   Records referring or relating to CARES Act relief
   8   programs, such as the Paycheck Protection Program and Small Business

   9   Administration loans;
  10             m.   Records referring or relating to the ownership or

  11   control of U.S. PRIVATE VAULTS or OLYMPIC GOLD & JEWELRY or parent or

  12   subsidiary entity, including employment records, and records of

  13   corporate actions such as corporate minutes and votes;

  14             n.   Since 2019, documents and records referring or

  15   relating to financial or monetary transactions involving U.S. PRIVATE

  16   VAULTS or OLYMPIC GOLD & JEWELRY, including records referring to or

  17   identifying their customers;

  18             o.   Records referring or relating to Beltran or a cartel,

  19   or since 2019 to MJ Real Estate Investors Inc. (MJRE), Emerald Fund

  20   LLC, Alta Quality Growers, MGP Management, MGP Consulting, MGP

  21   Filling and Packaging, Bachelor Valley Fund LLC, Antares Topanga

  22   Group LLC, dba Valley Collective Care, Rogue Bioscience, and

  23   Sportsware Inc.;

  24             p.   Records relating to wealth and the movement of wealth

  25   since 2019, such as tax returns and forms, crypto-currency accounts

  26   and transfers, other digital wealth storage and transfer methods

  27   including PayPal and Venmo, money orders, brokerage and financial

  28   institution statements, wire transfers, currency exchanges, deposit
                                                          USAO 000020
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   1   slips, cashier's checks, transactions involving prepaid cards, and/or

   2   other financial documents related to depository bank accounts, lines
   3   of credit, credit card accounts, real estate mortgage initial

   4   purchase loans or loan refinances, residential property leases,
   5   escrow accounts, the purchase, sale, or leasing of automobiles or

   6   real estate, or auto loans, and investments, or showing or referring
   7   to purchases or transactions for more than $1,000;
   8             q.   Records or items containing indicia of occupancy,

   9   residency or ownership of any location or vehicle being searched,

  10   such as keys, rental agreements, leases, utility bills, identity

  11   documents, cancelled mail, and surveillance video;

  12             r.   Documents and records showing electronic and telephone

  13   contacts and numbers called or calling, such as SIM cards, address

  14   books, call histories, telephone bills, and Signal, ICQ, Telegram,

  15   and email addresses.

  16             s.   Any digital device which is itself or which contains

  17   evidence, contraband, fruits, or instrumentalities of the Subject

  18   Offenses, and forensic copies thereof.

  19        2.   With respect to any digital device containing evidence

  20   falling within the scope of the foregoing categories of items to be

  21   seized:

  22             a.   evidence of who used, owned, or controlled the device

  23   at the time the things described in this warrant were created,

  24   edited, or deleted, such as logs, registry entries, configuration

  25   files, saved usernames and passwords, documents, browsing history,

  26   user profiles, e-mail, e-mail contacts, chat and instant messaging

  27   logs, photographs, and correspondence;

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   1             b.   evidence of the presence or absence of software that

   2   would allow others to control the device, such as viruses, Trojan
   3   horses, and other forms of malicious software, as well as evidence of
   4   the presence or absence of security software designed to detect
   5   malicious software;
   6             c.   evidence of the attachment of other devices;

   7             d.   evidence of counter-forensic programs (and associated
   8   data) that are designed to eliminate data from the device;

   9             e.   evidence of the times the device was used;

  10             f.   passwords, encryption keys, biometric keys, and other

  11   access devices that may be necessary to access the device;

  12             g.   applications, utility programs, compilers,

  13   interpreters, or other software, as well as documentation and

  14   manuals, that may be necessary to access the device or to conduct a

  15   forensic examination of it;

  16             h.   records of or information about Internet Protocol

  17   addresses used by the device;

  18             i.   records of or information about the device’s Internet

  19   activity, including firewall logs, caches, browser history and

  20   cookies, “bookmarked” or “favorite” web pages, search terms that the

  21   user entered into any Internet search engine, and records of user-

  22   typed web addresses.

  23        3.   As used herein, the terms “records,” “documents,”

  24   “programs,” “applications,” and “materials” include records,

  25   documents, programs, applications, and materials created, modified,

  26   or stored in any form, including in digital form on any digital

  27   device and any forensic copies thereof.

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   1         4.   As used herein, the term “digital device” includes any

   2   electronic system or device capable of storing or processing data in
   3   digital form, including central processing units; desktop, laptop,
   4   notebook, and tablet computers; personal digital assistants; wireless
   5   communication devices, such as telephone paging devices, beepers,
   6   mobile telephones, and smart phones; digital cameras; gaming consoles
   7   (including Sony PlayStations and Microsoft Xboxes); peripheral
   8   input/output devices, such as keyboards, printers, scanners,

   9   plotters, monitors, and drives intended for removable media; related
  10   communications devices, such as modems, routers, cables, and
  11   connections; storage media, such as hard disk drives, floppy disks,
  12   memory cards, optical disks, and magnetic tapes used to store digital
  13   data (excluding analog tapes such as VHS); and security devices.
  14   II.   SEARCH PROCEDURE FOR DIGITAL DEVICES
  15         5.   In searching digital devices or forensic copies thereof,

  16   law enforcement personnel executing this search warrant will employ

  17   the following procedure:

  18              a.   Law enforcement personnel or other individuals

  19   assisting law enforcement personnel (the “search team”) will, in

  20   their discretion, either search the digital device(s) on-site or

  21   seize and transport the device(s) and/or forensic image(s) thereof to

  22   an appropriate law enforcement laboratory or similar facility to be

  23   searched at that location.    The search team shall complete the search

  24   as soon as is practicable but not to exceed 120 days from the date of

  25   execution of the warrant.    The government will not search the digital

  26   device(s) and/or forensic image(s) thereof beyond this 120-day period

  27   without obtaining an extension of time order from the Court.

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   1                b.   The search team will conduct the search only by using

   2   search protocols specifically chosen to identify only the specific
   3   items to be seized under this warrant.
   4                     i.    The search team may subject all of the data

   5   contained in each digital device capable of containing any of the

   6   items to be seized to the search protocols to determine whether the
   7   device and any data thereon falls within the list of items to be

   8   seized.   The search team may also search for and attempt to recover

   9   deleted, “hidden,” or encrypted data to determine, pursuant to the
  10   search protocols, whether the data falls within the list of items to
  11   be seized.

  12                     ii.   The search team may use tools to exclude normal

  13   operating system files and standard third-party software that do not

  14   need to be searched.

  15                     iii. The search team may use forensic examination and

  16   searching tools, such as “EnCase” and “FTK” (Forensic Tool Kit),

  17   which tools may use hashing and other sophisticated techniques.

  18                c.   If the search team, while searching a digital device,

  19   encounters immediately apparent contraband or other evidence of a

  20   crime outside the scope of the items to be seized, the team will not

  21   search for similar evidence outside the scope of the items to be

  22   seized without first obtaining authority to do so.

  23                d.   If the search determines that a digital device does

  24   not contain any data falling within the list of items to be seized,

  25   the government will, as soon as is practicable, return the device and

  26   delete or destroy all forensic copies thereof.

  27                e.   If the search determines that a digital device does

  28   contain data falling within the list of items to be seized, the
                                                             USAO 000024
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   1   government may make and retain copies of such data, and may access

   2   such data at any time.
   3             f.   If the search determines that a digital device is (1)

   4   itself an item to be seized and/or (2) contains data falling within

   5   the list of other items to be seized, the government may retain the

   6   digital device and any forensic copies of the digital device, but may

   7   not access data falling outside the scope of the other items to be

   8   seized (after the time for searching the device has expired) absent

   9   further court order.

  10             g.   The government may also retain a digital device if the

  11   government, prior to the end of the search period, obtains an order

  12   from the Court authorizing retention of the device (or while an

  13   application for such an order is pending), including in circumstances

  14   where the government has not been able to fully search a device

  15   because the device or files contained therein is/are encrypted.

  16             h.   After the completion of the search of the digital

  17   devices, the government shall not access digital data falling outside

  18   the scope of the items to be seized absent further order of the

  19   Court.

  20        6.   The review of the electronic data obtained pursuant to this

  21   warrant may be conducted by any government personnel assisting in the

  22   investigation, who may include, in addition to law enforcement

  23   officers and agents, attorneys for the government, attorney support

  24   staff, and technical experts.   Pursuant to this warrant, the

  25   investigating agency may deliver a complete copy of the seized or

  26   copied electronic data to the custody and control of attorneys for

  27   the government and their support staff for their independent review.

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   1        7.   In order to search for data capable of being read or

   2   interpreted by a digital device, law enforcement personnel are
   3   authorized to seize the following items:
   4             a.   Any digital device capable of being used to commit,

   5   further, or store evidence of the offense(s) listed above;

   6             b.   Any equipment used to facilitate the transmission,

   7   creation, display, encoding, or storage of digital data;
   8             c.   Any magnetic, electronic, or optical storage device

   9   capable of storing digital data;

  10             d.   Any documentation, operating logs, or reference

  11   manuals regarding the operation of the digital device or software

  12   used in the digital device;

  13             e.   Any applications, utility programs, compilers,

  14   interpreters, or other software used to facilitate direct or indirect

  15   communication with the digital device;

  16             f.   Any physical keys, encryption devices, dongles, or

  17   similar physical items that are necessary to gain access to the

  18   digital device or data stored on the digital device; and

  19             g.   Any passwords, password files, biometric keys, test

  20   keys, encryption codes, or other information necessary to access the

  21   digital device or data stored on the digital device.

  22        8.   During the execution of this search warrant, law

  23   enforcement is permitted to: (1) depress the thumbs and/or fingers of

  24   MARK PAUL, MICHAEL POLIAK, GEORGE VASQUEZ, and HILLARY and STEVE

  25   BARTH onto the fingerprint sensor of the device (only when the device

  26   has such a sensor), and direct which specific finger(s) and/or

  27   thumb(s) shall be depressed; and (2) hold the device in front of the

  28   face of those persons with their eyes open to activate the facial-,
                                                          USAO 000026
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   1   iris-, or retina-recognition feature, in order to gain access to the

   2   contents of any such device.   In depressing a person’s thumb or
   3   finger onto a device and in holding a device in front of a person’s

   4   face, law enforcement may not use excessive force, as defined in
   5   Graham v. Connor, 490 U.S. 386 (1989); specifically, law enforcement

   6   may use no more than objectively reasonable force in light of the
   7   facts and circumstances confronting them.
   8        9.   The special procedures relating to digital devices found in
   9   this warrant govern only the search of digital devices pursuant to
  10   the authority conferred by this warrant, and do not apply to any
  11   other search of digital devices.
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   1                                A F F I D A V I T

   2        I, Lynne K. Zellhart, being duly sworn and under oath, hereby

   3   depose and say as follows:

   4                              AFFIANT’S BACKGROUND
   5        1.    I am a Special Agent (“SA”) with the FBI, and have been so
   6   employed since May 2004.    I am currently assigned to a White Collar
   7   Crime squad, which investigates money-laundering facilitation.    Prior
   8   to this assignment, I was assigned to the Southwest Border Anti-Money
   9   Laundering Task Force (“SWBAMLTF”) in Los Angeles, which investigated
  10   large-scale, money-laundering activities associated with Mexican
  11   Criminal Enterprises (“MCE”), and was comprised of Special Agents
  12   from the FBI and deputies from the Los Angeles County Sheriff’s
  13   Office.   Prior to my assignment with the SWBAMLTF, I was assigned to
  14   a Los Angeles High Intensity Drug Trafficking Area (“HIDTA”) group,
  15   which investigated drug trafficking organizations.    I have also been
  16   assigned to a criminal enterprise (Bloods and Crips) task force in
  17   Los Angeles, as well as the Northern Ohio Law Enforcement Task Force,
  18   which is also engaged in investigations of drug trafficking
  19   organizations.   In addition to Special Agent training at Quantico,
  20   Virginia, I have attended DEA-sponsored Basic Narcotics Investigator
  21   School, a 40-hour intensive training for federal narcotics
  22   investigators.   I have also attended a 40-hour Asset Forfeiture/Money
  23   Laundering class, two week-long money laundering facilitation
  24   conferences and several other conferences sponsored by the various
  25   anti-money laundering interests.    I have made presentations on money
  26   laundering investigations at several training conferences including
  27   the Asset Forfeiture Summit for Law Enforcement Executives (March
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   1   2018), the Advanced Money Laundering Conference (May 2018), and Money
   2   Laundering Across Investigative Programs (October 2018).
   3        2.      I have participated in numerous investigations of criminal

   4   enterprises, including violent criminal street gangs, drug-

   5   trafficking organizations, and businesses that are facilitating the

   6   laundering of criminal proceeds.       During the course of these

   7   investigations, I have identified co-conspirators through the use of

   8   telephone records and bills, financial records, photographs, and

   9   other documents.    I have directed and assisted in the handling of

  10   confidential sources to successfully infiltrate various-sized

  11   criminal enterprises via intelligence gathering, participation in

  12   consensual recordings, and the monitored purchase of a controlled

  13   substance.    I have participated in debriefings of cooperating

  14   defendants.    I have executed search warrants for controlled

  15   substances, documents, digital records and the proceeds of drug

  16   trafficking and other crimes.    I have conducted physical and

  17   electronic surveillance.    I have also conducted investigations in

  18   which I have used Global Positioning System (“GPS”) information to
  19   locate and track persons who are the subjects of criminal

  20   investigations.    I have directed and participated in investigations

  21   involving the use of court-authorized interception of wire

  22   communications.    I have engaged in extensive document-based

  23   investigations, collecting, reviewing and analyzing bank documents,

  24   wire transfers, employment records, e-mail, and database research.
  25   I.   PURPOSE OF AFFIDAVIT: SEARCH AND SEIZURE WARRANTS
  26        3.      This affidavit is made in support of search warrants for

  27   the business U.S PRIVATE VAULTS (“USPV”), and the homes of USPV’s

  28   principals MARK PAUL, MICHAEL POLIAK, GEORGE VASQUEZ (also known as
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   1   JORGE VASQUEZ), STEVE BARTH and HILLARY BARTH, for evidence of

   2   violations of 18 U.S.C. §§ 371, 1343, 1956; 21 U.S.C. §§ 841, 846;
   3   and 31 U.S.C. §§ 5324 and 5331 (hereafter, the SUBJECT OFFENSES), as

   4   described more fully in Attachment B, which is incorporated by
   5   reference.    The locations to be searched (collectively, the “SUBJECT

   6   PREMISES”), described more fully in Attachments A which are also
   7   incorporated by reference, are:
   8                a.   U.S. PRIVATE VAULTS, 9182 W. OLYMPIC BLVD., BEVERLY

   9   HILLS, CALIFORNIA (“USPV”).

  10                b.

  11
  12
  13
  14

  15
  16
  17                              .

  18        4.      This affidavit is also made in support of a seizure warrant

  19   for the business computers, money counters, nests of safety deposit

  20   boxes and keys, digital and video surveillance and security equipment

  21   and biometric scanners located at USPV, 9182 West Olympic Blvd.,

  22   Beverly Hills, CA 90212, which are subject to seizure pursuant to 18

  23   U.S.C. § 982(b)(1), 21 U.S.C. § 853(f) and 31 U.S.C. § 5317(c) and

  24   forfeiture pursuant to 18 U.S.C. § 1956 (money laundering), 21 U.S.C.

  25   § 841 (drug trafficking) and 31 U.S.C. § 5324 (structuring) because

  26   there is probable cause to believe that those items were used or

  27   intended to be used to facilitate violations of 18 U.S.C. §§ 1956, 21

  28   U.S.C. § 841 and 31 U.S.C. § 5324, and conspiracy to commit the same.
                                                            USAO 000030
                                           3



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   1         5.    The information set forth in this affidavit is based upon

   2   my participation in the investigation, encompassing my personal
   3   knowledge, observations and experience, as well as information
   4   obtained through my review of evidence, investigative reports, and
   5   information provided by others, including other law enforcement
   6   partners.   As this affidavit is being submitted for the limited
   7   purpose of securing the requested warrants, I have not included each
   8   and every fact known to me concerning this investigation.    I have set

   9   forth only the facts that I believe are necessary to establish
  10   probable cause for the requested warrants.
  11   II.   Summary of investigation
  12         6.    U.S. Private Vaults is a business in a strip mall that

  13   rents safety deposit boxes anonymously.    It is owned and managed by

  14   criminals who engage in money laundering, drug trafficking, and

  15   structuring, among other offenses.    Its business model is designed to

  16   appeal to criminals for customers.    It charges many times what banks

  17   do for similar safety deposit box rentals, but staff conduct

  18   countersurveillance for customers, alert them to law enforcement

  19   investigations, and structure transactions for them to avoid filing

  20   currency reports--in addition to providing them a place to store

  21   criminal proceeds anonymously.   USPV also launders for its customers

  22   cash that is purported to be drug proceeds by converting it into

  23   precious metals or wire transfers.    The great majority of USPV

  24   customers pay cash to rent their safety deposit boxes, at least some

  25   of which USPV then deposits into their own bank account, which it

  26   uses to pay its operating expenses.     By using its customers’ criminal

  27   proceeds to maintain its own anonymous facility for the storage of

  28   criminal proceeds, USPV engages in money laundering.
                                                            USAO 000031
                                         4



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   1   III. PROBABLE CAUSE
   2        A.     US PRIVATE VAULTS HAS BEEN INDICTED
   3        7.     The Grand Jury indicted corporate defendant U.S. PRIVATE

   4   VAULTS INC. for Conspiracy to Launder Money, Conspiracy to Distribute

   5   Controlled Substances, and Conspiracy to Structure Transactions on

   6   March 9, 2021.   The indictment also contained forfeiture allegations

   7   against certain business equipment located at USPV, which the Grand

   8   Jury explicitly found were supported by probable cause.   The

   9   indictment is attached and incorporated by reference.   AUSA Andrew

  10   Brown informed me that:

  11               a.   The Ninth Circuit held in United States v. Seybold,
  12   726 F.2d 502, 504-05 (1983), that magistrates may consider the
  13   information contained in an indictment in making a subsequent
  14   probable cause determination, such as for search and seizure

  15   warrants.
  16               b.   The legislative history of forfeiture statute 21

  17   U.S.C. § 853 indicates that Congress intended a grand jury’s finding

  18   in support of forfeiture to be given considerable weight:

  19        For the purposes of issuing a restraining order, the
            probable cause established in the indictment . . . is to be
  20        determinative of any issue regarding the merits of the
            government’s case on which the forfeiture is to be based.
  21
       S. Rep. No. 225, 98th Cong., 2d Sess. 203 (1984), reprinted in 1984
  22
       U.S. Code Cong. & Administrative News 3182, 3386.
  23
            Here, the description of the USPV business equipment that I seek
  24
       to seize by seizure warrant is identical to the description of the
  25
       USPV business equipment that the Grand Jury found probable cause to
  26
       forfeit in their indictment.
  27

  28
                                                           USAO 000032
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   1           B.   INVESTIGATION BACKGROUND
   2           8.   In approximately 2015, several state and federal law
   3   enforcement agencies including the Federal Bureau of Investigation

   4   (“FBI”), the Drug Enforcement Administration (“DEA”), the United
   5   States Postal Inspections Service (“USPIS”), the Los Angeles Police

   6   Department (“LAPD”), and the Los Angeles County Sheriff’s Department
   7   (“LASD”) learned that the targets of criminal investigations were

   8   employing the services of U.S. PRIVATE VAULTS (“USPV”) to store

   9   criminal proceeds.    Separate and unrelated investigations into drug
  10   trafficking, human trafficking, illegal gambling, racketeering,
  11   computer intrusion, insurance fraud and identity theft led
  12   investigators to the doorstep of USPV.    Search warrants executed on

  13   individual boxes within USPV consistently produced criminal proceeds
  14   and evidence of criminal conduct.

  15           9.   The following individuals have an ownership or management

  16   interest in USPV as described:

  17                a.   Mark PAUL – PAUL is the owner and founder of USPV.
  18   According to California Secretary of State records, PAUL is the CEO
  19   and registered agent of USPV.    PAUL has held himself out to be the

  20   owner of USPV publicly and privately.    PAUL told CS-1, discussed

  21   later in this affidavit, that he has the ability to monitor
  22   activities inside USPV remotely from his residence at
  23                                                      .

  24                b.   Michael POLIAK - In 2019 POLIAK became a co-owner of

  25   USPV.    POLIAK purchased a 50% interest in the business – 25% from

  26   Hilary BARTH (HILLARY BARTH) and Steve BARTH (STEVE BARTH) and 25%

  27   from Mark PAUL.    POLIAK himself stated that he paid $475,000 for his

  28   share of the business - “two-seventy-five clean; two hundred dirty.”
                                                              USAO 000033
                                          6



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   1   Bank records show that in April 2019, Michael POLIAK transferred

   2   $225,000 to USPV’s business bank account. Agents believe the
   3   remainder was paid in cash (i.e. “dirty”) to PAUL and the BARTHs.

   4   POLIAK was a USPV customer for two years before becoming an owner.
   5                c.   George VASQUEZ - VASQUEZ is employed at USPV as

   6   manager and armed guard.    He works Tuesday through Saturday during

   7   business hours and handles new customers, sales, security, and all

   8   matters of operation.    Secretary of State records (2019) list VASQUEZ

   9   as “manager” of USPV.    The Beverly Hills Chamber of Commerce website

  10   lists VASQUEZ as USPV’s Vice President.

  11                d.   Matt BONVICIN – BONVICIN is a partner at USPV and its

  12   Chief Technology Officer.    Bank records show that BONVICIN’s company,

  13   SPORTSWARE INC., receives regular payments from USPV, including two

  14   large payments after POLIAK bought in to the company in April 2019.

  15                e.   HILLARY BARTH and STEVE BARTH owned a 25% interest in

  16   USPV prior to POLIAK buying them out.       They operate OLYMPIC GOLD &

  17   JEWELRY on a daily basis, and operate USPV on VASQUEZ’s day off.

  18   OLYMPIC GOLD & JEWELRY is located at the same physical location as

  19   USPV and engages in buying and selling gold and silver, often to USPV

  20   customers.    STEVE BARTH is listed on a 2016 Secretary of State filing

  21   as “Secretary” of USPV.    HILLARY BARTH is listed as a

  22   “representative” of USPV on the Beverly Hills Chamber of Commerce

  23   website.

  24        C.      HOW USPV OSTENSIBLY OPERATES
  25        10.     According to its own advertising literature, website and

  26   statements made to investigators, USPV operates as follows:

  27

  28
                                                              USAO 000034
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   1              a.    Customers may rent a safe deposit box ranging in size

   2   in inches between 3 x 5 x 22 (smallest) and 10 x 10 x 22 (largest)
   3   for $575 to $1,800 a year, respectively.
   4              b.    An iris scan provides the customer with access to the

   5   vault.   No personal information, social security number, driver’s

   6   license or other forms of identification are required to rent or
   7   access a box.

   8              c.    The customer keeps all keys.   The keys do not contain

   9   or denote box numbers on them.

  10              d.    A hand scan is taken as a second form of biometric

  11   identification, in the event iris data is lost or a customer loses an

  12   eye.

  13              e.    A second person may have access to a box, if the

  14   customer so chooses, and the second individual is present with the

  15   customer when access is arranged; the second party’s access is also

  16   through iris scan; and the customer may revoke the second party’s

  17   access at any time.

  18              f.    USPV has 24/7 electronic monitoring, 24/7 armed

  19   response, and the vault is time locked when not open.

  20              g.    In the event of non-payment for three months, USPV

  21   will drill open the box.   USPV recommends that customers leave

  22   contact information inside the box to account for this situation.

  23   However, “If no contact information is found, we will store the

  24   contents of your box in our private safe for three years. Thereafter,

  25   we are required to escheat (forward) the contents to the State of

  26   California.”    (USPV Website, Frequently Asked Questions).

  27

  28
                                                            USAO 000035
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   1        D.     US Private Vaults (USPV) Is Designed to Appeal to and Cater
                   to Criminals
   2
            11.    USPV’s primary pitch to customers is anonymity: “Complete
   3
       Privacy; Biometric Identification; No ID Required.1”     By providing
   4
       and promoting total anonymity, USPV caters to and attracts criminals,
   5
       who seek to keep their identities and the source of their cash beyond
   6
       the reach of banks, regulators, the IRS, and law enforcement.
   7
            12.    On USPV’s website2, Chief Technology Officer Matt BONVICIN3
   8
       boasts, “Our business is one of very few where we don’t even want to
   9
       know your name.    For your privacy and the security of your assets in
  10
       our vault, the less we know the better.”     The statement by USPV “the
  11
       less we know, the better” suggests they know that their customers are
  12
       using the vault for criminal purposes, such as storing illegal
  13
       proceeds.    This practice appeals to those engaged in activities which
  14
       they wish to hide from legal authorities and law-abiding financial
  15
       institutions.
  16
            13.    USPV puts forth a similar rationale with regard to use of
  17
       USPV safe deposit boxes versus bank safe deposit boxes.    On its
  18
       website, another USPV executive4 posted “Four Reasons to Store Your
  19
       Gold At USPV,” asserting: “Banks require clients to provide their
  20

  21        1   USPV website, www.usprivatevaults.com
  22        2 usprivatevaults.com/uspv-news
            3 This post on the USPV web page was written by Matt Bonvicin
  23   who is described at the end of the post as follows: “Matt is an
       entrepreneur, programmer, and database/systems admin who enjoys
  24   toying with technologies. He is a partner at U.S. Private Vaults as
       well as its Chief Technology Officer.”
  25
            4 This post on the USPV website (usprivatevaults.com) was
  26   written by Kent Martin, who is described at the end of the post as
       follows: “A serial entrepreneur with a background in investment
  27   banking, Kent is a founding partner of U.S. Private Vaults and serves
       as its Chief Executive Officer.” We believe Martin is no longer
  28   USPV’s Chief Executive Officer; however, the post remains on their
       website.                                           USAO 000036
                                        9



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   1   social security number and a photo identification as a condition for

   2   renting a safe deposit box. Your information is then filed in the
   3   bank’s central data system. This information can be easily accessed

   4   by government agencies (such as the IRS) or attorneys armed with
   5   court orders. If no one is aware you have a safe deposit box, the

   6   contents (your gold) are much safer.”    By advocating a service which
   7   circumvents the IRS and persons “armed with court orders,” USPV
   8   tacitly acknowledges that criminal proceeds (which the government has

   9   a legitimate interest in) can be secreted at USPV, but not at banks
  10   or law abiding financial institutions.
  11        14.    In the same post (“Four Reasons to Store Your Gold At

  12   USPV”), the same USPV executive wrote:   “As government chartered

  13   institutions, banks are now required to file ‘suspicious activity

  14   reports.’ . . . . U.S. Private Vaults is not subject to federal

  15   banking laws and would only cooperate with the government under court

  16   order.”    In this way, USPV is marketing its service to criminals and

  17   those operating outside the law.

  18        15.    THE USPV website also contains a link to an article titled,

  19   “The Los Altos Vault and Safe Deposit Co. up for sale.”   The article

  20   attributes the following comment to USPV owner MARK PAUL: “Another

  21   growing segment of private safety deposit renters is legal cannabis

  22   distributors. Although their business may be sanctioned in the state

  23   of California, it’s not legal on the federal level, so they can’t

  24   conduct business through banks.”    In this statement, PAUL invites

  25   those engaged in violations of federal law to utilize private vaults,

  26   (such as USPV).   Additionally, as discussed in more detail later,

  27   cannabis distributors operating legally under California law may

  28   theoretically exist and use private vaults, but the reality is that
                                                           USAO 000037
                                          10



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   1   many engaged in secreting cannabis sale proceeds at USPV are acting

   2   outside California law as well as federal law.       Indeed, all of the
   3   identified marijuana traffickers and their associates linked to USPV

   4   in this investigation are operating outside the law of California, as
   5   described in more detail later.

   6        E.     Other Safety Deposit Box Companies Do Not Permit Anonymous
                   Users as USPV Does
   7
            16.    Private safe deposit boxes are not in and of themselves
   8
       illegal or suspicious.    In fact, investigators have identified
   9
       businesses which offer this service in a manner which does not cater
  10
       to or attract criminals.    For example, Ultra Vault5 provides similar
  11
       services, but requires customers to fill out registration forms, and
  12
       provide sufficient information for Ultra Vault to conduct due
  13
       diligence or “Know Your Customer (“KYC”).”    Conducting due diligence
  14
       or “KYC” would likely deter criminals, rather than attract them, as
  15
       this type of inquiry might expose the illegal source of funds;
  16
       customer’s lack of employment or legitimate income; criminal history;
  17
       residence or citizenship; or other factors which a criminal customer
  18
       would not want known.    Additionally, Ultra Vault has some physical
  19
       locations, but also offers removable box pick-up and delivery.      While
  20
       this would be convenient to a law-abiding, legitimate customer, it
  21
       would not appeal to someone engaged in criminal activity, as it would
  22
       expose additional details about him/her such as address details, home
  23
       environment, family, etc.    Thus the policies and procedures of a
  24
       company such as Ultra Vault would likely repel, rather than attract,
  25
       criminal actors.
  26
  27

  28
            5   https://www.ultra-vault.com/how-it-works/     USAO 000038
                                         11



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   1        17.    Similarly, BlueVault, which has locations in San Diego and

   2   Orange County, provides similar services, including co-located gold
   3   and silver exchange.    However, in contrast to USPV, BlueVault
   4   requires “An acceptable photo ID showing a US address6” in order to
   5   rent a safe deposit box or vault.    Elsewhere on the website, it again
   6   notes “A valid US Driver’s License (or equivalent) is required.”
   7   Requiring both a photo ID and a valid address will deter criminals
   8   who do not want to be identified, who live outside the US and may be
   9   moving criminal proceeds across the border, or who do not want law
  10   enforcement to be able to identify or find them as part of a criminal
  11   investigation.    Thus, in contrast to USPV, BlueVault has policies in
  12   place which would deter rather than attract criminal clientele.
  13        18.    Similarly, traditional banks and financial institutions
  14   which provide safe deposit boxes, do so in a manner which does not
  15   cater to and attract criminals.    For example, many explicitly
  16   prohibit the storage of cash:    Wells Fargo prohibits “cash, coin and
  17   currency;” JP Morgan Chase requires a renter to “agree not to use the
  18   box to store money, coin or currency unless it is of a collectable
  19   nature;” and HSBC requires renters to agree “that you will not place
  20   into the Box: cash, currency or legal tender of any country or
  21   jurisdiction.7” Furthermore, safe deposit box rental agreements at
  22   most major financial institutions explicitly advise that the bank
  23   will comply with all subpoenas, search warrants and legal process,
  24   and that the bank reserves the right to enter into the box if it has
  25   reason to believe that the box contains any prohibited or dangerous
  26
  27        6   https://www.bluevaultsecure.com/
  28
            7                                               USAO
                Statements taken from Safe Deposit Box rental      000039
                                                              agreements.
                                         12



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   1   item.       Rental agreements also frequently include language referring

   2   the “Know Your Customer” rules of identification, investigation and
   3   due diligence, all of which would deter criminals from using their

   4   safe deposit boxes in the manner employed by USPV customers.
   5           19.    State banking regulations in New York and New Jersey also

   6   prohibit anonymous safe deposit boxes.       Both Mark PAUL and Michael
   7   POLIAK have acknowledged as much, during discussions about expanding

   8   USPV to other states.      During such a discussion, which included PAUL,

   9   POLIAK, VASQUEZ and a Confidential Source (“CS-1”)8, PAUL stated

  10   explicitly that they could not open a branch in New York because of
  11   the banking laws.       Similarly, POLIAK, who is from the New York/New
  12   Jersey area told CS-1 that he hired attorneys to figure out a way to
  13   open a business similar to USPV in New York or New Jersey and
  14   concluded it was impossible, as the laws do not permit anonymity.
  15   POLIAK emphasized that anonymity is the key to the business model.
  16   POLIAK therefore decided NOT to expand to New York/New Jersey because
  17   he determined that the laws preventing anonymity would have rendered
  18   his business model for a private vault unprofitable.
  19

  20

  21
  22          During the course of this investigation, agents obtained
               8
       information and operational assistance from an undisclosed
  23   Confidential Source (CS-1). CS-1 has provided information to the
       USPIS since 2008. CS-1 has provided information and expertise
  24   regarding criminal investments, monetary practices, accounting and
       money laundering. CS-1’s information has led to the seizure of
  25   assets, including $200,000 in a mortgage fraud case. CS-1’s
       information has been corroborated by independent sources such as law
  26   enforcement database checks, review of other records, recordings,
       surveillance, interviews and other investigative activity. CS-1’s
  27   information has never been found to be false or misleading.   CS-1
       has no criminal history. I believe CS-1’s information is highly
  28   credible.
                                                              USAO 000040
                                            13



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   1        F.      USPV and its Principals Profit from Patrons’ Willingness to
                    Pay a Premium for Anonymity
   2
            22.     A survey of safe deposit box pricing demonstrates that
   3
       patrons of USPV could rent a safe deposit box at a major financial
   4
       institution for a fraction of the cost.    For example, a 10 x 10 box
   5
       at JP Morgan Chase rents for $350; at PNC for $146; at TD Bank for
   6
       $150-$360 depending on location; and at Bank of America for $300-360
   7
       depending on location9.    In November 2020, a representative from a
   8
       Wells Fargo branch in Los Angeles advised that a 14 x 9 safe deposit
   9
       box (most comparable size) rents for $200 a year.    By contrast, USPV
  10
       charges between $1800 (if paid annually) and $2000 (if paid
  11
       quarterly) for the same/similar 10 x 10 box.    USPV charges six to ten
  12
       times what major banks charge, banks which offer security, a national
  13
       presence, experience, years in business, and are often American
  14
       institutions.    By contrast, USPV has been in business for ten years,
  15
       is located in a strip-mall, and its owners are generally unknown to
  16
       customers.    As discussed throughout this affidavit, USPV charges a
  17
       premium for its services because it offers something which legitimate
  18
       banks do not: anonymity, a place to store illegally obtained cash,
  19
       counter-surveillance, tips and assistance for avoiding law
  20
       enforcement, money laundering through the co-located gold and silver
  21
       trade, and a stated willingness to look the other way with regard to
  22
       all kinds of criminal conduct.
  23

  24
  25

  26
  27
            9 “BANKING 101: WHAT DOES A SAFE DEPOSIT BOX COST? AVERAGE RATE
  28   BY SIZE” by Dillon Thompson. March 1, 2020.
       www.depsositaccounts.com                           USAO 000041
                                       14



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   1        G.      USPV Has, In Fact, Been Used By Criminals to Store Criminal
                    Proceeds
   2
            20.     As set forth above, USPV is designed to appeal to and cater
   3
       to criminals, and has been successful in doing so.      Numerous federal,
   4
       state and local investigations have led law enforcement to USPV
   5
       repeatedly.       The contents of specific USPV boxes have been forfeited
   6
       to the government because they are the proceeds of criminal activity.
   7
       The cases below exemplify this.      According to court documents and law
   8
       enforcement reports:
   9
                    a.     OWEN HANSON -- On September 9, 2015 federal agents
  10
       executed a federal search warrant for three separate safe deposit
  11
       boxes located at USPV. The boxes belonged to OWEN HANSON who was the
  12
       leader and organizer of ODOG ENTERPRISE, an association existing for
  13
       the purpose of importing and exporting controlled substances;
  14
       conducting an illegal gambling business; bookmaking; promoting
  15
       racketeering activities; and money laundering.      As part of the
  16
       enterprise, HANSON’s organization distributed methamphetamine,
  17
       heroin, cocaine and ecstasy.      HANSON was indicted and pleaded guilty
  18
       to Racketeering Conspiracy and Conspiracy to Distribute Illegal
  19
       Narcotics.    As a result of the search warrants at USPV, agents seized
  20
       a $5,000 bond; approximately 400 one-ounce silver coins; and twenty-
  21
       six ten-ounce silver bars.      The contents of HANSON’s USPV boxes were
  22
       forfeited as criminal proceeds10.
  23
                    b.     CYRUS IRANI -- On October 28, 2015, federal agents
  24
       executed a federal search warrant on Box 2105 at USPV.      The box
  25
       belonged to CYRUS IRANI who was the master bookmaker and head of an
  26
  27

  28        10 UNITED STATES OF AMERICA v. OWEN HANSON, Case No. 15cr2310-
                                                          USAO 000042
       WQH, U.S. District Court, Southern District of California
                                        15



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   1   illegal gambling organization.      IRANI’s organization operated both

   2   internet and traditional bookmaking operations, and engaged in money
   3   laundering.       IRANI had well over 1500 gambling accounts under his

   4   ultimate supervision.      IRANI pleaded guilty to Enterprise Corruption;
   5   fourteen others in the IRANI organization were also convicted of

   6   various gambling, money laundering and enterprise corruption charges.
   7   As a result of the search warrant at USPV, agents seized $500,000 in
   8   U.S. currency; a box containing 15 gold coins and 22 gold bars; and

   9   documents.    The contents of IRANI’s USPV box were forfeited as
  10   criminal proceeds.
  11                c.     NATHAN HOLTZ -- On November 3, 2015 a state search

  12   warrant was executed at USPV on a box rented by NATHAN HOLTZ.         HOLTZ

  13   had been arrested earlier that day for a violation of California

  14   Health & Safety code §11370.9 (possession of narcotics proceeds),

  15   after leaving USPV. HOLTZ had $55,200 in his vehicle, as well as keys

  16   to his USPV box.      A search of HOLTZ’s USPV box resulted in the

  17   seizure of an additional $200,100.      HOLTZ was on active probation for

  18   a prior marijuana sales conviction and admitted that the cash was
  19   proceeds of interstate transportation and sale of marijuana11.        The
  20   cash was forfeited as criminal proceeds.
  21                d.     GERALD LEBOWITZ -- On November 12, 2015 GERALD
  22   LEBOWITZ consented to a search of his box at USPV, stating at the
  23   time that cash in the vault was brought into the country illegally to
  24   avoid taxes.       Agents from the DEA seized $1,543,400 from LEBOWITZ’s
  25   box, which he disclaimed.       Further investigation into LEBOWITZ
  26   revealed that he was part of a conspiracy to manufacture and
  27

  28        11 Note that these events pre-date the legalization of marijuana
       in California, and involve illegal interstate salesUSAO
                                                            in any000043
                                                                   case.
                                        16



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   1   distribute methaqualone, a controlled substance.      During the course

   2   of the investigation, agents seized over 45 kilograms of methaqualone
   3   powder and 12 canisters of the chemical o-Taluidine, both chemical

   4   precursors.    In addition, agents seized over $4 million, beyond that
   5   disclaimed at USPV.   In 2017 LEBOWITZ pleaded guilty to possession

   6   with intent to distribute methaqualone and money laundering.       All
   7   assets were forfeited as criminal proceeds12.
   8             e.     Prostitution Ring -- In 2014, FBI Newark initiated an
   9   investigation into a network of individuals engaged in facilitation
  10   of prostitution, including child prostitution; Mann Act violations;
  11   money laundering and possession of child pornography.       FBI Newark
  12   identified the leader of the organization (Newark Target Subject,
  13   hereafter “Newark TS”) who operated a high-end escort service and
  14   provided prostitutes to clients nationally.      Based on information
  15   from multiple confidential sources, investigators learned that Newark
  16   TS has had as many as five different boxes at USPV.      Additionally,
  17   investigators learned that Newark TS accessed his USPV boxes
  18   approximately 50 times between July 2012 and December 2016.       On one
  19   occasion, an FBI Confidential Source13 (“CS-2”) went to USPV with
  20
            12UNITED STATES OF AMERICA v. GERALD LEBOWITZ, Case No. 2:17-cr-
  21   00053-CAS, U.S. District Court, Central District of California
            13 CS-2 provided information to FBI Newark.  The information CS-2
  22
       provided to the FBI about Newark TS’s prostitution business has proved to
  23   be accurate and reliable based on corroboration from several independent
       sources. For instance, CS-2’s description of Newark TS’s efforts to
  24   recruit CS-2 for prostitution from the adult film industry has been
       corroborated by open sources of information, including social media
  25   websites, identifying CS-2 as a performer in the adult film industry.
       Moreover, CS-2 contacted law enforcement of his/her own volition and
  26   provided information concerning Newark TS’s criminal activities and his/her
       criminal activities without any promise of immunity from prosecution,
  27   remuneration, or other benefits. Federal agents have been able to
       corroborate the vast majority of information provided by CS-2 through
  28   public records, U.S. passport and foreign travel records, and business
                                                              USAO 000044
                                          17



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   1   Newark TS and personally saw what he/she estimated to be $250,000 US

   2   currency in Newark TS’s USPV box. On a separate occasion, CS-2 went
   3   to USPV with Newark TS and saw what he/she estimated to be $500,000

   4   in US currency.    Further, CS-2 observed computer discs, digital
   5   devices and back-up computer hard drives in Newark TS’s USPV box.

   6   CS-2 was aware that Newark TS used these digital devices to store
   7   photos, videos and other data associated with prostitution,
   8   pornography, and child pornography.      CS-2 was also aware that Newark

   9   TS stored client lists, pornographic photos and pornographic videos
  10   of clients, for possible use as leverage and/or blackmail.       Based on
  11   business records obtained in January 2020, Newark TS continues to
  12   rent a box at USPV.    FBI Newark’s investigation into this subject is
  13   on-going.
  14               f.    MIKHAIL MALYKHIN -- On September 1, 2016 federal

  15   agents executed a federal search warrant on box 5005 at USPV.       The

  16   box belonged to MIKHAIL MALYKHIN who was the leader of an identity

  17   theft/computer intrusion fraud ring.     MIKHAIL and others were

  18   involved in a complex scheme which involved altering hacked “Flexible

  19   Spending Account” debit cards from a health insurance provider and

  20   altering the codes to cash out the debit cards.      MIKHAIL was also

  21   involved in credit card fraud, ATM fraud, tax fraud, computer

  22   intrusion and other similar crimes.      MIKHAIL was indicted for

  23   conspiracy to commit access device fraud and pleaded guilty.        As a

  24   result of the September 1, 2016 search warrant at USPV, agents seized

  25   $266,150 United States Currency; four one-ounce gold bars; various

  26
  27   incorporation records, Internet searches of social media pages and
       websites, and information provided by other witnesses. Accordingly, Your
  28   Affiant submits that CS-2’s information is credible and reliable under the
       totality of the circumstances.                         USAO 000045
                                          18



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   1   gift cards which had been loaded with over $20,000 in value; two

   2   Russian passports; a car Certificate of Title for a 1966 Ford
   3   Mustang; two digital devices (flash drives) containing evidence of

   4   the offenses; and four more gold keys, identical to those used at
   5   USPV.        Additional warrants were obtained for the additional USPV

   6   boxes.       Those warrants resulted in the seizure of $592,450 US
   7   Currency from one box and $435,190 from another.       The contents of all
   8   of MIKHAIL’s USPV boxes were forfeited as criminal proceeds and used

   9   to pay restitution to victims14.
  10                   g.   VINCENT RAMOS -- On March 6, 2018 federal agents
  11   executed a federal Seizure Warrant for the contents of Box 314 at
  12   USPV.        The box belonged to VINCENT RAMOS who was the CEO of Phantom
  13   Secure, a criminal enterprise which facilitated the importation,
  14   exportation and distribution, internationally, of wholesale
  15   quantities of cocaine, heroin and methamphetamine.       Phantom Secure
  16   provided encrypted communications devices to drug trafficking
  17   organizations to further international drug trafficking, while
  18   obstructing and impeding law enforcement.       RAMOS was indicted for and
  19   pleaded guilty to Racketeering and Drug Trafficking.       As a result of
  20   the search warrants at USPV, agents seized $101,080 in US Currency
  21   and 26 one-ounce gold coins.        The contents of RAMOS’s USPV box were
  22   forfeited as criminal proceeds15.
  23                   h.    ALLAN NEYMAN et al. -- On April 24, 2019, Victim S.S.
  24   was kidnapped in San Diego, California and taken against his will to
  25   a warehouse in Los Angeles.        While being held in the warehouse, S.S.
  26
              UNITED STATES v. MIKHAIL KONSTANTIVOV MALYKHIN, No. 16-0688-
               14
  27   DMG, United States District Court, Central District of California
  28        15 UNITED STATES v. VINCENT RAMOS, Case No. 18CR1404-WQH, United
                                                          USAO 000046
       States District Court, Southern District of California
                                        19



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   1   was brutally tortured.   He was hit with sticks and baseball bats;

   2   stripped naked; tasered on his penis and testicles; hit with a hammer
   3   on his toes; doused in a flammable liquid; set on fire; and anally

   4   penetrated with a foreign object.     S.S. had been employed by a group
   5   of people who were engaged in the distribution of counterfeit

   6   marijuana vaping cartridges.   This group believed that S.S. stole a
   7   suitcase full of cash, which a vape cartridge customer left at the
   8   warehouse.   S.S. had a portion of the money with him in San Diego;

   9   the rest was left with his ex-wife, who placed the cash in a safe
  10   deposit box at USPV.   At the direction of the kidnappers, she
  11   retrieved the cash from USPV and delivered it as ransom.    S.S.
  12   eventually escaped from the warehouse.    Detectives identified ALLAN
  13   NEYMAN and four others who participated in the kidnapping and
  14   torture.   They were arrested and charged with violations of

  15   California Penal Code 209(a) – Kidnap for Ransom; P.C 664/187(a) –
  16   Attempt Murder; P.C. 206 – Torture; and P.C. 205 – Aggravated Mayhem.
  17   Investigators believe that the money stored at USPV was the proceeds
  18   of criminal activity; stolen; the cause of brutal violence; and used
  19   as ransom.   During the course of this investigation, agents also

  20   learned that NEYMAN is an associate of USPV owner Michael POLIAK.      In

  21   conversations with CS-1, POLIAK described in detail, the April 2019
  22   kidnapping/torture and attributed the crime to his business
  23   associate, NEYMAN.   POLIAK told CS-1 that he purchased vape

  24   cartridges and packaging (but not THC oil) from NEYMAN (“my guy who
  25   owned the warehouse”) for his marijuana vape business.    Furthermore,

  26   POLIAK said to CS-1, “you want to hear the funny thing?    The money
  27   was in my vault! His wife put money into my vault,” explicitly

  28   acknowledging USPV’s role in the crime.    Additionally, on or about
                                                            USAO 000047
                                        20



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   1   January 27, 2020, CS-1 met NEYMAN with POLIAK and discussed various

   2   internet-based fraud schemes which might generate income.     POLIAK and
   3   CS-1 had previously discussed taking over NEYMAN’s business interests

   4   due to NEYMAN’s pending incarceration.
   5                i.   MATTHEW BEAVER -- On July 1, 2019, agents of the DEA

   6   and LAPD seized $215,653 in US currency from MATTHEW BEAVER, who was

   7   observed entering and leaving USPV.      BEAVER was arrested for

   8   violations of California Health & Safety Code Section §11370.6,

   9   transportation of narcotics proceeds greater than $100,000.        Pursuant

  10   to his arrest, agents seized the cash, as well as eight cell phones

  11   and keys which were similar to the keys which open boxes at USPV.         On

  12   July 8, 2019 a state search warrant was served on USPV boxes #6515

  13   and #7111.    Agents seized $1,448,700 from those boxes.   Subsequent

  14   search warrants executed on BEAVER’s phones revealed evidence of his

  15   involvement in marijuana trafficking.     BEAVER has a criminal history

  16   and is not licensed to distribute or grow marijuana in California or

  17   any other state.    Per the California Employment Development

  18   Department (EDD), BEAVER has no employment which would generate the

  19   income represented by this cash seizure.     BEAVER admitted his

  20   participation in an illegal marijuana business.      BEAVER admitted

  21   that the cash was the proceeds of unlawful criminal activity.       The

  22   cash was therefore forfeited.

  23                j.   Between February 1, 2020 and February 26, 2021, agents

  24   conducted surveillance at USPV.    Agents identified many current USPV

  25   customers who, based on my training and experience, are likely

  26   engaged in criminal activity and storing criminal proceeds or

  27   evidence of crimes at USPV.    For example, on February 12, 2020,

  28   agents observed a couple enter USPV who were subsequently identified
                                                             USAO 000048
                                          21



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   1   and linked to an FBI San Diego healthcare fraud investigation.

   2   Similarly, agents observed subject H.T. at USPV on three separate
   3   occasions; H.T. is the subject of a current healthcare fraud

   4   investigation by FBI Los Angeles.     A third healthcare fraud suspect
   5   appeared at USPV on May 28, 2020.     On June 9, 2020, agents identified

   6   a USPV customer who was subsequently linked to a current, on-going
   7   investigation into dark-web drug trafficking.    Agents also identified
   8   a USPV customer who is closely associated with a group being

   9   investigated for the theft of thousands of cell phones. Another
  10   individual identified has been associated to an FBI Los Angeles
  11   (Russian) counterintelligence investigation.    Another customer
  12   identified in February 2021 was referred to FBI Los Angeles for a
  13   possible Ponzi scheme.   Furthermore, on multiple occasions agents
  14   observed USPV patrons in vehicles with out of state license plates,

  15   specifically Illinois, Ohio and Nevada.    Based on my training and
  16   experience in money laundering investigations, Chicago, Illinois is a
  17   hub of both drug trafficking and money laundering.    I believe these
  18   patrons were using their USPV box to store drug proceeds.    Agents
  19   also observed a number of USPV patrons in rental cars.    Based on my

  20   training and experience, drug traffickers often rent vehicles to

  21   transport drugs and cash, in an effort to remain anonymous, and hide
  22   their identities from law enforcement.
  23

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  25

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                                                            USAO 000049
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   1           H.      USPV Principals Are Aware That Their Customers Are Engaged
                       in Criminal Conduct and Store Criminal Proceeds at USPV
   2
                       1.   MARK PAUL described his customers as bookies,
   3                        prostitutes, and weed guys

   4           21.     During the course of this investigation, agents spoke with
   5   a Cooperating Witness (“CW-1”)16.       According to CW-1, prior to his/her
   6   arrest and incarceration, CW-1 rented multiple safe deposit boxes at
   7   USPV.        CW-1 became acquainted with USPV owner, MARK PAUL, and they
   8   became friends.       Based on conversations CW-1 had with PAUL, PAUL was
   9   aware that USPV customers, including CW-1, were engaged in criminal
  10   activity.       PAUL told CW-1 that his best USPV customers were
  11   “bookies,” “prostitutes,” and “weed guys.” PAUL designed the business
  12   to appeal to people operating outside the law or “in the gray area.”
  13   PAUL specifically told CW-1 that the business was designed to help
  14   people hide money from the IRS and the FBI.       Based on their
  15   conversations, CW-1 described PAUL as an advocate of not paying taxes
  16   on one’s cash.
  17           22.     CW-1 routinely discussed his/her illegal gambling business
  18   with PAUL, and PAUL was aware that CW-1 earned money from running an
  19

  20

  21          CW-1 has provided information to the FBI since 2015. CW-1
               16
       hopes to reduce his/her current sentence by providing information to
  22   the FBI. Specifically, CW-1 has provided information leading to the
       indictment of 5 individuals involved in drug trafficking and money
  23   laundering. The credibility of CW-1’s testimony, however, is limited
       because CW-1 has omitted (and outright lied about) key facts when
  24   those facts implicated relatives or close friends who were continuing
       to run his/her criminal organization after his/her arrest. Although
  25   the United States does not possess any evidence to suggest CW-1 lied
       about the information discussed herein, CW-1’s credibility is
  26   effectively limited to only testimony that can be corroborated by
       other independent evidence.   To that end, much of CW-1’s information
  27   has been corroborated by independent sources such as law enforcement
       database checks, interviews and evidence gathered in other related
  28   FBI investigations, review of business records, surveillance, and
       other investigative activity.                     USAO 000050
                                       23



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   1   illegal gambling business.     PAUL was further aware that CW-1 used

   2   USPV to store the proceeds of that business.
   3           23.   CW-1 also referred many clients to PAUL, including many

   4   bookies from CW-1’s illegal gambling organization.       Based on

   5   conversations CW-1 had with PAUL, PAUL was aware that these

   6   individuals (USPV customers) also earned money from an illegal

   7   gambling business, and stored the proceeds of that business at USPV.

   8   On one occasion, PAUL asked CW-1 if he/she “had any more bookies”

   9   that CW-1 could refer to USPV.     This shows that PAUL was aware of the

  10   criminal activities of his clients and was eager to do more business

  11   with them.

  12           24.   In addition to numerous individuals engaged in various

  13   aspects of illegal gambling, CW-1 also referred 1) an individual whom

  14   CW-1 personally knew to be a pimp; 2) a cocaine dealer; and 3) an

  15   individual involved in facilitating a sophisticated drug trafficking

  16   organization.     With regard to the pimp, CW-1 specifically described

  17   him as a “pimp” to PAUL and they discussed that he was engaged in

  18   promoting high-end prostitution.     Furthermore, CW-1 knows that the

  19   pimp in fact rented several boxes at USPV because CW-1 and PAUL

  20   discussed the pimp’s efforts to negotiate a better price.

  21   PAUL told CW-1 that many of his USPV clients were “weed dealers.”

  22   PAUL told CW-1 that he liked doing business with “weed guys” because

  23   they always rented the larger boxes which were more profitable for

  24   PAUL.    PAUL made similar statements to CS-1 in late 2019, thus

  25   corroborating CW-1’s information.        On one occasion before the

  26   legalization of marijuana in California, CW-1 specifically referred

  27   an individual to PAUL, telling him the guy was “in the green

  28
                                                               USAO 000051
                                           24



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   1   business,” or words to that effect, by which CW-1 meant in the

   2   marijuana business.
   3        25.   PAUL also told CW-1 that he thought wealthy Beverly Hills-

   4   based “Persians” or Iranians were hiding “dirty money” or “revolution
   5   money” at USPV.   CW-1 did not know if PAUL had specific conversations

   6   with those customers or if he was just speculating.   In either case,
   7   however, it shows that PAUL had no objections or qualms about
   8   facilitating clients who may have been violating federal or

   9   international laws.
  10        26.   PAUL was aware that CW-1 was laundering his/her illegal

  11   proceeds through the purchase of gold and silver, and encouraged CW-1

  12   to do this.   PAUL told CW-1 that he “liked what you are doing with

  13   the gold” and “gold is the way to go” with regard to laundering

  14   money.   CW-1 also purchased gold for others in order to assist them

  15   in laundering their own criminal proceeds.   PAUL was aware of this

  16   and handed out business cards advertising CW-1’s gold-investment

  17   “business,” which CW-1 described as a front for laundering money.

  18   Furthermore, CW-1 advertised the storage of gold as part of the

  19   services of his/her “business” and listed 9182 Olympic Blvd., Beverly

  20   Hills, California (location of USPV) as the storage location. PAUL

  21   was aware of this and thus participated with CW-1 in the laundering

  22   of other people’s criminal proceeds.

  23        27.   In November 2019, PAUL met with CS-1.   The meeting was

  24   recorded and reviewed by investigators.   During the meeting, PAUL

  25   told CS-1 that a lot of the USPV clientele came from the cannabis

  26   industry and comprised approximately a third of the business at USPV.

  27   Additionally, PAUL told CS-1, “Whatever you put in [the vault], I

  28   don’t want to know.”
                                                           USAO 000052
                                        25



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   1        28.    During the same November 2019 meeting, PAUL also made a

   2   number of exculpatory statements to CS-1, whom he had just met.      For
   3   example, PAUL said a number of times that his business was on the up
   4   and up; that he paid his taxes; that he declared all the cash he
   5   deposited; and that he was in the business of self-storage with a
   6   high level of security.   Based on my training and experience,
   7   criminals who hold themselves out as legitimate businessmen often
   8   falsely deny their criminality, particularly with persons they do not

   9   know or trust.   This has proven to be the case with PAUL, who in
  10   subsequent meetings with CS-1, admitted to participation in the
  11   marijuana industry and tacit knowledge of money laundering and other
  12   criminal conduct by his USPV business partner, Mike POLIAK.
  13               2.   MICHAEL POLIAK bragged about bringing drug traffickers
                        to USPV as customers
  14
            29.    On or about December 17, 2019, CS-1 met with Michael
  15
       POLIAK.    The meeting was consensually recorded and reviewed by
  16
       investigators.   During that conversation, POLIAK made the following
  17
       statements demonstrating his knowledge that criminal proceeds are
  18
       being stored at USPV:
  19
                   a.   POLIAK told CS-1 that “Mark [PAUL] made no money until
  20
       I came in. . . . None! . . . For seven years, made nothing.   I
  21
       changed that whole business . . . he was making forty grand a year.
  22
       With me he makes fifteen thousand a month himself.   I turned it from,
  23
       from three thousand a month to thirty thousand a month17.   The
  24
       business.    All I did was call marijuana lawyers and they sent me
  25

  26
            17 In September 2020, POLIAK told CS-1 that he was the best thing
  27   that ever happened to Mark PAUL, in that, prior to his co-ownership
       of USPV, PAUL was making $60,000 a year as a 100% owner; but now, as
  28   a 50% owner, he is making $20,000 a month and the business is
       growing.                                           USAO 000053
                                        26



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   1   customers.    That’s all I did.       And those people, I met up with them

   2   and they gave me referrals.”      During this exchange about operating
   3   USPV, CS-1 said, “Yeah, he [PAUL] was telling me, like, when, back

   4   then, I didn’t know you were his partner, he was saying ‘my partner’
   5   brought in, you know, a lot of marijuana, cocaine people who have,

   6   who have money.”      POLIAK replied, “Yeah.”    Shortly after, POLIAK
   7   said, “When I joined in, this guy [PAUL] had maybe one-third the
   8   boxes full.       Two-thirds empty.   Now it’s maybe sixty, sixty-three

   9   percent full.”       This clearly demonstrates not only that POLIAK is
  10   aware that marijuana and cocaine proceeds are held at USPV, but that
  11   this occurs by design, in order to make the business more profitable.
  12                b.     Shortly after the exchange described above, POLIAK

  13   added, “Listen, you don’t want every drug dealer in your place
  14   either.   You need normal people too.”         The expressed idea that “you
  15   need normal people too” suggests that drug dealers comprise the

  16   majority of USPV customers, and the business has to make an effort to

  17   attract a non-criminal clientele as well, so as not to be too obvious

  18   a haven for criminals.

  19                c.     While discussing the possibility of opening a second

  20   location of USPV, POLIAK said, “You have to pre-sell one third of the

  21   place to break even.”      He asked CS-1, rhetorically, “who’s your

  22   customer base?      Five guys that are laundering money?    That’s not

  23   going to fill the business.”      CS-1 said, “Not five. I have a lot.”

  24   POLIAK replied, “Thirty guys?         Still not gonna fill a business.”

  25   This exchange shows that POLIAK is aware of and specifically

  26   anticipates USPV customers’ use of the vault by criminals who need to

  27   launder money. It further shows POLIAK’s position that USPV needs to

  28
                                                                USAO 000054
                                              27



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   1   attract more than money launderers – they also need drug dealers

   2   storing cash.
   3               d.   In September 2020, POLIAK and CS-1 met again.      That

   4   meeting was recorded and reviewed by investigators.    During that

   5   meeting, POLIAK told CS-1 that they planned to expand USPV by taking

   6   over the Mail Boxes Etc. store immediately adjacent to USPV, further

   7   indicating that POLIAK’s strategy of bringing in drug

   8   dealer/customers has been successful.    Moreover, POLIAK told CS-1 he

   9   planned to turn one of two “privacy rooms” inside USPV (used by

  10   customers to access their boxes in private) into a separately rented

  11   secure space.    POLIAK plans to charge $10,000 a month for the room.

  12   With regard to what POLIAK’s customer was going to keep in the room,

  13   POLIAK said, “I don’t know.    I don’t ask. But I’m charging ten grand

  14   for that little room!    Hundred and twenty grand a year.”   CS-1

  15   commented that the room could hold $20 million dollars in cash.

  16   POILIAK replied, “I really don’t care what he do.    He might put gold

  17   in there.   I don’t know.”

  18               3.   POLIAK describes PAUL as a legitimate looking “face”
                        for USPV that obscures POLIAK’s illegal conduct and
  19                    ownership of USPV
  20               e.   During the December 17, 2019 meeting, which was
  21   recorded and reviewed by investigators, POLIAK told CS-1 that he was
  22   a customer at USPV for two years before buying in to the business.
  23   POLIAK told CS-1, “You know, I wanted Mark, [as a] partner.      I didn’t
  24   want to do it on my own.     Because again, I have illegal businesses at
  25   the time, like my vape shit, and I was back doing everything from New
  26   York, I wanted a face.    Mark’s a great face.”   Here, POLIAK admits
  27   that he is personally engaged in “illegal businesses” and was storing
  28   proceeds at USPV.   In fact, POLIAK told CS-1 he had approximately $8
                                                            USAO 000055
                                          28



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   1   million stored in six boxes at USPV, and another $2 million which he

   2   used to purchase property (discussed later).
   3               4.   POLIAK remarks that it is funny that the drug money
                        stolen from his business associate, which led to the
   4                    kidnapping and torture, happened to be stored at SPV
   5               f.   During the December 17, 2019 meeting with CS-1,
   6   discussed above, POLIAK described in great detail the kidnap and
   7   torture event described above.   POLIAK admitted that he was doing
   8   business with ALLAN NEYMAN who owned the warehouse and was present
   9   throughout the torture.   POLIAK told CS-1, “He [the victim] left the
  10   [stolen] money – you want to hear the funny thing?    The money was in
  11   my vault!   His wife put the money into my vault.”
  12                    PROBLEMS WITH CS-3 IN A DIFFERENT CASE
  13        30.    From communicating with other law enforcement officers and
  14   AUSAs, I learned that in a different investigation, on more than one
  15   occasion, CS-3 exchanged sexts with the target.   CS-3 did not provide
  16   these and other communications with the target to his handler. CS-3
  17   later admitted to his handler and the government that he had deleted
  18   some of his communications with the target that were sexual in
  19   nature.    CS-3 failed to follow explicit instructions from a handler
  20   on at least one instance, and failed to contemporaneously notify the
  21   handler that he was doing so.    CS-3 falsely told the target that CS-3
  22   had cancer to induce her to pay CS-3 thousands of dollars for
  23   fictitious medical treatments.   CS-3 has informed the handler and the
  24   government that he did this in an attempt recover money that CS-3 had
  25   advanced on behalf of the target, but this “justification” has not
  26   been verified.   CS-3 contacted the target from an unknown phone
  27   number and email address, pretending to be other persons in order to
  28   buttress his lies about the cancer treatment.   CS-3 failed to notify
                                                            USAO 000056
                                         29



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   1   his handlers of these issues before they came to light, and when

   2   initially confronted, did not disclose the full scope of his conduct.
   3   There is also evidence that CS-3 fraudulently used another person’s

   4   credit card.
   5        31.   CS-3 has provided information to the DEA since 2018 and,

   6   aside from the problems set forth above, has proven reliable.     His

   7   work led the seizure of drugs and weapons.   In the instant

   8   investigation, CS-3’s information has been regularly corroborated by

   9   independent sources such as law enforcement database checks, review

  10   of other records, recordings, surveillance, interviews and

  11   information and operational assistance provided by other Confidential

  12   Sources, unknown to CS-3.    As described below, CS-3 was repeatedly

  13   paired with an undercover task force officer, who was also a witness

  14   to CS-3’s undercover work.

  15        GEORGE VASQUEZ

  16        32.   CS-3 has had numerous conversations with USPV manager,
  17   GEORGE VASQUEZ.   Many of those conversations reveal that VASQUEZ is
  18   aware that USPV customers engage in unlawful activity and maintain
  19   the proceeds of unlawful activity in their USPV safe deposit boxes.
  20   Conversations between CS-3 and VASQUEZ on June 28, August 9, and
  21   August 22, 2019, were all consensually recorded and reviewed by
  22   investigators.    The following examples demonstrate VASQUEZ’s
  23   knowledge and awareness of the criminal activity which USPV
  24   facilitates.
  25        33.   On June 28, 2019 CS-3 spoke to VASQUEZ about the purchase
  26   of marijuana vape cartridges (discussed more fully herein).      During
  27   the conversation, CS-3 said, “I don’t know about this shit [vape
  28   cartridges].   I’m just the money laundering mijo.   The real big thing
                                                            USAO 000057
                                         30



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   1   is the other shit [drugs, not marijuana] for me.”    During this

   2   conversation, CS-3 unambiguously stated that he/she is the “money
   3   laundering mijo.”     This statement conveys specific knowledge to
   4   VASQUEZ that CS-3 is engaged in criminal activity, specifically money
   5   laundering.     Additionally, CS-3 contrasts his/her ignorance of the

   6   cannabis oil business with his/her conduct in “other shit.”     Based on
   7   my training and experience, as well as a comprehensive de-brief of
   8   CS-3, CS-3 was referring to hard drugs, not cannabis oil, when he

   9   said “The real big thing is the other shit for me.”    Furthermore, CS-
  10   3 believes that VASQUEZ was aware that CS-3 was referring to non-
  11   cannabis drug trafficking.
  12              5.     VASQUEZ warns CS-3 about “asset forfeiture”

  13        34.   On August 9, 2019, CS-3 spoke to USPV manager GEORGE
  14   VASQUEZ about difficulties in transporting cash.    VASQUEZ told CS-3
  15   that USPV owners planned to expand their business into other cities,
  16   including Chicago18.    CS-3 said, “So let me tell you what I’m doing.
  17   I can’t fuckin’ drive with this kind of cash, from fuckin’ east coast
  18   down here . . . ‘cause I get pulled over, just like you just said.”
  19

  20
            18Based on my experience investigating drug trafficking and
  21   money laundering organizations, I know that drug trafficking and
       money laundering activities are concentrated in certain cities.
  22   These include cities on or near the U.S.–Mexico border, such as
       Laredo, San Diego and Los Angles. In addition, other cities
  23   throughout the United States serve as “hubs,” or center points where
       drug distribution and money collection are concentrated. For example,
  24   drugs are often sent to Chicago, Illinois, before being further
       distributed to other cities in the mid-west, such as Cleveland or
  25   Milwaukee. Likewise, the proceeds of drug sales are often collected
       and concentrated in Chicago as well. Based on my experience
  26   investigating money laundering, I know that millions of dollars in
       drug proceeds are processed through banks in Chicago. Adding a USPV
  27   branch in Chicago would likely be profitable in that it would further
       facilitate drug trafficking and money laundering. USPV owner Michael
  28   POLIAK expressed this to CS-1 numerous times during conversations
       with him/her in late 2019.                        USAO 000058
                                       31



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   1   VASQUEZ added, “Asset forfeiture.”    CS-3 continued, “And I just have

   2   to fuckin’ walk away.    And I’m not trying to take that loss anymore.
   3   . . . So anywhere that he’s [MARK PAUL] willing, you know, to go in

   4   to it [private vault business], I want dibs.”    Based on my training
   5   and experience, as well as a comprehensive debrief of CS-3, I believe

   6   that CS-3 was telling VASQUEZ about the difficulties in transporting
   7   drug proceeds (cash) across the United States, and the possibilities
   8   of those proceeds being seized by law enforcement.     Further, I

   9   believe that VASQUEZ was aware that CS-3 was referring to the
  10   transport of criminal proceeds, and his comment, “Asset forfeiture”
  11   demonstrates that he is aware that law enforcement can seize and
  12   forfeit money that is criminally derived.
  13              6.     VASQUEZ explains that USPV would not work in New York
                         because anonymous safety deposit box rentals there are
  14                     prohibited
  15        35.   On August 9, 2019 CS-3 spoke to USPV manager GEORGE VASQUEZ
  16   about expanding USPV’s business.    During the course of the
  17   conversation, VASQUEZ explained why USPV’s business model would not
  18   work in New York.    VASQUEZ said, “You know, we had already talked
  19   about several cities, you know.    We tried New York . . . And it can’t
  20   be like us.     It can’t be anonymous and private.   . . . In New York.
  21   We tried that.    That’s what Mike [POLIAK] wanted first19.    New York
  22   and Jersey and all that area around there.”    Based on my training and
  23   experience, as well as a comprehensive debrief of CS-3, I believe
  24   VASQUEZ is aware of and referencing a New York state law which
  25   prohibits operating private safe deposit box vault in the manner that
  26
  27

  28        19 MICHAEL POLIAK is from the New York and New Jersey area and
       relocated to California.                           USAO 000059
                                        32



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   1   USPV operates, with anonymity, the particular quality which appeals

   2   to criminals.
   3                 7.   VASQUEZ and CS-3 openly discuss drug trafficking,
                          money movement and money laundering
   4
               36.   On August 22, 2019, CS-3 spoke to USPV manager GEORGE
   5
       VASQUEZ about crossing the US-Mexico border.       During the conversation
   6
       CS-3 asked VASQUEZ, “You drive through? [the US-Mexico border].
   7
       VASQUEZ replied, “Yeah.”     CS-3 asked, “And they don’t sweat you at
   8
       all?”    VASQUEZ replied, “Not really.”     Later in the conversation,
   9
       VASQUEZ asked CS-3, “Do you go there [Mexico] much?”       CS-3 replied,
  10
       “I do, but now I got Primo who does that so like I’m not even trying
  11
       to fuck with any of that . . . he’s the one who runs back and forth.”
  12
       Based on my training and experience as well as a comprehensive
  13
       debrief of CS-3, CS-3 was discussing the challenges of crossing drugs
  14
       into the United States from Mexico. Further, CS-3 believes that
  15
       VASQUEZ understood that CS-3 was making references to smuggling drugs
  16
       across the US-Mexico border.
  17
               37.   On August 22, 2019, USPV manager GEORGE VASQUEZ spoke to
  18
       CS-3 about the need to hide money from both law enforcement and
  19
       people in one’s own organization.        During the conversation CS-3 said,
  20
       “. . . buddy of mine just got fuckin’ hit, not by fuckin’ feds but by
  21
       fuck his own fuckin’ team.     And what are you gonna do, call the
  22
       fuckin’ cops?”     VASQEZ replied, “Yeah.”    Later in the conversation
  23
       CS-3 said, “Doesn’t even fuckin’ trust anyone.       Everybody told him,
  24
       hey you’re stupid, you fuckin’, find a stash pad, something.”
  25
       VASQUEZ replied, “Yeah.     That’s what happened with Mike [POLIAK].
  26
       That’s how Mike got here. You know.       He was referred by one of my
  27
       other clients . . . He’s like, hey man, you’re getting too big
  28
                                                               USAO 000060
                                           33



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   1   already . . . You guys go put it away somewhere.     That’s how he came

   2   by.    Most of my clients are word of mouth, you know?”   Based on my
   3   training and experience as well as a comprehensive debrief of CS-3,

   4   CS-3 was talking to VASQUEZ about the difficulties in hiding criminal
   5   proceeds both from law enforcement and from individuals in one’s own

   6   criminal organization.    Additionally, VASQUEZ’s comments show that
   7   USPV co-owner MIKE POLIAK had difficulty finding a place to put large
   8   amounts of cash, presumably criminal proceeds.     Finally, VASQUEZ

   9   confirmed that most of the USPV clients learn about USPV from other
  10   clients, who may also be engaged in criminal activity.
  11          38.   On August 22, 2019, CS-3 spoke to USPV manager GEORGE

  12   VASQUEZ about needing to move money.     During the conversation CS-3

  13   said, “My biggest thing right now is how do I fuckin’ move it [money]

  14   out.   . . . because I told you, I bought a fuckin’ car, but actually

  15   it gets old after a while . . . And I can only buy a certain amount

  16   of cars before I need a fuckin’ dealer’s license.”     Based on my

  17   training and experience as well as a comprehensive debrief of CS-3,

  18   CS-3 was talking to VASQUEZ about finding ways to launder criminal
  19   proceeds, specifically drug money.      CS-3 referenced purchasing

  20   vehicles as a method for laundering criminal proceeds, and the

  21   difficulties that poses.    CS-3 believes that VASQUEZ was aware and

  22   understood that CS-3 was talking about ways to launder criminal

  23   proceeds.

  24                8.   VASQUEZ acknowledges the likely storage of drug
                         proceeds at USPV
  25
              39.   During the course of this investigation, agents obtained
  26
       information and operational assistance from an undisclosed
  27

  28
                                                             USAO 000061
                                          34



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   1   Confidential Source (“CS-4”)20.   On or about February 25, 2020, CS-4,

   2   who had previously rented a large 10 x 10 box at USPV, spoke to
   3   VASQUEZ about a sign at USPV saying they employed the use of drug-

   4   sniffing dogs.   CS-4 asked VASQUEZ when was the last time they had a
   5   drug dog in USPV, and VASQUEZ said he couldn’t remember.

   6        I.    USPV Principals Brokered and Supplied Illegal Drugs (THC
                  and Cocaine) from SUBJECT PREMISES Including USPV
   7
            40.   In June 2019, CS-3 cultivated a friendly business
   8
       relationship with USPV manager GEORGE VASQUEZ.   During that time, CS-
   9
       3 spoke to VASQUEZ about purchasing marijuana vaping products.
  10
       VASQUEZ offered to provide CS-3 with samples of vaping products.
  11
                  1.    USPV Manager VASQUEZ displayed marijuana cartridges
  12                    for sale in the private view room of USPV
  13        41.   On June 28, 2019, CS-3 went to USPV in person to obtain the
  14   vaping samples from VASQUEZ.   The meeting was consensually recorded
  15   and subsequently reviewed by the Affiant.   At approximately 11:40
  16   a.m. CS-3 arrived at USPV where he/she was immediately met at the
  17   front door by VASQUEZ. VASQUEZ was holding a small cardboard box in
  18   his hands and directed CS-3 back to the secure vault. VASQUEZ was
  19   armed at the time of this transaction with a semiautomatic pistol
  20   that was in an open carry holster on his right hip alongside an
  21   unknown type of badge. Investigators have noticed that VASQUEZ is
  22   always armed in this fashion during his work hours as part of his
  23

  24        20CS-4 has provided information to the FBI since 2015.
       Specifically, CS-4 has provided information which has identified
  25   participants in various money-laundering schemes, as well as the
       methods for pursuing those schemes. CS-4’s information and
  26   operational assistance have been used in numerous investigations. CS-
       4’s information has been corroborated by independent sources such as
  27   law enforcement database checks, review of other records, recordings,
       surveillance, interviews and other investigative activity. CS-4’s
  28   information has never been found to be false or misleading.   I
       believe CS-4’s information is highly credible.    USAO 000062
                                       35



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   1   purported duties as the security manager for USPV. VASQUEZ and CS-3

   2   proceeded to the private viewing rooms in the back of the actual
   3   vault.

   4        42.   Once inside the room VASQUEZ placed the box on the small

   5   desk and opened it revealing six small packages of various sizes with

   6   different advertising boxes. CS-3 knew this to be the Butane Hash Oil
   7   (“BHO”) containing THC vape cartridges he/she was there to acquire

   8   from VASQUEZ. The cartridges were packaged differently and displayed

   9   different brand names and TCH yields on the packaging. They appeared
  10   ready for retail sale in a marijuana dispensary.
  11        43.   During the meeting, VASQUEZ said, “So I’ll text you the

  12   prices right now . . . They’re like from ten to seven, the prices.”

  13   Later VASQUEZ said, “He [the supplier] told me do whatever you want.

  14   He can make pretty much whatever you want.”   CS-3 asked for

  15   information about the product and VASQUEZ said, “that’s Danka

  16   [brand].   I think that’s like seven.   . . . He says the ones that are

  17   ten bucks, which is the Brass Knuckles [brand]—“ CS-3 said, “Which is

  18   probably the good stuff.”   VASQUEZ agreed, “The good stuff . . . The
  19   good quality . . . these others are kind of cheesy quality. . . . The

  20   VSOP and Eurekas are the good stuff . . . so check it out.”     CS-3

  21   agreed and accepted the samples.

  22              2.   USPV Manager VASQUEZ hints that USPV Owner POLIAK is
                       the source of the marijuana cartridges
  23
            44.   CS-3 then asked about making a larger purchase.     “Like, he
  24
       [supplier] got supply? . . . like could he produce the numbers?”
  25
       VASQUEZ replied, “I can tell you this.   He’s a partner here.”    CS-3
  26
       and VASQUEZ then discussed having CS-3 speak directly with the
  27

  28
                                                           USAO 000063
                                          36



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   1   supplier.   VASQUEZ referred to the supplier as “Mike,,” subsequently

   2   identified as MICHAEL POLIAK, co-owner of USPV.
   3        45.    Immediately after the meeting, DEA agents took into custody

   4   six samples of BHO containing THC vape cartridges.       The samples

   5   included 1) Dank Vapes, Green Crack (90.66% THC); 2) Kingpen,

   6   Trainwreck (71.72% THC); 3) Space Vape, V.S.O.P. (98.4% THC); 4)

   7   Eureka, Purple Punch (92.3% THC); 5) Space Vape, Alien Alaskan

   8   Thunderfuck (91.18% THC) and 6) Brass Knuckles, Jack Herer (1000 mg

   9   cannabis distillate).

  10               3.    USPV Owner POLIAK meets a customer at USPV and then
                         leads him to the USPV parking lot to view marijuana
  11                     cartridges
  12        46.    On July 26, 2019, CS-3 went to USPV to purchase a large
  13   quantity of BHO THC containing vape cartridges.       The meeting was
  14   consensually recorded and subsequently reviewed by the Affiant.
  15   Shortly after arriving at USPV and making contact with VASQUEZ, CS-3
  16   was introduced to MICHAEL POLIAK.        During the conversation, POLIAK
  17   said, “Hey it’s [the vaping cartridges] in my trunk, in boxes. . . .
  18   Like five boxes, two hundred each.”       About three minutes after
  19   arriving at USPV, agents observed CS-3 and POLIAK in the USPV parking
  20   lot at POLIAK’s vehicle, a white 2017 BMW 740i four door sedan
  21   bearing California license plate
  22
  23                        ).   Agents observed CS-3 and POLIAK transfer five
  24   boxes from POLIAK’s vehicle into CS-3’s vehicle.
  25        47.    After transferring the boxes, CS-3 and POLIAK went back
  26   inside USPV.     CS-3 asked, “You got a money counter here, right? Yeah,
  27   there it is right there.     Eight.”     CS-3 then gave POLIAK $8,000 for
  28   the five boxes, as previously agreed.       POLIAK said, “I can feel money
                                                               USAO 000064
                                           37



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   1   already.”   CS-3 said, “I’ll let you know how it goes and I’ll put in

   2   a bigger one for you, okay?”    CS-3 departed from USPV and provided
   3   DEA agents with 1000 units of BHO vape cartridges containing THC that

   4   was purchased by from Michael POLIAK and George VASQUEZ at USPV.      DEA
   5   took the boxes into evidence, and the DEA Lab determined that the

   6   products contained THC.
   7               4.    USPV Owner POLIAK sold 1000 marijuana cartridges from
                         the parking lot of POLIAK’S RESIDENCE
   8
            48.    On October 31, 2019, CS-3 purchased an additional 1000
   9
       units of BHO THC-containing vape pen cartridges from USPV owner
  10
       Michael POLIAK.    The operation was consensually recorded and reviewed
  11
       by investigators.    CS-3 met POLIAK in the parking lot of
  12
                                          adjacent to the residence of Michael
  13
       POLIAK.    CS-3 purchased vape pen cartridges with brand name KingPen.
  14
       KingPen has been identified by the California Department of Consumer
  15
       Affairs (CDCA), Department of Investigations, as one of the several
  16
       unlicensed brands of vape pen cartridges that have led to multiple
  17
       hospitalizations nationwide.    Through this investigation, agents have
  18
       determined that POLIAK is not a licensed marijuana distributor in
  19
       California.
  20
            49.    The cartridges were immediately taken into DEA custody and
  21
       sent to the DEA lab for analysis, where they tested positive for THC.
  22
            50.    Additionally, DEA sent eight samples of vape cartridges
  23
       seized from each of the three transactions described above (June 28,
  24
       July 26, and October 31) to the California Department of Public
  25
       Health, Food and Drug Laboratory Branch for additional testing.      The
  26
       testing showed that five of the eight samples contained Vitamin E
  27
       acetate oil, which the Center for Disease Control has linked to lung
  28
                                                            USAO 000065
                                          38



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   1   damage and death.21 This health crisis was particularly acute in the

   2   summer and fall of 2019, when POLIAK and VASQUEZ sold these products
   3   to CS-3.      At least one sample from each of the three transactions

   4   tested positive for Vitamin E acetate oil.
   5           51.   Based on conversations POLIAK had with CS-1 on December 17,

   6   2019, which were recorded and reviewed by investigators, POLIAK is

   7   clearly aware of the unlawful and dangerous nature of the BHO THC-

   8   containing products he was selling.       During that meeting POLIAK told

   9   CS-1, “I don’t have anything.     Nothing to move.   I shut everything

  10   down.    I’m not doing anything right now.”    CS-1 asked, “Why?”   POLIAK

  11   replied, “I don’t want the liability.      . . . I mean, enough [money].

  12   It’s never enough, but I don’t want the liability this stage of my

  13   life cause I was making vapes.     . . . They brought lung diseases now.

  14   People are having—- there’s commercials, you know? I don’t need the

  15   liability.”     This demonstrates POLIAK’s awareness that the product he

  16   was recently selling was linked to “lung diseases” and potential

  17   liability.     POLIAK also seems to be referring to Public Service

  18   Announcements (PSAs) alerting the public to the dangers of marijuana

  19

  20        21 See The New York Times, “Vaping Illnesses are Linked to
       Vitamin E Acetate, C.D.C. Says,” Denise Grady, November 8, 2019;
  21   www.nytimes.com/2019/11/08/health/vaping-illnes-cdc.html;
  22        “A form of vitamin E has been identified as a ‘very strong
       culprit’ in lung injuries related to vaping THC, health officials
  23   reported on Friday, a major advance in a frightening outbreak that
       has killed 40 people and sickened 2,051. . . . The outbreak has
  24   revealed the existence of a vast, unregulated, shadowy marketplace of
       illicit or bootleg vaping products that are essentially a stew of
  25   unknown chemicals concocted, packed and sold by unknown manufacturers
       and sellers. . . . Hundreds of state and federal health
  26   investigators have been deployed to find out what has cause such
       extensive damage to patients’ lungs, which researchers have likened
  27   to the chemical burns suffered by soldiers attacked with mustard gas
       in World War I. . . . Many of the products used by those who became
  28   ill were illicitly obtained, public health experts have said, by
                                                         USAO 000066
       patients who bought them from friends or on the street.”
                                       39



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   1   vape products.       Additionally, during a discussion about the

   2   kidnap/torture event (discussed above), POLIAK said, “He [NEYMAN] was
   3   the one selling the cartridges and the packaging.       Not the oil, you

   4   know?    I would make my own oil and inject.”     Because the oil itself
   5   is believed to be causing the lung damage, POLIAK effectively

   6   admitted his role in manufacturing this dangerous product.
   7                 5.     USPV Owner POLIAK discussed with a USPV customer
                            selling flavored cocaine while at POLIAK’S RESIDENCE
   8
               52.   In October 2019, CS-3 and USPV co-owner MICHAEL POLIAK
   9
       first discussed the sale of “flavored cocaine” or “Flavado.”       On or
  10
       about October 11, 2019, CS-3 and POLIAK met for lunch.       After lunch,
  11
       they returned to POLIAK’s RESIDENCE at
  12
          .    While approaching POLIAK’s unit, they passed the mailboxes and
  13
       POLIAK commented to CS-3 about the cocaine residue on his mailbox
  14
       key.    POLIAK explained that he uses the key routinely to snort
  15
       cocaine, and the key therefore has coke residue.       CS-3 expressed an
  16
       interest in purchasing cocaine.
  17
               53.   POLIAK then told CS-3 about “Flavado,” with which CS-3 was
  18
       unfamiliar.        POLIAK described it as flavored cocaine which softens
  19
       the drug’s effects, without diluting them.       POLIAK told CS-3 that
  20
       women love it and he recommended the strawberry flavored coke. CS-3
  21
       expressed an interest in purchasing flavored cocaine.       POLIAK called
  22
       “Casey” in the presence of CS-3 and identified “Casey” as the person
  23
       who could “hook [CS-3] up.”       POLIAK told CS-3 that he would connect
  24
       CS-3 with Casey when CS-3 was ready to buy, and CS-3 should just let
  25
       POLIAK know.
  26
               54.   On or about November 5, 2019, CS-3 contacted POLIAK and
  27
       asked him if he could hook CS-3 up with Casey in order to purchase
  28
                                                               USAO 000067
                                             40



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   1   the flavored cocaine they had previously discussed.   POLIAK asked how

   2   much CS-3 needed and CS-3 told him he was looking for “a zip” [one
   3   ounce].    POLIAK told CS-3 that Casey didn’t sell it like that—- he

   4   breaks it down into per-use quantities.   CS-3 asked for $1000 worth
   5   and POLIAK agreed.

   6        55.    On or about November 15, 2019, CS called POLIAK to follow-
   7   up on the requested cocaine purchase.    POLIAK advised that he was
   8   having family issues he was dealing with, and didn’t have time to

   9   arrange the deal.
  10        56.    On or about December 11, 2019, CS-3 and POLIAK again

  11   discussed the purchase of flavored cocaine.   During that phone

  12   conversation, POLIAK suggested CS-3 communicate with him using a

  13   wireless application called “Signal.”    CS-3 agreed, and further

  14   discussion about the flavored cocaine purchase occurred over Signal,

  15   an encrypted application popular with drug traffickers. POLIAK and

  16   CS-3 continued to discuss the cocaine deal over Signal, often

  17   including the third-party supplier; however, POLIAK never allowed CS-

  18   3 to deal directly with anyone – POLIAK was always involved.    CS-3

  19   believes this was intentional in order for POLIAK to protect his

  20   financial cut in the deal.

  21               6.   USPV Owner POLIAK set up a cocaine deal at USPV, but
                        then moved it when USPV Manager VASQUEZ Objected to
  22                    the location
  23        57.    On or about December 16, 2019, POLIAK told CS-3, “Come to
  24   the vault [USPV]; we’ll do it [cocaine deal] here.”   CS-3 agreed.
  25   However, a little later, George VASQUEZ called CS-3 and expressed his
  26   objection to CS-3 and POLIAK conducting a cocaine deal at USPV.
  27   VASQUEZ felt that POLIAK was not being careful and that he was
  28   possibly bringing unwanted attention from law enforcement onto the
                                                           USAO 000068
                                         41



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   1   business.   VASQUEZ told CS-3 to “do the deal quickly – pick it up and

   2   get out of here,” or words to that effect. Shortly after, POLIAK
   3   contacted CS-3 and said they could not do the deal at USPV.

   4        58.    On or about December 18, 2019, in a conversation with CS-3,

   5   which was recorded and reviewed, POLIAK instructed CS-3 to meet with

   6   an unknown associate of his at
   7               in order to obtain one ounce of flavored cocaine.     CS-3

   8   was able to make arrangements for a DEA Task Force Officer, working

   9   in an undercover capacity (“TFO-UC”), and posing as an associate of
  10   CS-3, to make the purchase for $2,200.    TFO-UC arrived at the
  11   location and met with an individual who was later identified as

  12   Daniel SAVAGE and obtained a quantity of suspected cocaine in a white

  13   shopping bag, hidden beneath a pair of black gym shorts.    DEA agents
  14   took custody of the suspected cocaine which was in a clear plastic

  15   sandwich baggie that had been tied in a knot.    The white substance

  16   and the sandwich baggies weighed 29 grams.    The suspected cocaine was

  17   sent to the DEA lab for processing.     The substance tested positive

  18   for cocaine HCL.
  19        J.     USPV Owner Mark PAUL Leases Property for the Purposes of
                   Manufacturing, Producing and Distributing Controlled
  20               Substances
  21        59.    On or about February 20, 2020, PAUL met with CS-1.    The

  22   meeting was consensually recorded and reviewed by investigators.

  23   During that meeting, PAUL told CS-1, “I’ve been doing cannabis

  24   deals,” but then described himself as “just a landlord.”    PAUL went

  25   on to describe one location as an “amazing property” that everyone in

  26   the marijuana business wanted because of its location.    However, it

  27   was located near a Gymboree – a business which falls under California

  28   Health & Safety Code 11362.3(3), prohibiting marijuana possession
                                                            USAO 000069
                                         42



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   1   within 1,000 feet of a school, day care or youth center – so no one

   2   in the cannabis business could buy the location.    PAUL then explained
   3   how he bought the Gymboree, left the signage in place, and then

   4   bought the “amazing property” for the dispensary.   He did not remove
   5   the Gymboree sign until the dispensary was open for business. PAUL

   6   told CS-1 that he paid $250,000 for the Gymboree (which he closed),
   7   and $4.5 million for the other property, as well as $700,000 in
   8   improvements.   PAUL told CS-1 that he earns $62,000 a month renting

   9   the property to the dispensary owners22.
  10        60.   During the same consensually recorded meeting in February
  11   2020, PAUL said, “I have another deal – I have a dispensary--” then
  12   he stopped speaking abruptly, as though he thought better of
  13   admitting that he had a marijuana dispensary.   PAUL then changed the
  14   focus of his comments to the company in Oregon rather than his role.
  15   PAUL went on to describe “the largest marijuana processing company in
  16   Oregon” with whom he partnered.   PAUL told CS-1 that this business
  17   could process 5 to 10 million pounds of marijuana a month with the
  18   use of a kiln that quickly dries wet hemp.   Further, he told CS-1
  19   that the group was conducting $2 million a month in business, but had
  20   contracts for $10 million a month that they could not meet.    PAUL
  21   told CS-1 that he invested $5.5 million in the business.
  22
  23

  24
            22 Based on specific descriptions, agents have identified the
  25   marijuana dispensary as The Atrium at 5441 Topanga Canyon, Woodland
       Hills. Mike POLIAK corroborated PAUL’s association with this
  26   business to CS-1 in September 2020, telling CS-1 that PAUL purchased
       land “up north” for a marijuana grow, but refused to finance the
  27   equipment. Now, according to POLIAK, PAUL’s partners are having
       trouble paying the lease on the land, their “finance guy” has taken
  28   over the Atrium dispensary, and there is a power struggle for
       control.                                           USAO 000070
                                        43



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   1        61.    On or about April 22, 2020, CS-4 spoke with George VASQUEZ

   2   while at USPV to pay rent on a safe deposit box.   This conversation
   3   was not recorded, but was reported to the Affiant immediately after
   4   it occurred.   VAQUEZ informed CS-4 that “his boss” recently purchased
   5   six or seven hundred acres in Colorado for the cultivation of
   6   marijuana and was looking for individuals interested in providing
   7   security.   Based on conversations VASQUEZ has had with CS-3 and CS-4,
   8   VASQUEZ refers to Mark PAUL as his boss.

   9        62.    During the course of this investigation, investigators

  10   reviewed and analyzed PAUL’s business, banking and financial

  11   activity.   PAUL’s businesses include MJ Real Estate Investors Inc.

  12   (“MJRE”)23, a marijuana real estate investment company; Emerald Fund,

  13   LLC; Bachelor Valley Fund LLC; and Mark Paul Holdings, Inc.    An
  14   analysis of banking records shows over $700,000 in transactions
  15   between MJRE and Antares Topanga Group, LLC, aka Valley Collective
  16   Care, which public records show doing business as The Atrium, a
  17   marijuana dispensary.    MJRE also conducts business with Emerald Fund
  18   LLC (both owned by PAUL).   Emerald Fund remitted funds for a 67-acre
  19   purchase in Oregon. Emerald also has financial transactions with
  20   Rogue Bioscience, a Medford-Oregon based industrial hemp processor.
  21   Bachelor Valley Fund has financial transactions with a company in
  22   Denver, Colorado. This analysis supports statements PAUL and VASQUEZ
  23   made to CS-1 and CS-4.
  24        63.    Based on information provided by the California Department
  25   of Consumer Affairs – Cannabis Enforcement, which enforces marijuana
  26
  27

  28        23 USPV former owner and OLYMPIC GOLD & JEWELRY owner, Steve
       BARTH, is also a principal at MJRE.                USAO 000071
                                        44



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   1   laws in California, PAUL is not licensed to “have a dispensary” or

   2   otherwise participate legally in the cannabis industry.
   3        K.      USPV Owner Michael POLIAK is a Professional Criminal
   4        POLIAK’s Criminal Activity
   5        64.     In addition to brokering a cocaine deal for CS-3 and
   6   selling 1000 units of BHO THC-containing vape pen cartridges on two
   7   occasions (discussed above), POLIAK continues to engage in criminal
   8   activity.    The following examples demonstrate this:
   9                1.   POLIAK studied how to commit deceptive online
                         marketing
  10
                    a.   During a December 2019 meeting with CS-1, which was
  11
       recorded and reviewed by investigators, POLIAK described a possible
  12
       new business deal, which involved fraud: “I have a guy that’s a
  13
       master at driving traffic on-line.    . . . But he does deceptive
  14
       marketing.    He’ll fake some shit, like he’ll put Dr. Oz promoting his
  15
       product or Ellen [DeGeneres] or some shit like that.    And he’ll sell
  16
       the fuck out of it, but you burn a lot of merchant accounts. . . .
  17
       But merchant accounts is the problem.    It’s – you burn a lot of them.
  18
       You constantly need a flow of merchant accounts.    Cause the [credit
  19
       card] charge-backs are gonna be like crazy.”    POLIAK advised that he
  20
       had a business meeting arranged with this person for the following
  21
       day, in order to learn how to take over his business, before he goes
  22
       to jail24.    In January 2020, POLIAK introduced CS-1 to Allen NEYMAN,
  23
       and they discussed possible business deals.    That meeting was
  24
       recorded and reviewed by investigators.
  25

  26
  27
            24The person running the fraud scheme as described by POLIAK is
  28   ALLAN NEYMAN who was involved with the torture/kidnapping discussed
       above.                                            USAO 000072
                                       45



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   1             2.     POLIAK’s Paycheck Protection Program scheme

   2             b.     On or about September 15, 2020 CS-1 met with POLIAK.

   3   The meeting was consensually recorded and reviewed by investigators.

   4   During the meeting, POLIAK described obtaining almost $70,000 from

   5   Payroll Protection Plan (PPP) for his “employment” at MGP Management.

   6   POLIAK admitted to CS-1 that he only made $1,000 a month, and didn’t

   7   have any employees, but submitted an application and received

   8   $68,700. When CS-1 asked how he did it, POLIAK replied “Cause I

   9   filed. That I had hardships.”   Additionally, POLIAK applied for and

  10   received three SBA (Small Business Administration) loans for his

  11   other businesses, though he acknowledged they were loans.      POLIAK

  12   described them as “free money,” and at an interest rate of 3.75%,

  13   could earn more than that through one of his “investments.”

  14   Throughout this conversation, POLIAK bragged to CS-1 about committing

  15   fraud.

  16             3.     POLIAK’s marijuana trafficking

  17             c.     On or about January 27, 2020 CS-1 met with POLIAK.
  18   The meeting was consensually recorded and reviewed by investigators.
  19   During the meeting, POLIAK spoke to Memory Buss using the speaker
  20   function on his cell phone.   CS-1 witnessed both sides of the
  21   conversation.    Based on my review of the conversation, as well as
  22   information provided by the California Department of Consumer Affairs
  23   (“CDCA”), Buss is licensed under CalCannabis for Provisional Adult
  24   Use – Nursery; Processor; and Specialty Indoor – but not retail or
  25   manufacturing.   Further, POLIAK leases property in Los Angeles which
  26   he subleases to Buss for use in her Cannabis business.
  27             d.     Buss recently ended a partnership in her Cannabis
  28   business because her partners were operating outside the law.     She
                                                           USAO 000073
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   1   told POLIAK, “I’m staying compliant by getting rid of them.     I would

   2   have lost my license if they would have stayed because they broke the
   3   law so many times.”

   4               e.   During the conversation, POLIAK offered to sell Buss

   5   filling machines for $5,000 each.      He first denied having any, “I

   6   just got rid of everything when I closed out.     They weren’t legal
   7   anyway.”   But then he said, “I have three laying around,” which she

   8   asked to buy.    Based on information provided by CDCA, “filling

   9   machines” are outside the scope of Buss’s license; POLIAK is not
  10   licensed to possess these machines at all.
  11               f.   POLIAK also offered to broker the sale of 20,000 pre-
  12   rolled joints.   While POLIAK was adamant that he did not want to
  13   “hold” more than a few samples –“you can drop off samples.     But I
  14   don’t need to store fuckin’ tons of shit.     A couple samples, yeah, no

  15   problem.   I’ll just hand it over to the guy.”    As the conversation is
  16   wrapping up, POLIAK tells Buss to bring the samples and he’ll give
  17   them to a couple of guys.
  18               g.   This demonstrates POLIAK’s on-going business dealings

  19   in the marijuana industry which are outside California law, as he is

  20   not licensed.

  21               4.   USPV Owner POLIAK bragged about his drug cartel
                        connections
  22
            65.    In December 2019, POLIAK discussed with CS-1 his various
  23
       business deals, including one involving the import of produce from
  24
       Mexico.    During that conversation, which was recorded and reviewed by
  25
       investigators, POLIAK told CS-1 that he was affiliated with the
  26
       Beltran-Leyva drug cartel.    During a conversation, CS-1 said, “These
  27
       guys [referring to CS-1’s phone], their mother is from cartel.”
  28
                                                             USAO 000074
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   1   POLIAK responded, “That’s how I am. I’m Beltran.                         Beltran are my

   2   people.       Google Beltran, you’ll see how big they are.                      Guadalajara.”
   3   POLIAK then told CS-1 that the cartels control everything in Mexico

   4   and you can’t work there without them.                    POLIAK’s self-proclaimed
   5   association with a well-known Mexican drug cartel suggests his

   6   participation in money laundering or drug trafficking.                            While POLIAK
   7   refers to the subject of this business as involving “produce” or
   8   “avocadoes,” based on my training and experience, produce is often

   9   used by Mexican drug cartels as a “cover” load to disguise transport
  10   of drugs or currency.
  11           66.    During the course of this investigation, agents have
  12   obtained and reviewed financial records related to USPV principals,
  13   including records related to Michael G. POLIAK and numerous business
  14   entities associated with him (e.g. MGP Consulting, MGP Management).

  15   A review of financial records associated with MGP Consulting revealed
  16   a January 25, 2019 check for $125,000 payable to AA Consulting Group,
  17   Inc.    Public records show that AA Consulting Group, Inc. belongs to
  18   Aram Abgaryan, who was arrested and charged with murder in October
  19   2019.     Those charges stem from Abgaryan’s involvement in an explosion

  20   at a sophisticated cannabis extraction plant in Chatsworth,

  21   California, which resulted in the death of one of the participants25.
  22
  23

  24
       25See www.nbclosangeles.com\news, “Five Men Charged For Deadly Honey
       Oil Lab Explosion in Chatsworth,” October 31, 2019.
  25
       “)LYH PHQ KDYH EHHQ FKDUJHG ZLWK PXUGHU IROORZLQJ D GHDGO\ H[SORVLRQ DW DQ LOOHJDO KRQH\ RLO ODE LQ
  26   6HSWHPEHU WKDW NLOOHG D PDQ WKH\ ZHUH ZRUNLQJ ZLWK DXWKRULWLHV DQQRXQFHG 7KXUVGD\
  27
       7KH GHIHQGDQWV DQG WKH YLFWLP KDG EHHQ RSHUDWLQJ D ODE LQ &KDWVZRUWK ZKHUH WKH\ H[WUDFWHG 7+& WKH
  28   KLJKLQGXFLQJ FKHPLFDO IRXQG LQ PDULMXDQD IURP FDQQDELV SODQWV IRU DW OHDVW WZR PRQWKV WKH /RV
                                                                                USAO 000075
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  1   That POLIAK was participating in this illegal and dangerous

  2   enterprise is supported not only by the check he wrote to AA
  3   Consulting, but by statements he made to CS-1 in December 2019.                                   In a

  4   conversation between POLIAK and CS-1, which was recorded and reviewed
  5   by investigators, POLIAK described an “unlucky” guy who used to “make

  6   oil” for him using solvents.                   According to POLIAK, the man had a
  7   heart attack prior to the chemical explosion, but the others were
  8   being charged with murder anyway because the death occurred during

  9   the commission of a crime.
 10          POLIAK’s Money Laundering
 11          67.     In multiple conversations with CS-1, which were
 12   consensually recorded and reviewed by investigators, POLIAK admits to
 13   laundering money, often referring to money as “clean” or “dirty,” and
 14   speaking plainly about the need to “clean my money.”                              The following
 15   provide specific examples from conversations between CS-1 and POLIAK:
 16
 17
      $QJHOHV GLVWULFW DWWRUQH\ V RIILFH VDLG LQ D VWDWHPHQW
 18
      7KH ODE H[SORGHG 6HSW  ZKLOH IRXU RI WKH PHQ DQG WKH YLFWLP 'DGRV $URXWLRXQRY  ZHUH LQVLGH
 19
      $URXWLRXQRY V UHPDLQV EXUQHG EH\RQG UHFRJQLWLRQ ZHUH IRXQG WKH IROORZLQJ GD\ XQGHU D SLOH RI GHEULV
 20   DIWHU LQYHVWLJDWRUV UHFHLYHG LQIRUPDWLRQ WKDW VRPHRQH PD\ KDYH EHHQ NLOOHG LQ WKH ILUH

 21   7KH FDQQDELV DOOHJHGO\ ZDV EHLQJ WXUQHG LQWR D SRWHQW FRQFHQWUDWH NQRZQ DV KDVK RLO RU KRQH\ RLO WKDW
      FDQ EH XVHG LQ YDSH SHQV HGLEOHV ZD[HV DQG RWKHU SURGXFWV
 22
 23   $ ULVH LQ YDSLQJ LOOQHVVHV QDWLRQZLGH KDV FDXVHG IHGHUDO LQYHVWLJDWRUV WR SUREH WKH EODFN PDUNHW IRU
      7+& SURGXFWV HVSHFLDOO\ LOOHJDO YDSLQJ FDUWULGJHV
 24
      $UDP $EJDU\DQ  9DGLP .OHEDQRY  $UVHQ 7HUHM\DQ  5DIDHO 0DLO\DQ  DQG 6WHSDQ
 25   0DLO\DQ  ZHUH DUUHVWHG 7XHVGD\ DQG FKDUJHG ZLWK PXUGHU DQG PDQXIDFWXULQJ D FRQWUROOHG
      VXEVWDQFH FRQFHQWUDWHG FDQQDELV $XWKRULWLHV DOVR VHL]HG  PLOOLRQ DQG JROG EDUV 7XHVGD\ IURP D
 26   VWRUDJH XQLW FRQQHFWHG WR WKH FDVH
 27
      (DFK IDFHV  \HDUV WR OLIH LQ SULVRQ 7KH\ UHPDLQ LQ MDLO RQ  PLOOLRQ EDLO´
 28
                                                                                    USAO 000076
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   1                 a.   During a meeting in December 2019, POLIAK told CS-1

   2   that he has monthly income in the form of a $50,000 check.       “I get
   3   checks for fifty-thousand a month.       Forty-five gets me fifty.”   Later

   4   in the conversation, CS-1 asked, “But how do you have fifty a month?”
   5   POLIAK replied, “I’m telling you, between like all my things I’ll

   6   make like six hundred this year.”        CS-1 asked, “You give them cash,
   7   they give you check, is that what—”       POLIAK replied, “No, no that’s
   8   just to clean my money . . . that I don’t even count as income.”
   9                 5.   USPV Owner POLIAK admits he uses a shell business to
                          launder money
  10
               68.   POLIAK further discussed both the “forty-five-for-fifty”
  11
       deal, and other aspects of money laundering with CS-1 on or about
  12
       January 27, 2020, during a meeting which was recorded and reviewed by
  13
       investigators.     After a detailed description of his involvement in
  14
       the cannabis industry, POLIAK said, “I took home 200-something
  15
       thousand in key money and ten thousand a month income every month.”
  16
       CS-1 asked, “So how do you manage, where do you put your money?”
  17
       POLIAK exclaimed, “I own a vault!”       CS-1 asked, “I’m not talking
  18
       about the cash.”     POLIAK replied, “It’s all cash!    It’s all cash.
  19
       Why do you think I bought the vault?”        POLIAK then described some of
  20
       his shell corporations: “I have MGP.        Because I have to clean the
  21
       money.    Put money into MGP so I can pay half the rents.      Half the
  22
       rent is in cash and half the rent is clean.”
  23
               69.   Later in the same conversation with CS-1, POLIAK said, “I
  24
       wash $50,000 through my consulting.       Remember, I pay 45 for 50?”
  25
       POLIAK continued, “So fifty thousand--” CS-1 finished, “you put into
  26
       MGP.”    POLIAK corrected, “No, I put into MGP Consulting.     MGP
  27
       Consulting pays MGP Management for rent.       Talking about $10,000 a
  28
                                                               USAO 000077
                                           50



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   1   month.    And that goes to the landlords.” CS-1 said, “So you’re paying

   2   the landlords--” POLIAK finished, “--through my consulting.” CS-1
   3   said, “So you’re getting paid cash . . . you give some fucker cash--”

   4   POLIAK finished, “He cuts me a check.    Fifty thousand for forty-five
   5   cash.”    It is important to note POLIAK’s use of various shell

   6   corporations such as MGP Management and MGP Consulting.    Based on my
   7   training and experience investigating money laundering organizations,
   8   I know that it is common for criminals to create multiple “shell”

   9   corporations to “layer” criminal proceeds, thereby obscuring their
  10   criminal origins.    Additionally, in this exchange, POLIAK again
  11   openly admits cleaning his money, something which does not need to be
  12   done with lawfully earned income.
  13        70.    A review of Michael POLIAK’s bank accounts (specifically
  14   MGP Consulting) corroborates his description of this activity.

  15   Between February 15, 2018 and January 2020, MGP Consulting received
  16   $50,000 a month (forty-two $25,000 checks) from Corporation A and
  17   Corporation B, both owned by the same individual.    I learned through
  18   conversations with FBI agents that the individual is the target
  19   subject of a current FBI Healthcare Fraud investigation (hereafter TS

  20   HCF)26.    TS HCF’s signature is on checks from both companies.   Based
  21   on conversations I’ve had with agents who investigate healthcare
  22   fraud, I know that those engaged in healthcare fraud schemes often
  23   need cash and will pay a premium for it (e.g. $50,000 for $45,000 in
  24   cash) because they need to make cash payments to “patients” seeking
  25   healthcare services which are being over-billed.    They cannot
  26
  27        26 FBI agents who are investigating TS HCF asked that the
       identity of the target of their investigation, as well as his/her
  28   related business entities, remain undisclosed in order to protect the
       integrity of their investigation.                  USAO 000078
                                        51



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   1   withdraw the amount of cash they need without bringing attention to

   2   their scheme.    This leads them to look for other sources of cash.
   3        71.    POLIAK has a large amount of cash which he stores at USPV.

   4   On or about December 17, 2019, CS-1 met with Michael POLIAK.      The
   5   meeting was consensually recorded and subsequently reviewed by

   6   investigators.   During the meeting POLIAK told CS-1 that as a
   7   customer of USPV (prior to buying in to the business), POLIAK had
   8   four boxes at USPV.    He further stated that he now has “six boxes in

   9   the place myself!   I was a customer.    I’m telling you, I have six
  10   ten-by-tens myself.”    POLIAK added, “Let me put it this way, the
  11   reason also why I wanted to buy it [USPV], I got a lot of fucking
  12   money now.”   Earlier in the conversation, POLIAK said, “I wish I had
  13   fifty [million] right now.    That would be nice.”   CS-1 replied,
  14   “Yeah?   In your twenties or what?”    POLIAK said, “No, not even, bro.

  15   Like ten.   . . .   I have like two clean, eight like dirty.   I put
  16   most of it in the house.”    Based on my review of the recording and a
  17   debrief of CS-1, I believe that POLIAK has $10 million: $2 million
  18   which he laundered through the purchase of property (discussed below)
  19   and $8 million in cash stored in six 10 x 10 boxes at USPV.

  20   Additionally, POLIAK himself describes the $8 million as “dirty,” by

  21   which I believe he means it was not legally derived and in the form
  22   of cash – not laundered to appear legitimately earned.
  23        72.    Based on my training and experience, my review of bank

  24   records and recordings, I believe that the cash POLIAK is sending to
  25   TS-HCF is the proceeds of his self-professed “illegal businesses,”

  26   likely drug trafficking, which he stores at USPV.    Thus, drug
  27   trafficking proceeds are being used to further healthcare fraud; and

  28
                                                            USAO 000079
                                         52



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   1   the fraud proceeds are being further laundered by POLIAK to make

   2   purchases (such as USPV) and advance his other criminal interests.
   3        73.   Michael POLIAK described efforts to launder his money

   4   through a real estate purchase to CS-1.   On or about December 17,
   5   2019 and again on September 15, 2020, Michael POLIAK met with CS-1.

   6   The meetings were consensually recorded and reviewed by
   7   investigators.   During those meetings, POLIAK described to CS-1 his
   8   plans to launder cash through the purchase, renovation and sale of

   9   property located at                                                    .
  10        74.   During the earlier conversation, POLIAK told CS-1 that the
  11   property was listed at $2 million, but he offered the sellers $1.7
  12   million “tomorrow – no inspection.”    POLIAK said, “I literally did
  13   one day close. Can you imagine?   One day close?”   In the subsequent
  14   meeting, POLIAK further explained that he put $600,000 down and took

  15   out a mortgage of about $1.2 million27.   He also told CS-1 that he
  16   spent about $1.5 million renovating the property.
  17        75.   In September 2020, with renovations complete, POLIAK told
  18   CS-1 he was listing the property for $3.6 million, but expected a
  19   bidding war.   POLIAK believed the property was worth closer to $4
  20   million.
  21        76.   With regard to the property purchase and massive renovation
  22   under way when CS-1 first saw the property in December 2019, CS-1
  23   commented, “You could, basically what you could do is, one-point-
  24   seven, you could easily clean your money through it.”    POLIAK
  25   replied, “That’s what I’m doing with the construction.    Why do you
  26   think I’m doing half a million construction?”    CS-1 said, “Half a
  27

  28        27 This is supported by financial analysis which revealed a
       mortgage on this property.                         USAO 000080
                                        53



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   1   million cash.”       POLIAK said, “I want to do one or two projects like

   2   this a year.”       CS-1 said, “That’s a million dollar give-away.    And
   3   you-” POLIAK interrupted, “Ten-thirty-one-exchange28.” POLIAK added,

   4   “And I can wash it off the construction company.       On top of the ten-
   5   thirty-one exchange.”       CS-1 asked, “You’re giving him cash?” POLIAK

   6   said, “I write off Jacob,” referring to his contractor.       CS-1 said,
   7   “Yeah, you take his check.       You give him cash.”   POLIAK said, “Yep.

   8   . . . We do profit sharing . . . Yeah, on the house.       It’s gonna be

   9   like this and it comes back clean . . . I pay all his subs in cash.
  10   I’ve been paying all his subs in cash all year already.”
  11           77.     It is worth noting that POLIAK himself uses phrases such as
  12   “I can wash it” and “it comes back clean,” showing his own awareness
  13   and acknowledgement of money laundering.       Additionally, when CS-1
  14   says “you could easily clean your money through it,” POLIAK eagerly
  15   agrees, saying “That’s what I’m doing with the construction.         Why do

  16   you think I’m doing half a million construction?”       Finally, by

  17   admitting that he is paying sub-contractors (“subs”) in cash and has
  18   been doing so all year, POLIAK is specifically describing how he uses
  19   (illegal) cash to increase the value of his property which he will

  20   later sell for a profit and claim as legitimate income, thus

  21   “cleaning” his “dirty” money.

  22           78.     Finally, during their September 2020 meeting, which was
  23   recorded and reviewed, CS-1 inquired whether POLIAK’s asking price

  24   would be reduced if a buyer came in with a million or two million in
  25   cash.        POLIAK told CS-1 he would require “a premium” if someone came

  26
  27
              A 1031 Exchange refers to section 1031 of the IRS Code which
               28
  28   allows a real estate investor to avoid capital gains taxes as long as
                                                         USAO 000081
       the profit is used to purchase another “like kind property.”
                                       54



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   1   in with cash – he would charge $4.2 million.        “I don’t— Nobody needs

   2   cash.    . . . I have a ton of cash.       . . . I’m doing business to get
   3   rid of my cash.”      This further demonstrates POLIAK’s on-going efforts

   4   to laundering money through his various projects.
   5           L.     USPV Owner Michael POLIAK Used Criminal Proceeds to Buy His
                      Interest in USPV
   6
               79.    In April 2019, Michael POLIAK purchased a 50% ownership in
   7
       USPV.    POLIAK described the deal to CS-1 in a consensually recorded
   8
       conversation which investigators reviewed.        During that conversation,
   9
       CS-1 asked, “How did you meet him [PAUL], turn around and become a
  10
       partner? . . . Did you have to pay him?”        POLIAK replied, “Yeah, I
  11
       gave him $475,000.       . . .    two-seventy-five clean.   Two hundred
  12
       dirty.”       Later in the conversation, POLIAK explained, “Mark [PAUL]
  13
       owned 75%.      Hillary [BARTH] and her husband [STEVE BARTH] owned 25%.
  14
       I bought twenty-five from Mark, and I bought twenty-five from them.
  15
       I said, ‘Mark, I can’t buy the place unless I get at least 50%.’”
  16
               80.    A review of bank records supports POLIAK’s claim.     On April
  17
       2, 2019, $225,000 was deposited into USPV’s JP Morgan Chase bank
  18
       account ending in #7511.      The deposit included a Wells Fargo Bank
  19
       cashier’s check in the amount of $125,000, payable to U.S. Private
  20
       Vaults, purchased by Michael POLIAK; and a check issued from Michael
  21
       POLIAK’s Wells Fargo Bank account #7496 in the name of MGP Consulting
  22
       LLC, for $100,000, payable to U.S. Private Vaults.          Based on POLIAK’s
  23
       statements, agents believe that the remainder of the $475,000 was
  24
       paid in cash.      Agents also believe STEVE BARTH and HILLARY BARTH were
  25
       paid in cash.
  26
               81.    As set forth above, there are numerous factors which
  27
       indicate that all of POLIAK’s income is derived from illegal sources.
  28
                                                                USAO 000082
                                             55



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   1   The cash in particular cannot be sourced to any lawful pursuit.

   2   However, close examination of POLIAK’s bank records reveal the
   3   following:

   4                a.   The check for $100,000 from MGP Consulting LLC, can be
   5   traced to healthcare fraud, as described above.    Between February 15,

   6   2019 and April 1, 2019, POLIAK received three checks from Corporation
   7   A, and one from Corporation B., each for $25,000, payable to MGP
   8   Consulting. These checks are part of the “forty-five-for-fifty”

   9   healthcare fraud/money laundering scheme POLIAK himself described.
  10   These deposits funded the $100,000 check from MGP Consulting to U.S.
  11   Private Vaults.
  12                b.   In addition, the $125,000 cashier’s check from
  13   POLIAK’s Wells Fargo account can be traced to a $300,000 E-deposit
  14   made in New York on 10/20/2018.    Financial investigators traced this

  15   check to Alta Quality Growers, LLC of Elgin, Illinois, whose
  16   principal is John Fasano of Brooklyn, NY.    Fasano has a criminal
  17   history which involves drug trafficking (marijuana and ecstasy), as
  18   well as a financial history which includes a pattern of structured
  19   deposits and withdrawals and large wires to Mexico, with no business

  20   purpose.   Additionally, Alta Quality Growers, LLC has no website and

  21   little internet presence.    It’s notable that the company, supposedly
  22   located in Illinois, has a (956) area code phone number – 956 covers
  23   much of the Texas-Mexico border.    Based on my training and experience

  24   in both drug and money laundering investigations, I believe that Alta
  25   Quality Growers, LLC is a drug/money laundering front.    The money

  26   therefore which funded POLIAK’s Wells Fargo Bank account and was used
  27   in part to purchase USPV, is likely also criminal proceeds.

  28
                                                            USAO 000083
                                          56



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   1        M.     None of the Individuals Associated with USPV, as Principals
                   or Patrons, who are Participating in the Marijuana
   2               Industry, is Licensed by the State of California to do so.
   3        82.    During the course of this investigation, federal agents

   4   consulted with the California Department of Consumer Affairs,
   5   Cannabis Enforcement.   Through that consultation, we learned that

   6   none of the following individuals is licensed to participate in the
   7   California cannabis trade, either with regard to cultivation,

   8   manufacture, or retail29:   MARK PAUL, MICHAEL POLIAK, GEORGE VASQUEZ,
   9   STEVE BARTH, HILLARY BARTH, Allan NEYMAN, Matthew BEAVER, Aram
  10   ABGARYAN, Alta Quality Growers, John FASANO.
  11        N.     USPV Principals Have Counseled Clients on Strategies to
                   Circumvent BSA Reporting Requirements and Have Themselves
  12               Failed to Comply with Reporting Requirements
  13               1.   USPV Manager VASQUEZ instructs a customer to structure
                        gold purchases to avoid currency transaction reports
  14
            83.    On August 9, 2019, CS-3 talked to USPV manager GEORGE
  15
       VASQUEZ about buying gold at OLYMPIC GOLD & JEWELRY.    The
  16
       conversation was consensually recorded and reviewed by investigators.
  17
       During the conversation, CS-3 said, “My Primo’s gonna want to talk to
  18
       her [HILLARY BARTH] because we spoke about buying some gold. . . . He
  19
       [Primo] needs to get rid of a lot of shit . . . and I’m hoping you
  20
       guys have some fuckin’ creative ideas on how to do it.”    VASQUEZ
  21
       clarified, “Well, depends on—what—okay—he’s got to get rid of some
  22
       money?”    CS-3 replied, “Yeah.”   VASQUEZ said, “He wants to buy gold?”
  23
       CS-3 said, “Yes.”    VASQUEZ said, “Okay.   Keep it at under ten
  24
       thousand dollars.”    CS-3 asked, “How often?”   VASQUEZ replied, “About
  25
       – I would—it’s, it’s supposed to be every 24 hours . . . but I
  26
  27
            29Valley Collective Care (Antares Topanga Group) which operates
  28   The Atrium at 5441 Topanga Canyon Blvd., Woodland Hills, CA,
       discussed herein is a licensed cannabis retailer. USAO 000084
                                       57



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   1   suggest at least 48 hours.”     VASQUEZ added, “Yeah.   But not all the

   2   time.    So let’s say like 9,000 or 9,500.”    CS-3 said, “Break it
   3   down.”     VASQUEZ replied, “Break it down . . . Cause you don’t want
   4   that paperwork shit.” (Emphasis added.)      Based on my training and
   5   experience, as well as a comprehensive debrief of CS-3, CS-3 was

   6   talking to VASQUEZ about laundering criminal proceeds through the
   7   purchase of gold.     Furthermore, I believe that VASQUEZ understood
   8   that CS-3 was talking about laundering criminal proceeds.        Finally,

   9   it is indisputable from this conversation that VASQUEZ was coaching
  10   CS-3 how to “structure30” his purchases in order to avoid the Bank
  11   Secrecy Act (BSA) reporting requirements, specifically telling CS-3
  12   to “keep in under $10,000” because “you don’t want that paperwork
  13   shit.”
  14           84.   In addition to coaching CS-3 on how to avoid BSA
  15   requirements, VASQUEZ’s statements show a clear knowledge of and
  16   participation in money laundering.     USPV is using its co-located
  17   business, OLYMPIC GOLD & JEWELRY as an outlet for USPV customers to
  18   launder criminal proceeds, by exchanging cash for gold or silver.
  19   That there is a pattern and practice of this is evidenced by the
  20   seizure of gold and silver from USPV boxes in the cases described
  21   earlier.      Furthermore, based on my training and experience
  22   investigating money laundering, I know that the purchase and sale of
  23   gold and silver is a common method which criminals employ to launder
  24   criminal proceeds.     Gold and silver are difficult to trace, portable,
  25

  26
            30 Structured deposits refers to multiple deposits under $10,000,
  27   made on the same day or consecutive days, which add up to over
       $10,000 – generally structured in order to avoid Bank Secrecy Act
  28   (BSA) requirements, such as providing identification and filing a
       Currency Transaction Report (CTR) or IRS Form 8300.USAO 000085
                                        58



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   1   fairly easy to re-sell, and often traded in a manner which, like

   2   USPV, caters to criminals’ need for anonymity.
   3               2.   HILLARY BARTH and VASQUEZ instruct a customer to
                        structure gold purchases to avoid currency transaction
   4                    reports
   5        85.    On or about January 13, 2020 CS-4 went to USPV to pay rent
   6   on a previously-rented safe deposit box.     While there, CS-4 spoke to
   7   HILLARY BARTH about the possibility of investing approximately
   8   $20,000 in gold or silver.     This conversation was not recorded, but
   9   was reported to the Affiant immediately after it occurred.     HILLARY
  10   BARTH, who had never previously met CS-4, told CS-4 that it didn’t
  11   matter whether CS-4 purchased gold or silver – one came in coins, the
  12   other in bars – but he/she should not purchase $20,000 at one time.
  13   HILLARY BARTH specifically advised CS-4 not to purchase more than
  14   $10,000 worth of gold or silver at a time, otherwise, CS-4 would have
  15   to fill out the paperwork31.     This shows that HILLARY BARTH is
  16   coaching USPV/OLYMPIC GOLD & JEWELRY clients on strategies for
  17   evading BSA reporting requirements.      It’s important to note that
  18   HILLARY BARTH had not previously met CS-4, because this suggests that
  19   she gives this advice to all USPV/OLYMPIC GOLD & JEWELRY clients.
  20        86.      On February 25, 2020, CS-4 went to USPV to access a
  21   previously-rented box.   While there, CS-4 spoke to George VASQUEZ
  22   about the possibility of purchasing gold.      This conversation was not
  23   recorded, but was reported to the Affiant immediately after it
  24   occurred.   VASQUEZ asked how much CS-4 wanted to purchase and CS-4
  25   said he/she might have about $23,000 to invest. CS-4 relayed to
  26
  27        31 Note, CS-4 was not coached or prompted in any way to inquire
       about breaking up a purchase. CS-4 was instructed to mention that
  28   he/she expected to have $20,000 to invest and would like information
       about purchasing gold or silver.                   USAO 000086
                                        59



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   1   VASQUEZ what Hillary BARTH had previously told CS-4 -- that he/she

   2   should keep the purchases under $10,000 in order to avoid doing
   3   paperwork. VASQUEZ agreed with that and told CS-4 that he could help;

   4   specifically, CS-4 could deposit $9,000 and give the rest to VASQUEZ,
   5   who would make the deposits, so no paperwork would be filed. VASQUEZ

   6   added that CS-4 should "throw me a little," meaning of the cash
   7   because "I help you, you help me." VASQUEZ said he had such an
   8   arrangement with someone else and it worked well32. VASQUEZ also added

   9   that CS-4 would not even have to put his/her name on the receipt for
  10   the gold; he/she could just use initials, and that way no one would
  11   know -- there would be no paperwork.
  12              3.   STEVE BARTH and VASQUEZ instruct a customer to
                       structure gold purchases to avoid currency transaction
  13                   reports
  14        87.   Similarly, on January 28, 2020, a DEA employee, posing as a
  15   potential customer, went to USPV to discuss purchasing gold.   The
  16   meeting was recorded and reviewed by investigators.   The DEA Agent
  17   first told George VASQUEZ that he wanted to purchase $18,000 worth of
  18   gold. VASQUEZ then advised the Agent that, "You can buy that but I
  19   advised you to buy under 10 [$10,000]. Because if you're buying under
  20   10 [$10,000], we don't have to do paperwork. No information is going
  21   to IRS. So you could buy 9 [$9,000], and a couple days, come buy
  22   another 9 [$9,000]."   VASQUEZ then logged on the computer and showed
  23   the Agent the gold prices33.   A few minutes later, STEVE BARTH arrived
  24
            32   Note this conversation took place after the
  25   January/February gold purchase, discussed below, in which VASQUEZ was
       “tipped” in cash for his assistance.
  26        33   The fact that VASQUEZ was able to go behind the counter of
  27   OLYMPIC GOLD AND JEWELRY and log onto the computer led the Agent to
       believe that the VASQUEZ was an employee of both USPV and OLYMPIC
  28   GOLD AND JEWELRY and/or the two businesses were essentially one.
                                                           USAO 000087
                                        60



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   1   at the business. VASQUEZ introduced STEVE BARTH to the Agent and

   2   departed the display room.    STEVE BARTH told the Agent that he sells
   3   gold, silver, platinum and different types of gold. The Agent told

   4   STEVE BARTH that he wanted to purchase $18,000 worth of gold. STEVE
   5   BARTH advised the Agent, if someone gives you $10,000 or more there's

   6   a form you have to fill out. "If you buy less than $10,000 then
   7   there's no form.”   The Agent then told STEVE BARTH that he didn’t
   8   have any problem with filling out the form. STEVE BARTH then told the

   9   Agent that, "Some people don't want to alert the IRS or whatever, so
  10   they keep it under, most people." STEVE BARTH then advised the Agent,
  11   "If you like to, you can buy $9,000 one day and then $9,000 you
  12   know." The Agent then asked STEVE BARTH if he could purchase $9,000
  13   of gold in one day then do another $9,000 worth of gold the very next
  14   day. Steve BARTH said, "Yes, you could do that."   Later, STEVE BARTH

  15   added, “I recommend you stay under 10,000 in cash and then you could
  16   just do some one day and a few days later you could do the other.
  17   That's what I would recommend." STEVE BARTH then said, "Anytime,
  18   there's more than 10,000 dollars in cash, they get suspicious, so
  19   they want to know. You fill out the form and the form goes to the

  20   government and even though, it's legitimate."

  21        88.   In addition to coaching customers on methods for evading
  22   BSA requirements, HILLARY BARTH violated 31 U.S.C. §5331 by failing
  23   to file IRS Form 8300 after conducting a cash transaction at OLYMPIC

  24   GOLD & JEWELRY.     On or about December 4, 2019, CS-1 purchased
  25   jewelry from OLYMPIC GOLD & JEWELRY34.   CS-1 and HILLARY BARTH
  26
  27
            34 The purchase was not recorded, but CS-1 exchanged text

  28   messages with HILLARY BARTH negotiating and leading up to the
                                                           USAO 000088
                                         61



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   1   negotiated the sale for approximately $11,900.     CS-1 paid for the

   2   jewelry in cash.    HILLARY BARTH gave CS-1 a document certifying that
   3   the jewelry was authentic.    However, HILLARY BARTH did not provide an

   4   invoice or obtain the information necessary to complete the Form 8300
   5   (CS-1’s identification, etc.). No Form 8300 was in fact filed, based

   6   on a database search for any Form 8300s filed (at any time) by either
   7   STEVE or HILLARY BARTH.    I believe HILLARY BARTH is aware of the
   8   requirement to file Form 8300 for cash transactions in excess of

   9   $10,000 based on her discussions with CS-4 and others.    Moreover,
  10   HILLARY BARTH’s failure to provide CS-1 with a receipt, invoice or
  11   other paperwork suggests that the sale was “under the table” and that
  12   any income earned from the cash transaction was not declared to the
  13   IRS.
  14          O.    USPV Principals Laundered Cash Represented to be Criminal
                    Proceeds Through OLYMPIC GOLD & JEWELRY
  15
                    1.   January/February 2020 Gold Buy
  16
              89.   On or about January 29, 2020, CS-3 and TFO-UC (posing as an
  17
       associate of CS-3) went to USPV to discuss the purchase of gold with
  18
       cash purportedly derived from the sale of methamphetamine.    The
  19
       meeting was recorded and reviewed by investigators.
  20
                    a.   After discussing the difference between gold coins and
  21
       gold bars, CS-3 told George VASQUEZ that gold bars were more
  22
  23   desirable for melting down, and mentioned that TFO-UC needed the gold

  24   bars as payment for a debt.    CS-3 then asked VASQUEZ about crossing

  25   gold “down south” [Mexico].    VASQUEZ asked CS-3, "How much are you
  26   planning to take?" He then instructed CS-3 to, "Keep it under 10,"
  27

  28   purchase; investigators received and reviewed copies of the text
       messages.                                         USAO 000089
                                       62



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   1   referring to the monetary value of $10,000 in cash, when purchasing
   2   gold. VASQUEZ then instructed CS-3 and TFO-UC to conduct two separate
   3
       "orders" under the amount of $10,000 each, when purchasing the gold.
   4
       CS-3 then asked VASQUEZ, "What do you mean?" VASQUEZ then continued,
   5
       "Yeah, if you keep it under $10,000, there is no paperwork. That way
   6
       you don't have to give no social security, no ID. All that shit goes
   7
   8   to the IRS." At this time, CS-3 and TFO-UC simultaneously expressed

   9   their interest in conducting the gold purchase without having to fill

  10   out paperwork.
  11               b.   CS-3 stated, "Nah.. Nah.. Nah.. fuck that! This is all
  12   ‘skante’ money. I can't even fuck with that." VASQUEZ then
  13   reiterated, "Keep it under 10. You want to buy gold? Keep it under
  14   10."    Based on training and experience, TFO-UC recognized "skante35,"
  15   to be street vernacular commonly utilized for crystal
  16   methamphetamine.
  17               c.   At this time, TFO-UC asked VASQUEZ, "Does she
  18   [HILLARY] know the get down?" TFO-UC was referring to HILLARY BARTH's
  19   understanding of the structuring of gold purchases under $10,000 to
  20   avoid any reporting paperwork. VASQUEZ responded, "Yeah.. Yeah..
  21   Yeah.. She will tell you." VASQUEZ then referred to HILLARY BARTH'S
  22   husband, STEVE BARTH.    CS-3 indicated that STEVE BARTH instructed
  23   them on purchasing under $10,000 of gold at a time to avoid paperwork
  24   during a previous phone conversation.    VASQUEZ continued to instruct
  25   CS-3 and TFO-UC to "keep it under 10."    CS-3 then asked VASQUEZ if
  26
  27
              The Urban Dictionary defines “skante” as slang for crystal
              35
  28   meth. The DEA Drug Slang Code Words 2018 also defines “skante” as
       crystal meth.                                     USAO 000090
                                       63



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   1   HILLARY BARTH would question them in regards to where they obtained

   2   the money. VASQUEZ responded by saying, "She don't need to know. She
   3   ain't gonna ask you."

   4             d.   TFO-UC then asked VASQUEZ what the turn-around was on
   5   an order of gold. TFO-UC expressed to VASQUEZ he was under time

   6   constraints. VASQUEZ indicated the gold would be ready by the
   7   following morning, referring to January 30, 2020. TFO-UC stated he
   8   needed to get the gold down to Mexico. VASQUEZ then asked, "You guys

   9   are going to pay whoever you guys owe in gold? I am just curious."
  10   CS-3 then explained to VASQUEZ, "I moved a bunch of skante, and I did
  11   really good. The guy who fronted us is down south. He's gotta take
  12   the paper back. We don't wanna go down with paper 'cause I got
  13   pinched like that." VASQUEZ replied, "Right, so you'll take the
  14   gold." CS-3 responded, "Gold, cause the fuckin’ dog won't pick up on

  15   it. VASQUEZ replied, "Right. Right. Whichever you like."
  16             e.   Based my training and experience and a debrief of TFO-
  17   UC, it was clear to TFO-UC that CS-3 was explaining to VASQUEZ that
  18   the money was obtained by selling crystal methamphetamine.
  19   Furthermore, CS-3 explained that the individual who sourced the

  20   crystal methamphetamine was in Mexico, and expecting payment for the

  21   crystal methamphetamine. CS-3 explained that TFO-UC was tasked with
  22   paying the source of the methamphetamine, adding that CS-3 and TFO-UC
  23   did not want to drive the bulk U.S. currency down to Mexico because

  24   CS-3 had previously been detained transporting narcotic proceeds, and
  25   lost the proceeds. Furthermore, CS-3 explained their desire to

  26   convert the narcotic proceeds into gold to repay the outstanding drug
  27   debt because the gold would more easily avoid detection by trained

  28   narcotic detecting K9's utilized by law enforcement personnel.
                                                          USAO 000091
                                        64



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   1             f.   Following the above referenced conversation, VASQUEZ

   2   escorted CS-3 and TFO-UC to HILLARY BARTH, who was waiting at the
   3   display of OLYMPIC GOLD AND JEWELRY.   TFO-UC told HILLARY BARTH he

   4   wanted to convert $16,000 in cash into a gold purchase. TFO-UC stated
   5   there were time constraints due to needing to get the gold bars

   6   delivered. HILLARY BARTH expressed an ability to have the gold by the
   7   following morning. HILLARY BARTH then went on to describe the
   8   different types of gold product they offered and the current value.

   9   HILLARY BARTH then explained, "Now up to $10,000 cash, uh, up to
  10   that, uh, is not reportable. If you go, if you buy more than that
  11   with cash, there is a form you need to fill out, the government
  12   requires because they want to know where this cash is going. Uh, so
  13   anything under ten thousand there is no paperwork to fill out except
  14   that you’re signing the purchase order for me, for my records. So

  15   that I show I am making a buy for a client. Uh, if you want to do
  16   your sixteen thousand all at once, uh, if you want to wire it, uh, I
  17   don't believe you have to fill out that form. It's a cash buy. We
  18   don't do credit, nobody would take a credit card or a check until it
  19   clears for bullion."    HILLARY BARTH then explained for $10,000 TFO-

  20   UC could buy approximately "six," referring to ounces of gold,

  21   depending on what gold product TFO-UC was interested in purchasing.
  22   TFO-UC expressed an interest in purchasing the gold bars.
  23             g.   CS-3 asked HILLARY BARTH how long TFO-UC would have to

  24   wait to conduct a second purchase of gold, following the initial
  25   purchase of under $10,000. TFO-UC told HILLARY BARTH he was not

  26   interested in filling out any paper work for the gold purchase.
  27   HILLARY BARTH recommended waiting until "next week, a few days,"

  28   adding, "it’s not recommended, they say, don't come in every day."
                                                          USAO 000092
                                        65



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   1   HILLARY BARTH went on to say, "what they look for is a pattern of

   2   someone who with intention is trying to get around..." HILLARY BARTH
   3   did not finish her sentence. Instead, she added, "I am just

   4   disseminating information." During this communication, it was
   5   apparent TFO-UC that HILLARY BARTH appeared uneasy with the

   6   conversation. HILLARY BARTH consistently looked up and away from CS-3
   7   and TFO-UC. Furthermore, HILLARY BARTH became selective in her word
   8   choice, referring to "they" repeatedly when referring to the cash

   9   transaction report process.
  10                2.   VASQUEZ suggests splitting the $16,000 Cash Purchase
                         between CS-3 and TFO-UC to avoid the $10,000 reporting
  11                     requirement
  12                h.   During the conversation between HILLARY BARTH, CS-3,
  13   and TFO-UC, VASQUEZ stood approximately five feet west of the Olympic
  14   Gold and Jewelry display, listening to the transaction take place. As
  15   HILLARY BARTH explained to keep the purchase under $10,000, she
  16   advised TFO-UC he could purchase six gold bars for $9,840. TFO-UC
  17   explained again, his time constraints to get all $16,000 worth of
  18   gold delivered by Friday referring to January 31, 2020. At this time,
  19   VASQUEZ motioned over to CS-3 to come talk to him. CS-3 approached
  20   VASQUEZ, who in Spanish instructed CS-3 to have TFO-UC purchase "8"
  21   referring to $8,000 in gold, and CS-3 purchase the other "8"
  22   referring to $8,000 in gold. Thereby making two simultaneous
  23   transactions by two parties that would both fall under the $10,000
  24   threshold.
  25                i.   CS-3 then returned to the display where BARTH was
  26   explaining to TFO-UC that the purchase of nine gold ounce bars would
  27   amount to approximately $14,760. She then reiterated if TFO-UC
  28   conducted the purchase on one transaction "paper work," would have to
                                                            USAO 000093
                                          66



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   1   be filled out. At this time, CS-3 motioned to TFO-UC to go and talk

   2   to VASQUEZ. TFO-UC approached VASQUEZ, who instructed TFO-UC to split
   3   the gold purchase into two separate transactions of $8,000. While

   4   TFO-UC was speaking with VASQUEZ, HILLARY BARTH was explaining to CS-
   5   3 that any cash transaction over $10,000 would require the cash

   6   transaction report. HILLARY BARTH further explained, the cash
   7   transaction report was the result of the Patriot Act. She added, she
   8   "never" utilizes the cash transaction reporting form because her

   9   clients do not typically purchase greater than $10,000.
  10               3.   HILLARY BARTH agrees to the structuring so long as CS-
                        3 and TFO-UC hand her the cash separately
  11
                   j.   At this time, TFO-UC returned and asked HILLARY BARTH
  12
       if he could split the purchase into two separate transactions
  13
       conducted separately by TFO-UC and CS-3. TFO-UC proposed that he
  14
       could purchase five gold bars and CS-3 could purchase four gold bars.
  15
       HILLARY BARTH indicated she would have to inquire to confirm if she
  16
       was capable of conducting such a transaction. She then proceeded to
  17
       operate her cellular phone through text messaging. She then stated,
  18
       "Yes, as long as you hand me the money," meaning separately. She then
  19
       explained she would fill out a receipt for the two separate
  20
       transactions, which would only require a first name and last initial.
  21
       HILLARY BARTH stressed the receipt was only for internal bookkeeping.
  22
                   k.   CS-3 then asked if he/she would have to be present to
  23
       pick up the gold bars. HILLARY BARTH explained it would be okay for
  24
       TFO-UC to take possession of the total purchase by presenting both
  25
       receipts.   HILLARY BARTH explained to TFO-UC that he would have to
  26
       sign the receipts at the time of pick up. Following the agreement to
  27
       conduct the purchase of $14,760 worth of gold in two separate orders,
  28
                                                           USAO 000094
                                         67



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   1   HILLARY BARTH suggested they conduct the transaction in the back

   2   office for "privacy."
   3              l.   At this time, HILLARY BARTH, TFO-UC, CS-3, and VAZQUEZ

   4   entered the back office.   Once inside the office, TFO-UC sat next to
   5   HILLARY BARTH to conduct the first gold purchase. HILLARY BARTH

   6   advised TFO-UC the first transaction of six one ounce Suisse bars
   7   would total $9,843. TFO-UC retrieved 99 one hundred dollar bills in
   8   U.S. currency ($9,900) of Official Advanced Funds (OAF) from a black

   9   backpack and handed it to HILLARY BARTH as payment for the gold bars.
  10   HILLARY BARTH placed the U.S. currency in a money counter and
  11   confirmed the total. HILLARY BARTH then asked TFO-UC for a first name
  12   and last initial for a hand written receipt for the transaction. TFO-
  13   UC advised BARTH his name was, "Andres V."   HILLARY BARTH proceeded
  14   to hand write a receipt for the purchase (ORDER # 1001). HILLARY

  15   BARTH then instructed TFO-UC to sign the "received by," section of
  16   the handwritten receipt. TFO-UC then initialed "AV" in cursive
  17   writing.
  18              m.   For the second transaction, CS-3 sat down in the chair
  19   closest to HILLARY BARTH. HILLARY BARTH advised CS-3 that the

  20   transaction of three one ounce Suisse bars would total $4,920. TFO-UC

  21   retrieved 61 one hundred dollar bills in U.S. Currency ($6,100) of
  22   OAF from a black backpack and handed it to CS-3 in plain and direct
  23   sight of HILLARY BARTH. At this time, CS-3 asked TFO-UC, "How much is

  24   it?" TFO-UC responded, "61," referring to $6,100 in U.S. currency.
  25   CS-3 then removed 11 one hundred bills in U.S. currency ($1,100) from

  26   the OAF and handed it back to TFO-UC. CS-3 then handed HILLARY BARTH
  27   50 one hundred dollar bills, ($5,000) as payment for the three gold

  28   bars. HILLARY BARTH placed the U.S. currency in a money counter and
                                                          USAO 000095
                                        68



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   1   confirmed the total. HILLARY BARTH then asked CS-3 for a first name

   2   initial and last name for a hand written receipt for the transaction.
   3   CS-3 advised HILLARY BARTH to write, "D.Rossi."       HILLARY BARTH

   4   proceeded to hand write a receipt for the purchase (ORDER # 1002).
   5   HILLARY BARTH did not instruct CS-3 to sign the "received by" section

   6   of the handwritten receipt. CS-3 then handed the receipt to TFO-UC in
   7   direct and plain sight of HILLARY BARTH.
   8                 n.   TFO-UC confirmed with HILLARY BARTH that he, alone,

   9   would be picking up the full order of gold the following day, January
  10   30, 2020. HILLARY BARTH confirmed the entire order, nine gold Suisse
  11   bars, would be available for pick up before 12:00 p.m.        The following
  12   day, January 30, 2020, TFO-UC received nine ounces of gold bullion
  13   from HILLARY BARTH at USPV.
  14           87.   On February 5, 2020, TFO-UC returned to USPV and
  15   compensated George VASQUEZ for his assistance in facilitating the
  16   gold deal the previous week.     TFO-UC gave VASQUEZ $1000 cash and
  17   said, “This is for you man.     I appreciate you walking us through that
  18   shit.    It worked out fucking perfect, so uh . . . we’ll probably do
  19   it again.”     TFO-UC suggested that he might conduct another gold
  20   transaction soon.     VASQUEZ said he would let the BARTHS know ahead of
  21   time.    TFO-UC said, “Just as long as I keep it under—” and VASQUEZ
  22   interjected, “Yeah, yeah.     Keep it under 10.    And if you have to, do
  23   it twice.     Now let’s say you need more than 10, but you’re by
  24   yourself.     Come in.   Call me and say, “Hey George, I am gonna need
  25   15.   Give me whatever, what else.       Break it in half.   Give me half.
  26   And I’ll have her buy it for me, and then I’ll give it to you right
  27   there.”
  28
                                                               USAO 000096
                                           69



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                                       122
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   1           P.    VASQUEZ and STEVE BARTH Arrange to Launder Cash for Wire
                     Transfers for CS-3 for 15%
   2
               90.   In October 2020, CS-3 approached VASQUEZ about conducting a
   3
       second gold purchase through OLYMPIC GOLD & JEWELRY.     CS-3 stressed
   4
       to VASQUEZ that while he/she was cool with the earlier transaction,
   5
       it had “too many moving parts” and he/she was looking for something
   6
       simpler. CS-3 met VASQUEZ on or about October 8, 2020 to discuss
   7
       this.    The meeting was recorded and reviewed by investigators, which
   8
       showed:
   9
                     a.   During the meeting CS-3 suggested to VASQUEZ that
  10
       he/she provide VASQUEZ with the total amount of cash CS-3 wanted to
  11
       use to purchase gold and VASQUEZ could structure the cash payment
  12
       (under $10,000) over multiple days, on behalf of CS-3, so that CS-3
  13
       did not have to go to USPV multiple times in the same week.     VASQUEZ
  14
       agreed to this saying, “that’s my point, I don’t want you to have to
  15
       go all the time.”
  16
                     b.   CS-3 then said, “you don’t even have to go get it.
  17
       Just cut me a receipt that I purchased it, and then tax me whatever
  18
       the fuck it is,” i.e. charge a fee for converting the cash into a
  19
       clean financial transfer.     VASQUEZ replied, “run that by me again.
  20
       Do you want the gold or not?”     CS-3 indicated that he/she did not
  21
       want the gold.     “I just want the receipt and then I sell it back to
  22
       you, and you take your cut however it is.”     CS-3 asked if this was
  23
       possible, and VASQUEZ said, “Maybe.”      He later added “. . . maybe,
  24
       but I’m not sure.     I will have to talk to Steve, Hillary’s husband.”
  25
       As noted elsewhere STEVE BARTH and HILLARY BARTH own and run OLYMPIC
  26
       GOLD & JEWELRY.     CS-3 told VASQUEZ to “find out (from STEVE BARTH)
  27
       and get back to me.”
  28
                                                             USAO 000097
                                           70



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   1               c.    CS-3 and VASQUEZ continued discussing the proposed

   2   deal and VASQUEZ clarified, “you just want to clean it.”    CS-3
   3   replied, “that’s exactly what it is.”    CS-3 added that he/she did not

   4   want to continue laundering money through casinos, auctions and car
   5   dealerships.     VASQUEZ said, “Let me talk to Steve (BARTH), I don’t

   6   know, cause Steve is – as much as he can—” CS-3 said, “I get it,” and
   7   indicated that if they had to do it the way they did last time
   8   (referring to the February 2020 transaction) that was fine, but “it’s

   9   about moving parts.”
  10               d.    Later in the conversation, VASQUEZ suggested CS-3
  11   speak to Steve BARTH.    CS-3 indicated that he/she preferred VASQUEZ
  12   to speak to STEVE BARTH on his/her behalf.    Your Affiant believes
  13   this indicates that the decision to launder CS-3’s money is STEVE
  14   BARTH’s decision and that VASQUEZ is subordinate to BARTH.

  15               e.   VASQUEZ and CS-3 continued to discuss details such as
  16   the percentage that CS-3 would be charged, whether CS-3 would receive
  17   one check or multiple checks.    VASQUEZ stated that the purchases
  18   would have to be “under ten total. . . . I mean no paperwork and all
  19   that stuff.”     CS-3 confirmed that the transaction would not be

  20   reported.   VASQUEZ said, “they have to at least take your first name

  21   down.”   VASQUEZ added that he would “talk to Steve.    I won’t talk to
  22   Hillary.”   Finally, VASQUEZ concluded, “we can do it.    I think we
  23   can.   We do it that way a couple of times and it helps you out.      We

  24   all make a little bit.”
  25               f.    As the meeting was wrapping up, VASQUEZ said, “I will

  26   talk to Steve.”    CS-3 said, “if you can do me a favor, just try to
  27   fucking wash my shit.”    VASQUEZ said he would try.

  28
                                                              USAO 000098
                                          71



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   1        91.    On or about November 12, 2020 CS-3 met with VASQUEZ at USPV

   2   to confirm the previously-discussed money laundering operation.      The
   3   meeting was recorded and reviewed by investigators.     During the

   4   meeting, CS-3 indicated that the money would be ready the following
   5   week, and they discussed the date and time for the transaction.      They

   6   also discussed the percentage which would be charged and VASQUEZ
   7   stated he still needed to talk to Steve (BARTH) to finalize that
   8   aspect.    As VASQUEZ walked CS-3 to the door, CS-3 told VASQUEZ he/she

   9   appreciated the arrangement because he/she just sold a large load of
  10   “skante” for some people down south and he/she needed to clean the
  11   money as soon as possible.    VASQUEZ told CS-3 not to worry about it
  12   and it would be taken care.
  13        92.     On or about November 17, 2020 CS-3 and TFO-UC went to USPV
  14   with $25,000 U.S. currency.    They met with VASQUEZ.   The meeting was

  15   recorded and reviewed by investigators.   The following took place:
  16               a.   CS-3 asked VASQUEZ what percentage of the $25,000
  17   would OLYMPIC GOLD AND JEWLERY charge, if they laundered all $25,000
  18   at one time. VASQUEZ stated approximately 12 percent. CS-3 and TFO-UC
  19   initially balked at such a high percentage being charged. VASQUEZ

  20   replied by saying, "Well, first, we are not even supposed to be doing

  21   this, right? Second . ."   VASQUEZ then stopped talking and utilized a
  22   calculator to determine the amount of money OLYMPIC GOLD AND JEWLERY
  23   would charge at a 12 percent rate. VASQUEZ then stated, "it's about

  24   three grand. We are going to go with 12 percent at this time, because
  25   we are going to have to go buy it (referring to the gold bullion)."

  26   VASQUEZ then inquired if CS-3 and TFO-UC were still interested in
  27   conducting the laundering of the $25,000.   TFO-UC told VASQUEZ that

  28   he still wanted to do the transaction.
                                                           USAO 000099
                                         72



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   1             b.   TFO-UC then retrieved the $25,000 from a backpack and

   2   handed it to VASQUEZ. VASQUEZ took possession of the U.S. currency
   3   and placed it in a money counter on his desk. Upon verifying the

   4   amount of $25,000, VASQUEZ remained in possession of the money.
   5   VASQUEZ inquired if TFO-UC wanted a receipt for the transaction.

   6   TFO-UC said that he did not want any paperwork at all.
   7             c.   VASQUEZ then went on to explain based on the daily
   8   fluctuation of the price of gold and that they won’t know exactly how

   9   much the business may earn and / or lose when purchasing and
  10   reselling the gold bullion, which is why Steve [BARTH] is charging 12
  11   percent for the transaction36.   VASQUEZ explained that OLYMPIC GOLD
  12   AND JEWLERY would utilize the $25,000 to purchase gold bullion, in
  13   multiple structured purchases under $10,000 to avoid mandated
  14   reporting paperwork.   VASQUEZ stated once the gold bullion is
  15   purchased from a third party source, OLYMPIC GOLD AND JEWLERY would
  16   then "sell" the gold bullion, and wire the transaction amount to an
  17   account belonging to CS-3.    CS-3 and TFO-UC expressed to VASQUEZ they
  18   did not want to touch nor see the gold bullion, and were only
  19

  20
            36CS-3’s initial understanding of the deal, based on
  21   conversations with VASQUEZ (which were not recorded) was that CS-3
       would give the cash to VASQUEZ who would give it to BARTH, who would
  22   disguise the placement of the funds into the OLYMPIC GOLD AND JEWELRY
       business account as legitimate precious metals sales. VASQUEZ told
  23   CS-3 that STEVE BARTH would structure the funds to avoid reporting
       requirements and disguise the transactions on paper as anonymous gold
  24   and silver purchases. VASQUEZ assured CS-3 that no gold would
       actually change hands. VASQUEZ further told CS-3 that once the money
  25   had been structured into the OLYMPIC GOLD AND JEWELRY business
       account that a wire transfer, or series of wire transfers could be
  26   utilized to return the money to CS-3 into a bank account that CS-3
       would provide VASQUEZ. VASQUEZ told CS-3 that the wire transfer
  27   would be made to look like a sale of precious metals to OLYMPIC GOLD
       AND JEWELRY. VASQUEZ told CS-3 that the entire circle of
  28   transactions would exist on paper only and would be clean and
       disguised as normal commerce.                     USAO 000100
                                       73



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   1   interested in a time frame in which they could expect the money to be

   2   wired to the account.   VASQUEZ stated he understood and gave an
   3   approximate two week time frame for the approximate $22,000 to be

   4   wired to the account.   VASQUEZ explained the time frame depended on
   5   how much bullion was in stock at OLYMPIC GOLD AND JEWLERY and how

   6   much would have to be purchased from the third party source. VASQUEZ
   7   further stated he could only conduct one cash purchase of gold
   8   bullion under $10,000 a day and that OLYMPIC GOLD AND JEWLERY is only

   9   open twice a week.
  10             d.   CS-3 then provided VASQUEZ with account information to
  11   receive the wire transfer.    VASQUEZ then inquired if TFO-UC wanted
  12   the $3,000 charge to come out of the $25,000 that he just handed
  13   VASQUEZ, or did he want to pay that separate, so that VASQUEZ knew
  14   how to structure the purchases.   CS-3 and TFO-UC advised VASQUEZ to

  15   take the 12 percent charge ($3,000) out of the $25,000 that TFO-UC
  16   just handed VASQUEZ.    VASQUEZ acknowledged he understood and
  17   indicated he would be in contact with CS-3 about updates.
  18             e.   As TFO-UC and CS-3 were leaving USPV, CS-3 handed
  19   VASQUEZ $500 for facilitating the transaction.     VASQUEZ accepted the

  20   money.

  21             f.   On or about December 2, 2020 CS-3 went to USPV to ask
  22   VASQUEZ when CS-3 would see the money.    This meeting was not
  23   recorded, but CS-3 reported it to investigators the same day, and

  24   also provided a “screen shot” of a later communication which
  25   corroborated his account, discussed below.    During the meeting,

  26   VASQUEZ told CS-3 he needed the address on CS-3’s bank account
  27   because Steve BARTH needed it to complete the wire transfer.     CS-3

  28   provided the information to VASQUEZ.     Later that day, CS-3 received a
                                                            USAO 000101
                                         74



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   1   text message from VASQUEZ with a picture of a computer screen.        On

   2   the screen CS-3 saw a tracking number – 0W0001073359382 and the words
   3   “bullion purchase” and “pending.”         Agents have preserved and reviewed

   4   the photo which VASQUEZ sent.    In the photo, agents observed a
   5   reflection of VASQUEZ looking over the shoulder of someone who

   6   appears to be STEVE BARTH.
   7         g.     VASQUEZ advised that the first wire transfer was for
   8   $10,000.    The rest would follow.

   9                h.   On December 4, 2020 agents received confirmation that
  10   two wires, one for $10,000 and one for $12,000 had been wired into
  11   the under-cover bank account which was being utilized for this
  12   operation.
  13         Q.     USPV Principals Help Its Customers Evade Law Enforcement
  14         95.    During the period of time in which CW-1 rented safe deposit

  15   boxes at USPV (2012-2015), federal agents were investigating CW-1 and
  16   contacted MARK PAUL about CW-1’s boxes.        According to CW-1, PAUL told
  17   CW-1 that he stalled in replying to the FBI and instructed GEORGE
  18   VASQUEZ to “slow down in order to alert people.”        PAUL specifically
  19   told CW-1 to get his/her stuff out of USPV because the FBI had come

  20   by.   Furthermore, PAUL told CW-1 to call another USPV customer whom

  21   CW-1 had referred, to tell that customer to remove the contents of
  22   his boxes quickly before the FBI could execute warrants.
  23         96.    On August 9, 2019, USPV manager GEORGE VASQUEZ counseled

  24   CS-3 on how to evade law enforcement.        During a recorded conversation
  25   between VASQUEZ and CS-3, VASQUEZ said, “Piece of advice for you.

  26   You know where you keep that [USPV safety deposit box] key, here?
  27   [indicating under his shirt on a chain around his neck] . . . Called,

  28   uh, asset forfeiture.    You ever heard about that?”      CS-3 said, “No,
                                                                USAO 000102
                                            75



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   1   what?” VASQUEZ explained, “Well. Let’s say you get pulled over for a

   2   [unintelligible], right?     Cop checking you out, things like that.
   3   Hey, empty your pockets. They see your key, they know it’s a safe

   4   deposit box.     They don’t know where.   But then, they escalate it
   5   towards – they’ll call someone from their department, say hey, you

   6   know what, we got this guy for whatever, whatever. . . . And then
   7   they start looking in to things. You know, and then they’ll say, oh
   8   well, we’ll confiscate whatever you have, this and that, and then

   9   they’ll scare you and say hey, you know, you don’t tell us where this
  10   key belongs to, you know, you’re gonna do twenty, fifteen years.”
  11   Later in the conversation, VASQUEZ added, “It’s happened before.
  12   Just to let you know.     . . . Yeah, just to give you a heads up.
  13   That’s why we—we make sure we – I take care of our people, man.”
  14   Based on my training and experience as well as a comprehensive

  15   debrief of CS-3, I believe that VASQUEZ was coaching CS-3 on how to
  16   evade law enforcement.
  17           97.   On August 30, 2019, CS-3 spoke to USPV manager GEORGE
  18   VASQUEZ.      The conversation was recorded and reviewed by
  19   investigators.     During the conversation VASQUEZ coached CS-3 on how

  20   to evade law enforcement.     VASQUEZ said, “Like I told you.     Be

  21   careful when you go out.     This is between us.   Mike [POLIAK]—you know
  22   he—he saw somebody get pulled over.”      CS-3 asked, “Is it hot here or
  23   what?    Should I be worried?”    VASQUEZ replied, “No, no, no.    No it’s

  24   just the people that do stuff.”     CS-3 asked, “They get followed in?”
  25   VASQUEZ replied, “Yeah!     They’re fuckin’ stupid.   You know.    Not,

  26   not, not the place itself.”      Later in the conversation, CS-3
  27   remarked, “You got to tell everybody to fuckin’, shit, fuckin’ watch

  28   their back.”     VASQUEZ replied, “I tell everybody . . . I take care of
                                                             USAO 000103
                                           76



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   1   people, man.”    Later VASQUEZ, discussing a person who was pulled over

   2   and then let go said, “But it’s just that I tell them, even though
   3   they let him go, like, why did they pull you over in the first place?

   4   Has to be a reason . . . Cause you did something fuckin’ stupid . . .
   5   And one other guy said oh he had tinted windows – too tinted.        One

   6   didn’t have a fuckin’ front license plate . . . Little shit.”        CS-3
   7   agreed, saying, “They’ll find something to fuckin’ jam you up and
   8   then they find something and from that they run.”     VASQUEZ replied,

   9   “That’s what I tell them, perro!    But what do I know?    Right?”
  10        98.   In July 2019, CS-3 was at USPV.     While there, George
  11   VASQUEZ showed CS-3 the USPV security monitors and pointed out a

  12   number of vehicles which VASQUEZ said he believed belonged to law

  13   enforcement.    VASQUEZ, in fact, identified a number of law
  14   enforcement vehicles which were in the area due to CS-3’s presence

  15   there.   VASQUEZ explained to CS-3 that he looks for vehicles parked

  16   in one spot too long; vehicles which park, but no one exits; tinted

  17   windows; and other factors.

  18        99.   On or about October 21, 2020, George VASQUEZ explicitly
  19   warned CS-4 that law enforcement officers were asking about him/her

  20   and that he/she should remove the contents of his/her box.     The

  21   meeting between VASQUEZ and CS-4 was recorded and reviewed by
  22   investigators.
  23              a.    Specifically, on or about October 16, 2020 local law

  24   enforcement officers went to USPV and represented themselves to be
  25   narcotics investigators seeking information about a person they

  26   asserted they had followed to USPV.      The officers presented VASQUEZ
  27   with a photograph of CS-4.    VASUQEZ first indicated that he could not

  28   give information about clients.    As the officers were leaving,
                                                             USAO 000104
                                          77



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   1   however, VASQUEZ walked them out and stated that he had seen the

   2   person in the photo at USPV.        He added that customers often remove
   3   the contents of their boxes and never return.

   4                   b.   Shortly after the local law enforcement officers left
   5   USPV, VASQUEZ contacted CS-3, who had talked about coming to USPV to

   6   see VASQUEZ that day.       Using coded language and communicating via
   7   text message, VASQUEZ told CS-3 not to come, that the area was “hot”
   8   right now.

   9                   c.   On or about October 19, 2020, CS-4 sent VASQUEZ a text
  10   message indicating that CS-4 intended to pay rent on his/her box that
  11   week.        VASQUEZ replied via text message and told CS-4 to delete all
  12   text communications between them.       This communication has been
  13   reviewed and preserved.
  14                   d.   On October 21, 2020, CS-4 went to USPV to pay

  15   quarterly rent on his/her box.       VASQUEZ spoke to CS-4 in the office37
  16   area and coached him/her through a dialogue whereby VASQUEZ said,
  17   “Pay close attention, okay? Pay attention.         It’s going to be $5,000.”
  18   CS-4 expressed surprise and confusion.         VASQUEZ said, “Yes.    Pay
  19   attention.       You say it’s too expensive and you’d rather not do
  20   business with me.       Okay?”   CS-4 was confused by this charade, but
  21   followed VASQUEZ’s instructions. When CS-4 asked why, VASQUEZ said,
  22   “I’m doing you a favor, man.        . . .    I’m doing you a favor, dude,
  23   don’t say anything. Okay?”        VASQUEZ added, “When you leave here,
  24   delete my number.       I’m doing you a favor, okay?    If you want to go in
  25   the bathroom and leave something for me, that’s fine.”         CS-4
  26
  27
               Conversations between CS-4 and VASQUEZ occurred in Spanish.
               37
  28   Calls were translated into English by Spanish-language translators
       working on behalf of the FBI.                     USAO 000105
                                       78



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   1   continued to press for an explanation.         VASQUEZ said, “I’m telling

   2   you, the heat is hot.          . . . Things are hot here, I want you to
   3   cancel your box.       . . . They’re after you, man.”    CS-4 asked, “Who?”

   4   VASQUEZ replied, “The cops, dude.”        CS-4 asked whether he/she could
   5   rent a box later.       VASQUEZ said, “Another day, later on.    While

   6   things clam down. . . . I’m doing you a favor.         They’ll come again.
   7   . . .        They showed me your photo and everything, so.”   CS-4 asked,
   8   “And the owners are the ones who made the decision?”          VASQUEZ said,

   9   “No, man.       I’m making it, to protect you, man. . . . I’m just telling
  10   you because if they come here, they’re after you.         Okay? . . .
  11   They’re going to come.         They already said that when they’re after
  12   you, they’re going to come back.”        CS-4 asked again about renting a
  13   box later.       VASQUEZ concluded with “I know, dude.    They’re looking
  14   for you.       I don’t know.   The cops are looking for you, for real.     I’m

  15   not going to lie to you.”        CS-4 agreed and left.   Conversations
  16   between VASQUEZ and law enforcement, as well as CS-4 were
  17   consensually recorded and reviewed.          Text messages have been reviewed
  18   and preserved.
  19                   e.   On November 12, 2020, VASQUEZ related these events to

  20   CS-3, as well38.       This communication between VASQUEZ and CS-3 was
  21   recorded and reviewed by investigators.         During that conversation,
  22   VASQUEZ described how the police had come to USPV looking for a USPV
  23   customer (CS-4).       VASQUEZ speculated that the police had stopped the
  24   customer and found his/her key or followed him/her to USPV.         VASQUEZ
  25   assured CS-3 that he/she shouldn’t worry about it, as the police had
  26   not returned.
  27

  28
               38                                              USAO
                    CS-3 and CS-4 are completely unknown to each      000106
                                                                 other.
                                             79



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   1        100. Based on discussions Michael POLIAK had with CS-1, it

   2   appears part of his motivation in buying into USPV was to protect
   3   both his own money, and that of his “friends.” In a December 2019

   4   meeting which was recorded and reviewed by investigators, POLIAK told
   5   CS-1, “the reason why I wanted to buy it [USPV], I got a lot of

   6   fucking money now.    Not only – I don’t just want to be a customer, I
   7   wanted to be the owner . . . cause that way, if anything fucking
   8   happens, I know first.    And it’s good for all my customers that I

   9   know first.    Cause I’m not Mark [PAUL].”   CS-1 said, “You see, I
  10   mean, you only yourself have what, ten million, eight million?”
  11   POLIAK said, “Yeah.”    CS-1 continued, “And your friends?”   POLIAK
  12   replied, “A lot.”    CS-1 said, “Think about that. Your friends.   . . .
  13   It’s your ass.    It’s your friends.”    CS-1 said, “Worry-wise I don’t
  14   care, but again, you have to have your eyes in there because you have

  15   to monitor their money,    But if you’re a client—“   POLIAK added, “But
  16   it’s also – how many people trust anybody with that kind of money?
  17   Anonymously?     I mean, it’s not like we’re Chase Bank.   . . . So why
  18   do they come?    Cause of me. They’re like, Mike {POLIAK]?    You’re
  19   there, okay.    I’m good with that.” This exchange suggests that POLIAK

  20   anticipates being able to warn his “friends” if there is some reason

  21   their money is in jeopardy.
  22        101. On or about September 16, 2020, in a conversation which was
  23   recorded and reviewed by investigators, Michael POLIAK told CS-1 that

  24   he would remove all but $5,000 of the contents of a client’s box, for
  25   that client, if he became aware of pending legal process.

  26   Specifically, POLIAK and CS-1 were talking about having “a guy like
  27   me [POLIAK]” watching customers’ money. POLIAK indicated that if

  28   someone had a problem he would “move it to another box. . . .      I
                                                             USAO 000107
                                          80



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   1   would leave like five grand in the box.   . . .   Five grand.   Take it.

   2   See you later. At least they can’t say ‘Oh, it was empty.’”     POLIAK
   3   then told CS-1 about agents from Homeland Security who came to USPV

   4   with a subpoena.   POLIAK said the agents showed a picture of the
   5   person whose box they were interested in, but POLIAK told them that

   6   USPV has no information about who holds which box and the agents
   7   needed to bring the person to USPV, physically, to have his eye
   8   scanned.

   9        R.     It Would Be Irrational for Non-Criminal Customers to Choose
                   USPV
  10
            102.     As suggested above by USPV owner POLIAK, there is no
  11
       reason for non-criminal clients to use USPV, whose selling points
  12
       are: anonymity, instructions on how to structure cash transactions to
  13
       evade cash reporting requirements, tips on how to avoid asset
  14
       forfeiture, and ownership and management by drug traffickers.
  15
       Legitimate customers need not pay to store cash, but can receive
  16
       interest and insurance by depositing it in a money market or other
  17
       financial account.   Only those who wish to hide their wealth from the
  18
       DEA, IRS, or creditors would instead chose to pay to store actual
  19
       cash at a single storefront operation owned by the likes of MARK PAUL
  20
       and MICHAEL POLIAK who might go bankrupt, close the business for any
  21
       reason, or steal their valuables and run off.     No organization stands
  22
       behind the boxes at USPV in the way that Chase Bank, which has a
  23
       nearly 150-year history and almost 200,000 employees, stands behind
  24
       its safety deposit boxes, to say nothing of its bank accounts, which
  25
       are insured by the FDIC.   As stated by USPV owner POLIAK, it is his
  26
       standing among drug traffickers, as well as USPV’s criminal-friendly
  27

  28
                                                            USAO 000108
                                         81



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   1   policies, that entice criminals to store their millions in cash, as

   2   described earlier in the previous forfeitures section, at USPV.
   3        S.   USPV Falsely Claims It Either Returns the Unclaimed
                 Contents of Boxes to a Designee, or Escheats it to the
   4             State.
   5        103. On its company website USPV claims that the contents of

   6   unclaimed boxes will be turned over to a designee or to the State of
   7   California.    Specifically, under “Frequently Asked Questions – What
   8   happens to the contents of my box if I die or become physically or

   9   mentally incapacitated?” – USPV states,
  10        “You should provide your attorney, beneficiary, or custodian
  11        with information about the existence of your box (for an example
  12        letter, visit our Customer Resources page). However, knowledge
  13        of the existence of your box does not constitute permission to
  14        access it. USPV will require a court authorization letter to
  15        release the contents of your box to ANYONE other than the
  16        renter.
  17        “If you choose not to provide this information, USPV will open
  18        your box due to nonpayment of rent (after a six month grace
  19        period has elapsed). If you have provided contact information
  20        within your box (suggested), USPV will attempt to locate you. If
  21        no contact information is found, we will store the contents of
  22        your box in our private safe for three years. Thereafter, we are
  23        required to escheat (forward) the contents to the State of
  24        California.”
  25        104. USPV employee GEORGE VASQUEZ, made similar statements to
  26   FBI agents during an interview on or about July 1, 2016.
  27   Specifically, VASQUEZ told agents that if a client fails to pay for
  28   his/her safety deposit box for three months, USPV will drill out the
                                                           USAO 000109
                                         82



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   1   lock and try to contact the client if they find identifying

   2   documentation on the box. If not, USPV will keep the contents on hold
   3   for three years and then forfeit it to the State of California.

   4        105. CW-1 alleged that these assertions by USPV and its
   5   principals are false.    CW-1 reported that he/she and another

   6   individual rented a USPV box to which CW-1 had both keys. CW-1 also
   7   paid all the rent and fees for the box.    Furthermore, CW-1 affixed a
   8   sticker onto the box with instructions for CW-1’s spouse or father to

   9   be contacted in the event that CW-1 failed to pay rent on the box.
  10   CW-1 has not paid rent on the box in five years because CW-1 is
  11   incarcerated.    Neither CW-1’s spouse nor father were ever contacted.
  12   The other person whose biometrics were used to rent the box has
  13   passed away.     The U.S. government did not seize the contents of the
  14   box, and there is no record of the property being forfeited to the

  15   State of California (which should not have happened because a
  16   designee was identified).    Thus it appears that USPV may have kept
  17   the contents of CW-1’s box.    Furthermore, statements MARK PAUL made
  18   to CW-1 support this, described below.
  19        106. PAUL told CW-1 that in the event of non-payment, after

  20   allowing a grace period, PAUL would drill open the box, a process he

  21   said he would video record.    In the absence of contact instructions,
  22   he would place the contents into his own safe deposit box.    CW-1
  23   reported that PAUL himself has several USPV boxes.     CW-1 believes

  24   that PAUL keeps the contents of these boxes for himself.    CW-1
  25   believes that the USPV stated policy concerning unpaid rent is false.

  26               1.    USPV Has Never Escheated Property
  27        107.      Based on information obtained from the California State
  28   Controller’s Office – Unclaimed Property division, USPV has never
                                                             USAO 000110
                                          83



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   1   escheated property to the state39.      USPV has been in business since

   2   2012; discounting the six month and three year waiting periods, this
   3   means that in approximately five years, no one who failed to identify

   4   a contact person has ever 1) abandoned a box; 2) failed to pay rent
   5   on a box; 3) been arrested; 4) been deported; 5) died; or 6) become

   6   incapacitated.    This seems unlikely, particularly given the types of
   7   customers using USPV, as described herein.       A more logical
   8   explanation is that PAUL places the contents of abandoned boxes in

   9   his own safe deposit box for the three-year waiting period, but never
  10   releases them to the state.
  11        T.      NOTIFYING USPV CUSTOMERS HOW TO CLAIM THEIR PROPERTY
  12        108. The search and seizure warrants the government seeks list
  13   the nests of safety deposit boxes at USPV among the items to be
  14   seized.   These nests of safety deposit boxes are evidence and

  15   instrumentalities of USPV’s criminality.      The warrants authorize the
  16   seizure of the nests of the boxes themselves, not their contents.         By
  17   seizing the nests of safety deposit boxes, the government will
  18   necessarily end up with custody of what is inside those boxes
  19   initially.    Agents will follow their written inventory policies to
  20   protect their agencies from claims of theft or damage to the contents
  21   of the boxes, and to ensure that no hazardous items are unknowingly
  22   stored in a dangerous manner.    Agents will attempt to notify the
  23   lawful owners of the property stored in the boxes how to claim their
  24   property, such as by posting that information on the internet or at
  25
            39 I ran a search on the Unclaimed Property Website and spoke
  26
       with a representative from the State Controller’s Office, who also
  27   ran a search. Both searches revealed no results. In other words,
       USPV has never escheated property to the State of California, as it
  28   claims.
                                                              USAO 000111
                                          84



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   1   USPV itself, or by contacting the owners directly.   In order to

   2   notify the owners directly, agents will, in accordance with their
   3   policies regarding an unknown person’s property, look for contact

   4   information or something which identifies the owner.40       (USPV
   5   recommends that box renters include their or their designees’
   6   telephone numbers on a note in the box in the event that USPV removes
   7   the contents for nonpayment of rental fees.)
   8        U.     REQUEST FOR AFTER-HOURS SEARCH WARRANT FOR USPV LOCATION
                   ONLY
   9
            109.      I request permission to complete the search and seizure
  10
       warrants at the USPV location outside of normal searching hours.
  11
       Because that facility is secured and advertises that it is on a time-
  12
       lock, agents will not be able to begin executing any warrants there
  13
       until after its normal opening time, 10:00am.   Further, because it is
  14
       secured, I expect that removing some business equipment, especially
  15
       the nests of safety deposit boxes, will be unusually time consuming,
  16
       so that agents may not be able to complete their tasks before
  17
       10:00pm.    Accordingly, for the USPV location only, I request
  18
       permission for agents to continue executing search and seizure
  19
       warrants beyond 10:00pm.
  20
                   USPV OWNER MARK PAUL LIVES AT PAUL’S RESIDENCE
  21
            110.
  22
  23

  24
  25

  26
            40 The FBI policy regarding taking custody of an unknown person’s
  27   property provides, in part, that agents “inspect the property as
       necessary to identify the owner and preserve the property for
  28   safekeeping.” The inspection “should extend no further than
       necessary to determine ownership.”                 USAO 000112
                                        85



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   1

   2
   3

   4                                                                .
   5           USPV OWNER MICHAEL POLIAK LIVES AT POLIAK’S RESIDENCE
   6        111.
   7
   8

   9
  10
  11
  12
  13
  14                                         .

  15          USPV MANAGER GEORGE VASQUEZ LIVES AT VASQUEZ’S RESIDENCE
  16        112.
  17
  18
  19

  20

  21
  22
  23

  24                                             .
  25           HILLARY AND STEVE BARTH LIVE AT THE BARTHS’ RESIDENCE
  26        113.
  27

  28                                                                ).
                                                          USAO 000113
                                        86



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    1

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    3

    4
    5

    6
    7
    8             .

    9                 TRAINING AND EXPERIENCE ON THE SUBJECT OFFENSES
   10        114. In my training and experience, persons involved in money
   11   laundering, drug trafficking, and structuring must maintain records
   12   of their activities just to manage their day-to-day criminal business
   13   affairs, and to keep track of their finances.     Commonly they maintain
   14   both written and electronic records, usually on computers and smart
   15   phones or tablets.     Typically they store these records where they
   16   feel is safe and near at hand, most often their residences, places of
   17   business, and vehicles.     Persons with illicit wealth often attempt to
   18   hide it from the authorities by storing it in the form of cash,
   19   precious metals, or digital currencies such as bitcoin.       Persons
   20   involved in criminal conspiracies must of necessity maintain the
   21   contact information of their co-conspirators in the form of telephone
   22   numbers, email addresses, and user names for communication
   23   applications, such as Signal, WhatsApp, and Facebook.     Most often
   24   they maintain this contact information on their computers or smart
   25   phones.
   26                    TRAINING AND EXPERIENCE ON DIGITAL DEVICES
   27        115. Based on my training, experience, and information from
   28   those involved in the forensic examination of digital devices, I know
                                                              USAO 000114
                                            87



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    1   that the following electronic evidence, inter alia, is often

    2   retrievable from digital devices:
    3              a.   Forensic methods may uncover electronic files or

    4   remnants of such files months or even years after the files have been
    5   downloaded, deleted, or viewed via the Internet.   Normally, when a

    6   person deletes a file on a computer, the data contained in the file
    7   does not disappear; rather, the data remain on the hard drive until
    8   overwritten by new data, which may only occur after a long period of

    9   time.   Similarly, files viewed on the Internet are often
   10   automatically downloaded into a temporary directory or cache that are
   11   only overwritten as they are replaced with more recently downloaded
   12   or viewed content and may also be recoverable months or years later.
   13              b.   Digital devices often contain electronic evidence
   14   related to a crime, the device’s user, or the existence of evidence

   15   in other locations, such as, how the device has been used, what it
   16   has been used for, who has used it, and who has been responsible for
   17   creating or maintaining records, documents, programs, applications,
   18   and materials on the device.   That evidence is often stored in logs
   19   and other artifacts that are not kept in places where the user stores

   20   files, and in places where the user may be unaware of them.    For

   21   example, recoverable data can include evidence of deleted or edited
   22   files; recently used tasks and processes; online nicknames and
   23   passwords in the form of configuration data stored by browser, e-

   24   mail, and chat programs; attachment of other devices; times the
   25   device was in use; and file creation dates and sequence.

   26              c.   The absence of data on a digital device may be
   27   evidence of how the device was used, what it was used for, and who

   28   used it.   For example, showing the absence of certain software on a
                                                           USAO 000115
                                         88



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    1   device may be necessary to rebut a claim that the device was being

    2   controlled remotely by such software.
    3                d.   Digital device users can also attempt to conceal data

    4   by using encryption, steganography, or by using misleading filenames
    5   and extensions.    Digital devices may also contain “booby traps” that

    6   destroy or alter data if certain procedures are not scrupulously
    7   followed.    Law enforcement continuously develops and acquires new
    8   methods of decryption, even for devices or data that cannot currently

    9   be decrypted.
   10        116. Based on my training, experience, and information from
   11   those involved in the forensic examination of digital devices, I know
   12   that it is not always possible to search devices for data during a
   13   search of the premises for a number of reasons, including the
   14   following:

   15                a.   Digital data are particularly vulnerable to
   16   inadvertent or intentional modification or destruction.    Thus, often
   17   a controlled environment with specially trained personnel may be
   18   necessary to maintain the integrity of and to conduct a complete and
   19   accurate analysis of data on digital devices, which may take

   20   substantial time, particularly as to the categories of electronic

   21   evidence referenced above.    Also, there are now so many types of
   22   digital devices and programs that it is difficult to bring to a
   23   search site all of the specialized manuals, equipment, and personnel

   24   that may be required.
   25                b.   Digital devices capable of storing multiple gigabytes

   26   are now commonplace.    As an example of the amount of data this
   27   equates to, one gigabyte can store close to 19,000 average file size

   28   (300kb) Word documents, or 614 photos with an average size of 1.5MB.
                                                             USAO 000116
                                           89



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    1        117. The search warrant requests authorization to use the

    2   biometric unlock features of a device, based on the following, which
    3   I know from my training, experience, and review of publicly available

    4   materials:
    5                a.   Users may enable a biometric unlock function on some

    6   digital devices.    To use this function, a user generally displays a
    7   physical feature, such as a fingerprint, face, or eye, and the device
    8   will automatically unlock if that physical feature matches one the

    9   user has stored on the device.    To unlock a device enabled with a
   10   fingerprint unlock function, a user places one or more of the user’s
   11   fingers on a device’s fingerprint scanner for approximately one
   12   second.   To unlock a device enabled with a facial, retina, or iris
   13   recognition function, the user holds the device in front of the
   14   user’s face with the user’s eyes open for approximately one second.

   15                b.   In some circumstances, a biometric unlock function
   16   will not unlock a device even if enabled, such as when a device has
   17   been restarted or inactive, has not been unlocked for a certain
   18   period of time (often 48 hours or less), or after a certain number of
   19   unsuccessful unlock attempts.    Thus, the opportunity to use a

   20   biometric unlock function even on an enabled device may exist for

   21   only a short time.    I do not know the passcodes of the devices likely
   22   to be found in the search.
   23                c.   Thus, the warrants I am applying for would permit law

   24   enforcement personnel to, with respect to any device that appears to
   25   have a biometric sensor and falls within the scope of the warrant:

   26   (1) depress the thumb and/or fingers of MARK PAUL, MICHAEL POLIAK,
   27   GEORGE VASQUEZ, and HILLARY and STEVE BARTH on the device(s); and

   28   (2) hold the device(s) in front of those persons’ faces with their
                                                             USAO 000117
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    1   eyes open to activate the facial-, iris-, and/or retina-recognition

    2   feature.
    3        118. Other than what has been described herein, to my knowledge,

    4   the United States has not attempted to obtain this data by other
    5   means.

    6                                 CONCLUSION
    7        119. Based upon the foregoing facts and my training and
    8   experience, I believe there is probable cause to believe that
    9   evidence, fruits, and instrumentalities of the SUBJECT OFFENSES, as
   10   listed in Attachment B, will be found at the SUBJECT PREMISES.   I
   11   further respectfully submit that there is probable cause to believe
   12   that the business computers, money counters, nests of safety deposit
   13   boxes and keys, digital and video surveillance and security equipment
   14   and biometric scanners located at USPV, 9182 West Olympic Blvd.,
   15   Beverly Hills, CA 90212 were used or intended to be used to
   16   facilitate violations of 18 U.S.C. § 1956, 21 U.S.C. § 841, and 31
   17   U.S.C. § 5324, and conspiracy to commit the same.   As a result, those
   18   items are subject to seizure and forfeiture to the United States
   19   pursuant to 18 U.S.C. § 982(b)(1), 21 U.S.C. § 853(f) and 31 U.S.C.
   20   § 5317(c).
   21
        Attested to by the applicant in accordance
   22   with the requirements of Fed. R. Crim. P. 4.1
                               17 day of March, 2021.
        by telephone on this ____
   23

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   26
   27   STEVE KIM
        UNITED STATES MAGISTRATE JUDGE
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                                                            USAO 000118
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                                                          USAO 000119



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    1   one of its owners.    USPV Officer dealt in marijuana, in violation of

    2   the laws of California, as well as cocaine.
    3             c.      Co-conspirator USPV Manager was the manager of USPV.

    4   USPV Manager helped USPV Officer arrange drug deals within USPV, and
    5   helped USPV customers avoid detection by law enforcement, including

    6   by advising them to structure their cash purchases to avoid reporting

    7   requirements.
    8             d.      Co-conspirator Gold Business was a dealer in precious

    9   metals and jewelry, and shared the same space as USPV, as well as
   10   some employees.    Gold Business helped USPV customers convert their

   11   cash into gold, and structured their cash transactions to avoid
   12   federal reporting requirements.
   13             e.      Co-conspirator USPV Representative One was a
   14   representative of USPV, and an owner of co-conspirator Gold Business.

   15   USPV Representative One instructed USPV customers how to structure
   16   transactions to avoid federal reporting requirements.
   17             f.      Co-conspirator USPV Representative Two was a
   18   representative of USPV, and an owner of co-conspirator Gold Business.
   19   USPV Representative Two instructed USPV customers how to structure
   20   transactions to avoid federal reporting requirements.

   21   B.   THE OBJECTS OF THE CONSPIRACY
   22        2.   Beginning in or before 2019, and continuing through the
   23   date of this Indictment, in Los Angeles County, within the Central
   24   District of California, and elsewhere, defendant USPV conspired with
   25   others known and unknown to the Grand Jury to launder money, in
   26   violation of Title 18, United States Code, Section 1956, namely:
   27             a.      to knowingly conduct and attempt to conduct financial
   28   transactions involving the proceeds of a specified unlawful activity,
                                                             USAO 000120
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    1   that is, the distribution of controlled substances, with the intent

    2   to promote the carrying on of that specified unlawful activity, in
    3   violation of Title 18, United States Code, Section 1956(a)(1)(A)(i);

    4             b.   to knowingly conduct and attempt to conduct financial
    5   transactions involving the proceeds of specified unlawful activity,

    6   that is, the distribution of controlled substances, knowing that the

    7   transactions were designed in whole or in part to conceal and
    8   disguise the nature, location, source, ownership, and control of the

    9   proceeds of specified unlawful activity, in violation of Title 18,
   10   United States Code, Section 1956(a)(1)(B)(i); and

   11             c.   to knowingly conduct and attempt to conduct financial
   12   transactions involving the proceeds of specified unlawful activity,
   13   that is, the distribution of controlled substances, knowing that the
   14   transactions were designed in whole or in part to avoid a transaction

   15   reporting requirement under Federal law, in violation of Title 18,
   16   United States Code, Section 1956(a)(1)(B)(ii).
   17   C.   MANNER AND MEANS OF THE CONSPIRACY
   18        3.   The objects of the conspiracy were carried out and were to
   19   be carried out, in substance, as follows:
   20             a.   Defendant USPV would adopt business practices that
   21   attracted customers in possession of proceeds from criminal offenses,
   22   including drug trafficking, and not law-abiding persons.   Such
   23   practices included: (1) touting the anonymity of the safety deposit
   24   rentals that defendant USPV would provide, including by advertising
   25   “we don’t even want to know your name”; (2) boasting that, unlike
   26   banks, its anonymous safety deposit box rentals did not require
   27   customer information that “can be easily accessed by government
   28   agencies (such as the IRS)”; (3) making arrangements for the payment
                                                            USAO 000121
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    1   of the rental fees in cash and other ways that would be untraceable;

    2   (4) issuing safety deposit box keys that were unmarked and unnumbered
    3   so that law enforcement could not determine that the keys unlocked

    4   safety deposit boxes at USPV; and (5) charging safety deposit box
    5   rental rates several times higher than those at banks.

    6             b.   USPV Officer would capitalize defendant USPV with the

    7   proceeds of his illegal drug trafficking.
    8             c.   USPV Officer would invite other drug traffickers who

    9   knew and trusted him because of his illegal drug trafficking to store
   10   the proceeds of their drug trafficking at defendant USPV.

   11             d.   Employees of defendant USPV would conduct counter
   12   surveillance of the neighborhood and warn customers when they
   13   observed law enforcement.
   14             e.   Agents of defendant USPV would instruct customers to

   15   structure transactions to avoid currency transaction reports
   16   including by purchasing gold and other precious metals through Gold
   17   Business, which would structure transactions and not file required
   18   currency reports.
   19             f.   If agents of defendant USPV learned that law
   20   enforcement was interested in searching or seizing the contents of a

   21   particular customer’s safety deposit box, they would attempt to warn
   22   the customer, delay law enforcement, or even remove all but a nominal

   23   amount of cash from the box for the customer, to prevent law
   24   enforcement from discovering and seizing the bulk of the cash.
   25             g.   Defendant USPV would deposit the cash proceeds it

   26   received from its customers for safety deposit box rentals, which
   27   included proceeds from the distribution of controlled substances,

   28   into its bank account, and then use those proceeds to maintain USPV’s
                                                           USAO 000122
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    1   anonymous storage facilities for its criminal customers.

    2             h.   USPV Officer and USPV Manager would negotiate drug
    3   deals illegal under California law within the secured space of USPV,

    4   and USPV Officer would store the cash proceeds from drug deals within
    5   a safety deposit box at USPV.

    6             i.   USPV Manager would accept cash purportedly from

    7   illegal drug sales, and structure transfers of it to Gold Business in
    8   amounts not greater than $10,000 at a time in exchange for wire

    9   transfers that purported to be for the sale of precious metals.
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    1                                       COUNT TWO

    2                                 [21 U.S.C. § 846]
    3           4.   The Grand Jury realleges paragraph 1 of this Indictment

    4   here.
    5   A.      OBJECTS OF THE CONSPIRACY

    6           5.   Beginning in or before 2019, and continuing through the
    7   date of this Indictment, in Los Angeles County, within the Central
    8   District of California, and elsewhere, defendant U.S. PRIVATE VAULTS,
    9   INC. conspired with others known and unknown to the Grand Jury to
   10   distribute controlled substances, including marijuana, a Schedule I
   11   controlled substance, and cocaine, a Schedule II narcotic drug
   12   controlled substance, in violation of Title 21, United States Code,
   13   Sections 841(a)(1), (b)(1)(C), and (b)(1)(D).
   14   B.      MANNER AND MEANS OF THE CONSPIRACY
   15           6.   The objects of the conspiracy were carried out, and to be
   16   carried out, as described in paragraph 3 of this Indictment, which
   17   the Grand Jury realleges here.
   18   C.      OVERT ACTS
   19           7.   In furtherance of the conspiracy and to accomplish the
   20   objects of the conspiracy, on or about the following dates, defendant
   21   USPV, acting through its officers and managers, committed various
   22   overt acts within the Central District of California, including but
   23   not limited to the following:
   24           Overt Act No. 1:   On June 28, 2019, USPV Manager distributed
   25   within USPV’s business location six different butane hash oil vape
   26   cartridges containing THC to someone he believed to be a drug
   27   trafficker, but who was, in fact, a confidential informant working
   28   with law enforcement (“Confidential Informant 3”), as samples of what
                                                              USAO 000124
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    1   defendant USPV could provide in bulk.

    2        Overt Act No. 2:   On July 26, 2019, USPV Officer met
    3   Confidential Informant 3 within USPV to sell him 1,000 vape

    4   cartridges containing THC.    USPV Officer delivered the cartridges in

    5   the parking lot of USPV, and received in exchange $8,000 in cash

    6   within USPV’s business location.

    7        Overt Act No. 3:   On or about December 11, 2019, during

    8   discussions for the sale of cocaine, USPV Officer instructed the
    9   buyer, Confidential Informant 3, to use a wireless communication
   10   application called “Signal,” which is encrypted to communicate with
   11   him regarding the transaction.
   12        Overt Act No. 4:   On or about December 16, 2019, USPV Officer
   13   instructed Confidential Informant 3 to come to USPV to complete the
   14   exchange.
   15        Overt Act No. 5:   On or about December 16, 2019, USPV Manager
   16   called Confidential Informant 3 and explained that co-conspirator
   17   USPV Officer was not being careful enough, and could bring unwanted
   18   law enforcement attention to defendant USPV by conducting this drug
   19   deal onsite.
   20        Overt Act No. 6:   On or about December 18, 2019, USPV Officer
   21   sold an ounce of cocaine to Confidential Informant 3 through
   22   intermediaries.
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    1                                    COUNT THREE

    2                                 [18 U.S.C. § 371]
    3           8.    The Grand Jury realleges paragraph 1 of this Indictment

    4   here.
    5   A.      OBJECTS OF THE CONSPIRACY

    6           9.    Beginning in or before 2019, and continuing through the
    7   date of this Indictment, in Los Angeles County, within the Central
    8   District of California, and elsewhere, defendant U.S. PRIVATE VAULTS,
    9   INC. conspired with others known and unknown to the Grand Jury to
   10   knowingly and for the purpose of evading the reporting requirements
   11   of Section 5331 of Title 31, United States Code, and the regulations
   12   promulgated thereunder: (1) cause and attempt to cause a nonfinancial
   13   trade or business to fail to file a report required under Section
   14   5331 of Title 31, and any regulation prescribed under any such
   15   Section, in violation of Title 31, United States Code, Section
   16   5324(b)(1); and (2) structure, assist in structuring, and attempt to
   17   structure and assist in structuring, transactions with one or more
   18   nonfinancial trades or businesses, in violation of Title 31, United
   19   States Code, Section 5324(b)(3).
   20   B.      MANNER AND MEANS OF THE CONSPIRACY
   21           10.   The objects of the conspiracy were carried out, and to be
   22   carried out, as described in paragraph 3 of this Indictment, which
   23   the Grand Jury realleges here.
   24   C.      OVERT ACTS
   25           11.   In furtherance of the conspiracy and to accomplish the
   26   objects of the conspiracy, on or about the following dates, defendant
   27   USPV, acting through its officers and managers, committed various
   28   overt acts within the Central District of California, including but
                                                              USAO 000126
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    1   not limited to the following:

    2        Overt Act No. 1:    On December 4, 2019, Gold Business sold
    3   jewelry for $11,900 in cash to a customer of USPV who was also a

    4   confidential informant working with law enforcement (“Confidential

    5   Informant 1”), and did not file the required IRS Form 8300.

    6        Overt Act No. 2:    On January 13, 2020, USPV Representative One

    7   told a customer of USPV who was also a confidential informant working
    8   with law enforcement (“Confidential Informant 4”), and who expressed
    9   an interest in buying $20,000 worth of precious metals in cash, to
   10   purchase only $10,000 at a time to avoid paperwork.
   11        Overt Act No. 3:    On January 28, 2020, USPV Representative Two
   12   told a DEA agent who was posing as a USPV customer and said he wanted
   13   to purchase $18,000 in gold, “I recommend you stay under $10,000 in
   14   cash and then you could just do some one day, and a few days later
   15   you could do the other,” and explained, “If you buy less than $10,000
   16   then there's no form.”
   17        Overt Act No. 4:    On January 29, 2020, USPV Manager instructed
   18   Confidential Informant 3, who wanted to buy gold to pay a “skante”
   19   debt “down south,” meaning a debt in Mexico for methamphetamine, to
   20   keep his purchases under $10,000 each:   “That way you don't have to
   21   give no social security, no ID. All that shit goes to the IRS.”    USPV
   22   Manager introduced Confidential Informant 3 to co-conspirator USPV
   23   Representative One to purchase the gold.
   24        Overt Act No. 5:    On January 29, 2020, USPV Representative One
   25   explained to Confidential Informant 3 and his friend, who was
   26   actually an undercover police officer (“Undercover Officer”), that it
   27   was better to space out his cash purchases and keep each one under
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                                                            USAO 000127
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    1   $10,000:   “Don't come in every day. . . . what they look for is a

    2   pattern of someone who with intention is trying to get around . . .”
    3        Overt Act No. 6:   On January 29, 2020, when Undercover Officer

    4   explained that he needed more than $10,000 worth of gold quickly,
    5   USPV Manager suggested that he split the purchase between himself and
    6   Confidential Informant 3, so that each purchase would be under

    7   $10,000 individually.   USPV Representative One agreed to the ruse “as
    8   long as you hand me the money” separately and fill out receipts for

    9   two separate transactions.    USPV Representative One also agreed that
   10   Undercover Officer could pick up the total gold purchase alone the
   11   following day.
   12        Overt Act No. 7:   On January 29, 2020, USPV Representative One
   13   accepted first $9,900 in cash from Undercover Officer and then
   14   another $5,000 which Undercover Officer handed to Confidential
   15   Informant 3, who then handed it to USPV Representative One.
   16        Overt Act No. 8:   On January 30, 2020, USPV Representative One
   17   delivered nine ounces of gold bullion to Undercover Officer.
   18        Overt Act No. 9:   On November 17, 2020, USPV Manager accepted
   19   $25,000 in cash from Confidential Informant 3, who said it was from
   20   the sale of “skante” (methamphetamine), and structured the transfer
   21   of it to Gold Business in exchange for wire transfers of $10,000 and
   22   $12,000, purportedly from the sale of gold, to launder the cash.
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    1                            FORFEITURE ALLEGATION ONE

    2                             [18 U.S.C. § 982(a)(1)]
    3             Pursuant to Rule 32.2 of the Federal Rules of Criminal

    4   Procedure, notice is hereby given to defendant U.S. PRIVATE VAULTS,

    5   INC. that the United States will seek forfeiture as part of any

    6   sentence in accordance with Title 18, United States Code, Section

    7   982(a)(1), in the event of defendant USPV’s conviction under Count

    8   One of this Indictment.

    9             Defendant USPV shall forfeit to the United States the
   10   following property:
   11             a.     All right, title, and interest in any and all property,
   12   real or personal, involved in or traceable to any transaction set
   13   forth in Count One of this Indictment, including, without limitation
   14   the property set forth in paragraph 3 below; and
   15             b.     A sum of money equal to the total value of the property
   16   described in subparagraph a above.
   17             The Grand Jury finds probable cause to believe that the
   18   following property, located at U.S. PRIVATE VAULTS, INC., 9182 WEST
   19   OLYMPIC BLVD., BEVERLY HILLS, CA 90212, is subject to forfeiture on
   20   the grounds set forth in paragraph 2 above:
   21             a.      The business computers;
   22             b.      The money counters;
   23             c.      The nests of safety deposit boxes and keys;
   24             d.      The digital and video surveillance and security
   25   equipment; and
   26             e.      The biometric scanners.
   27              Pursuant to Title 21, United States Code, Section 853(p),
   28   as incorporated by Title 18, United States Code, Section 982(b),
                                                             USAO 000129
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    1   defendant USPV shall forfeit substitute property, up to the value of

    2   the property described in paragraph 2 above if, as the result of any
    3   act or omission of defendant USPV, the property described in

    4   paragraph 2 above or any portion thereof (a) cannot be located upon
    5   the exercise of due diligence; (b) has been transferred, sold to, or

    6   deposited with a third party; (c) has been placed beyond the

    7   jurisdiction of the court; (d) has been substantially diminished in
    8   value; or (e) has been commingled with other property that cannot be

    9   divided without difficulty.
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    1                             FORFEITURE ALLEGATION TWO

    2                   [21 U.S.C. § 881(a)(6), 28 U.S.C. § 2461(c)
    3                               and 21 U.S.C. § 853]

    4         1.   Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby
    5   given to defendant U.S. PRIVATE VAULTS, INC. that the United States

    6   will seek forfeiture as part of any sentence in accordance with Title

    7   21, United States Code, Section 881(a)(6), Title 28, United States
    8   Code, Section 2461(c), and Title 21, United States Code, Section 853,

    9   in the event of defendant USPV’s conviction under Count Two of this
   10   Indictment.

   11         2.   Defendant USPV shall forfeit to the United States the
   12   following property:
   13              a.   All right, title, and interest in any and all property,
   14   real or personal:

   15                     i.    constituting, or derived from, any proceeds
   16   obtained, directly or indirectly, as a result of the offense set
   17   forth in Count Two of this Indictment, including, without limitation,
   18   the property set forth in paragraph 3 below; or
   19                     ii.   used, or intended to be used, in any manner or
   20   part, to commit, or to facilitate the commission of the offense set

   21   forth in Count Two of this Indictment, including, without limitation,
   22   the property set forth in paragraph 3 below; and

   23              b.   A sum of money equal to the total value of the property
   24   described in subparagraph a above.
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                                                              USAO 000131
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    1        3.   The Grand Jury finds probable cause to believe that the

    2   following property, located at U.S. PRIVATE VAULTS, INC., 9182 WEST
    3   OLYMPIC BLVD., BEVERLY HILLS, CA 90212, is subject to forfeiture on

    4   one or more of the grounds set forth in paragraph 2 above:
    5             a.     The business computers;

    6             b.     The money counters;

    7             c.     The nests of safety deposit boxes and keys;
    8             d.     The digital and video surveillance and security

    9   equipment; and
   10             e.     The biometric scanners.

   11        4.   Pursuant to Title 21, United States Code, Section 853(p),
   12   as incorporated by Title 28, United States Code, Section 2461(c),
   13   defendant USPV shall forfeit substitute property, up to the value of
   14   the property described in paragraph 2 above if, as the result of any

   15   act or omission of defendant USPV, the property described in
   16   paragraph 2 above or any portion thereof (a) cannot be located upon
   17   the exercise of due diligence; (b) has been transferred, sold to, or
   18   deposited with a third party; (c) has been placed beyond the
   19   jurisdiction of the court; (d) has been substantially diminished in
   20   value; or (e) has been commingled with other property that cannot be

   21   divided without difficulty.
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                                                            USAO 000132
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    1                            FORFEITURE ALLEGATION THREE

    2                   [31 U.S.C. § 5317(c) and 28 U.S.C. § 2461(c)]
    3        1.   Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby

    4   given to defendant U.S. PRIVATE VAULTS, INC. that the United States
    5   will seek forfeiture as part of any sentence in accordance with Title

    6   31, United States Code, Section 5317(c), and Title 28, United States

    7   Code, Section 2461(c), in the event of defendant USPV’s conviction
    8   under Count Three of this Indictment.

    9        2.   Defendant USPV shall forfeit to the United States the
   10   following property:

   11             a.    All right, title, and interest in any and all property,
   12   real or personal, involved in or traceable to the offense set forth
   13   in Count Three of this Indictment, including, without limitation, the
   14   property set forth in paragraph 3 below; and

   15             b.    A sum of money equal to the total value of the property
   16   described in subparagraph a above.
   17        3.    The Grand Jury finds probable cause to believe that the
   18   following property, located at U.S. PRIVATE VAULTS, INC., 9182 WEST
   19   OLYMPIC BLVD., BEVERLY HILLS, CA 90212, is subject to forfeiture on
   20   the grounds set forth in paragraph 2 above:

   21              a.     The business computers;
   22              b.     The money counters;

   23              c.     The nests of safety deposit boxes and keys;
   24              d.     The digital and video surveillance and security
   25   equipment; and

   26              e.     The biometric scanners
   27        4.    Pursuant to Title 21, United States Code, Section 853(p),

   28   as incorporated by Title 31, United States Code, Section
                                                               USAO 000133
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    1   5317(c)(1)(B), and Title 28, United States Code, Section 2461(c),

    2   defendant USPV shall forfeit substitute property, up to the value of
    3   the property described in paragraph 2 above if, as the result of any

    4   act or omission of defendant USPV, the property described in
    5   paragraph 2 above or any portion thereof (a) cannot be located upon

    6   the exercise of due diligence; (b) has been transferred, sold to, or

    7   deposited with a third party; (c) has been placed beyond the
    8   jurisdiction of the court; (d) has been substantially diminished in

    9   value; or (e) has been commingled with other property that cannot be
   10   divided without difficulty.

   11                                   A TRUE BILL
   12
                                                  /S/
   13                                   Foreperson

   14   TRACY L. WILKISON
        Acting United States Attorney
   15
   16
   17   BRANDON D. FOX
        Assistant United States Attorney
   18   Chief, Criminal Division

   19   RANEE A. KATZENSTEIN
        Assistant United States Attorney
   20   Chief, Major Frauds Section

   21   ANDREW BROWN
        Assistant United States Attorney
   22   Major Frauds Section

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